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Tuesday, February 18, 2025, 9:34:32 AM

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

In re:
GROUP MANAGEMENT CORP., E = )
Chapter 11 Debtor.

Case No.: 03-93031 (WLH), Chapter 11,

on Appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB)

WITH RESPECT TO NOTICE OF APPEAL, DKT. 278.

THE PARTIES’ JOINT STIPULATED BANKR. RULE 8009(d) ARTICLE III
“THRESHOLD MATTER” JURISDICTIONAL APPELLATE RECORD FACTS.,!

Appellants/Movants: Ulysses T. Ware and Group Management

Appellees/Respondents: Alpha Capital, AG, Stonestreet, L.P,, Markham Holdings, L.P., Amro

International, S.A., Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, III,
J. Henry Walker, IV, Wab Kadaba, Kenneth A. Zitter, Arie Rabinowitz, LH Financial Services
| Corp., Konrad Ackermann, Joseph Hammer, Trailblazer Merger Corp., I, Wendy L. Hagenau,
James H. Morawetz, the Office of the U.S. Trustee, Region 21, Mary Ida Townson, M. Regina
Thomas, Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins, Securities
and Exchange Commission, Financial Industry Regulatory Agency (FINRA), Barbara Ellis-
Monro, Marcia E. Asquith, Robert L.D., Colby, Robert W. Cook, Emma Jones, Sarah Jeffries, The
State Bar of Georgia, Office of the General Counsel, William D. NeSmith, III, Paula Frederick,
Leigh Burgess, William Alan Myers, Adrienne Nash, Jenny Mittlemen, Jonathan Hewett, Patrick
N. Arndt, Michael D. Hostetter, Nall & Miller, LLP, Manibur S. Arora, Edward T.M. Garland,
Michael F. Bachner, David B. Levitt, Donald F. Samuel, Janice Singer, Alexander H. Southwell,

! Article III jurisdictional and standing appeals pursuant to Fed. R. Civ. P. Rule 12(h)(3) and 9014 are only
permitted and authorized to be filed _in_ the Bankruptcy Court (NDGA) in regard to In_re Group
Management Corp., 03-93031 Chapter 11: (Rule 12(h)(3): Lack of Subject-Matter Jurisdiction. If the
[bankruptcy] court determines at any time that it lacks subject-matter jurisdiction [over the Criminal Usury
Subject Matter, GX 1, GX 2, GX 3, GX 4, and GX 5, the [bankruptcy] court must dismiss the action.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Thomas W. Thrash, Jr., Michael P. Boggs, Thomas A. Leghorn, Lawrence B. Mandala, Baker &
McKenzie, LLP, Robert H. Albaral, John F. King, and Office of the Georgia Insurance
Commissioner., and John Does Insurance Companies, ##1-5.

A. Introduction.
PLEASE BE ADVISED, TAKE NOTICE, AND BE AWARE OF THE FOLLOWING.

NOTICE TO ALL APPELLEES-UNINDICTED COCONSPIRATORS REGARDING
BANKR. RULE 8009(¢) DUTY AND RESPONSIBILITY TO RESPOND TO THIS JOINT
STIPULATED APPELLATE RECORD:

Li Each Appellee-Unindicted Coconspirator is hereby formally notified of their mandatory
duty and responsibility under Bankruptcy Rule 8009(g) to take all actions necessary to enable the
bankruptcy clerk to assemble and transmit a complete and accurate record on appeal to the
United States District Court. To facilitate this process and to ensure the accuracy and
completeness of the Parties’ Joint Stipulated Bankr. Rule 8009(d) Appellate Record Jurisdictional
and Sanctioning Facts (the “Joint Stipulated Appellate Record Facts”) presented herein, each
Appellee-Unindicted Coconspirator is hereby afforded a final opportunity to provide a good faith,
nonfrivolous, and legally sound response to the Appellants regarding the contents of this Joint
Stipulated Appellate Record Facts. All Facts contained herein have been obtained from (i)
undocketed Rule 5003 “activity” and the (ii) alleged uncertified official records of the 03-93031
proceedings.

Z Therefore, each Appellee-Unindicted Coconspirator is granted until 1: 00 PM Eastern
Standard Time, Friday, February 14, 2025, time being of the essence, to present to Appellants,
in writing, under oath, subject to the penalty of perjury, based on personal knowledge, and
supported by credible evidence and record facts pursuant to Bankruptcy Rule 9011(b)(1)-
(4) and 28 U.S.C. § 1927, a certified response, bearing counsel’s signature and compliant with
Rule 9011(b)(1)-(4), and 28 U.S.C. § 1927, that sets forth any good faith and nonfrivolous
denials, oppositions, or challenges to any specific Factual Record point presented within this
Joint Stipulated Appellate Record Facts.

3. PLEASE TAKE FURTHER NOTICE THAT THE REFUSAL OR FAILURE OF
ANY APPELLEE-UNINDICTED COCONSPIRATOR TO ‘TIMELY PROVIDE
APPELLANTS WITH A CERTIFIED RULE 9011(b)(1)-(4), 28 U.S.C. § 1927 COMPLIANT
WRITTEN RESPONSE, NO LATER THAN 1:00 PM EST, ON FEBRUARY 14, 2025,
EACH FACT HEREIN SHALL BE DEEMED, AND CONSIDERED A BINDING
JUDICIAL ADMISSION against the legal and/or equitable interest of each such Appellee-
Unindicted Coconspirator, and Appellants shall submit this Joint Stipulated Rule 8009(d)
Appellate Record Facts to the 03-93031 Bankruptcy Court as the Parties’ Joint Stipulated Rule
8009(d) Appellate Record Facts, which shall be deemed binding and conclusive in 02¢v2219
(SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), O5cer1115 (SDNY), 25cv00613(NDGA), In
re Ware, (2008) State Bar of Georgia (disbarment proceedings) in all other related or derivative

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proceedings, and in all subsequent judicial or administrative proceedings between the parties, their
privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.

RESPECTFULLY SUBMITTED,
For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware

/s/ Ulysses T. Ware

Submitted by:
Ly 2. Wine
/s/ Ulygses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com

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AND INHERENT POWER SANCTIONING APPELLATE RECORD FACTS... cece 11

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2007, Affidavit of Personal Service (perjury) on Ulysses T. Ware, Esq. at the Bureau of Prison’s
Brooklyn, NY MDC federal prison—the BOP has confirmed that Mr. Ware was net oot

served on January 15, 2007, at the MDC Brooklyn, NY prison because according to the BOP“... Mr.
Ware was not incarcerated and was not in the custody of the Bureau of Prison on January 15,

2007, anywhere in the United States ... and certainly not in Brooklyn, NY ... that is a fact ..

(emphasis in Origitral) .:csicssisercsenssererisssancassnenssaunessrsemessnansvuanebackeateuiatntuedcounntiiateceurstcaniTiiesdenotenvenensesiiade 17

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Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SCCULILES: crane ntannassins tem amrinnraneieninin am Rei RaE 20

Ex. 1—{Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipse
facto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the _
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
RR ERMINE sc cose asazcnvavareveveisesuonwenvenaasonwervensiasseonesunaininasressenTeemienatenieresineeTMTaTE 21

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
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Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
PRELORIPOL FACHOEE CEN ACEIVILIOG, .........-.cccssssssesssesnssssanserssnssssansansesssesisnasensetsnssssenssnabestsssiaseseaeedsseneeanedes 25

Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order, Dkt. 32......0000. 26

Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to: being iirep istered broker-dealetsccccsisisssssssmiasinerncommnmnciimnnnimunnnnmnammnTaTiN 29

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Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s judicial admissions and confessions
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Management’s securities. Para, 12-13 pleaded KTS’ clients out of the federal courts... cesses 30

Exhibit 7—extreme armed and potentially deadly violence perpetrated against the Debtor and its agent in
fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX 1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC §§ 1951(a), 1961(6)(B), and
1962(a-d)—a pattern of racketeering ACtiVitiES 0... eee ee reece nnceniesesereeteseeneneeeenenneneney 31

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Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and
facilitated by the property Manager. ........ccecessesesseesseeeeseeseeeeenesseescavsaeeeeeseensuesenesetenenseseessausneseessenas 32

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to U.S. vy. Ware, 0O5er1115 (SDNY),04cr1224, and 02cv2219
(SDNY); and In re Group Management Corp.., 03-93031 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4—the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter, to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as 11 USC § 1109(b) statutory parties in interest. 0... cece reese 33

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s
law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs Act
conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—-government
trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219 (SDNY), and
in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11. wn. cccccccsseeeeeereeeeeeens 34

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas §. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators.......csessserrrssssnsseessrsssnerssersseesnerscsesesseseesensveserseneenas 35

Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptcy fraud
and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
05cr1115 (SDNY)}—the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-
d), and 2071 (a), (b), a pattern of racketeering activities. ....... cee eeeseeeesesneereeseneersecsessusseseesesacseeaeees 36

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STATEMENT OF ULYSSES T. WARE REGARDING ATTEMPTED CONSENT AND IMPLIED
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A-la—murder for hire order (02cv2219)(SDNY), Sand, J. authorized the U.S. Marshals (SDNY) to
use deadly force to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4, cf.,

MeMahon’s Dkt. 120 (02cv2219 (SDNY), see EX. 1, SUPIa. ..cccceceecsestecsessetseseesecscsssessertesessessenesseenees 72
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Legal Analysis—Bankruptcy Courts have authority to enter civil contempt orders per the Second

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(c), 1201-02, 1341, 1343, 1344, 1346, 1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a),
(b) racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins,
M. Regina Thomas, Patrick Sinback, Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H. Southwell, Jeffrey B. Norris,
David N. Kelley, Arie Rabinowitz, Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann,
Baker & McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert Alberal, London, Fisher,
LLP, Nall & Miller, LLP, John Doe Insurance Companies, ##1-5, John F. King, Kilpatrick, Townsend, &
Stockton, LLP, Wab Kadaba, J. Henry Walker, IV, Dennis S. Meir, John W. Mills, III, James H.
Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia, Office of the General Counsel, the U.S.
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AA. — Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA certification of unregistered broker-
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A. __ Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form BD (broker-dealer) public
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B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records.
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C. According to the SEC’s website Tailwind Capital (CRD# 156562) is registered only as an
“investment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, inffa........... 118

D. Tailwind’s SEC certification and admission that its employees (Frank V. Sica, Colleen
McMahon, Michael S. Bertisch, or Arie Rabinowitz) are not registered broker-dealers authorized to
engage in the business of underwriting and funding criminal usury convertible promissory notes, see Ex.
8 and GX 1, GX 2, GX 3, and GX 4 in U.S. v. Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra.....119

Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP

KCB DH 1S 6562) ssccuscssnenmamasnnveusravincvasvemsnssrsscoveonontsmssssrressmcsuetanaesacednesnenmmccersuscaciaeieeunsemoiaaces 120
No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V. Sica
were Confirmed ON NOV. 6, 2024, .eccsccesessterceeneeteeeneeaeeseeessenesseeeessessesecsecsersseseeesseeaeessesersessessseesseeeaeads 121
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(ERDF LSGN02) ei cuss csececmernenenaneinversseventertueiniessoriensienaraccesmnseecunas nasovnsissceemeccestnersnecutescauetentiiaenerseseriueKs 122
No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael Scott
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Mansaeemert LLP (CRD# 156562) sis cisesssesseunisiecaviiissccsrsuarinrmansiiernesesnetsessnmunvenisanais ceteris 124
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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-dealer status for each 02cv2219
(SDNY) plaintiff, affiliates, and agents of Tailwind Capital, L.P., Frank V. Sica, and Colleen
McMahon certified by FINRA’s Marcia Asquith, Esq.......cccccccccccseccceecssceuesssscsscsssessesssseseesesesaes 130

Exhibit 6,0--Tailwind Capital L.P. Form ADV page 23 filed with the Securities and Exchange
Commission (SEC) on March 30, 2024, admitted under oath that Tailwind is not registered as a 15 USC
§780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica
personally violated (1) federal law, 15 USC §§ 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40, the criminal usury law, a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities................cccccseseeeeeeeeseeeees 131

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex. 7, attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwind’s senior management approved ( “pre-clearance”) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. vy. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v. Group Management Corp., et
al., 02cv2219 (SDNY) (McMahon, J.) and in In re Group Management Corp., 03-93031 (BC NDGA)
(WLH) Chapter 11. See Ex. 6-3 infra, Dkt. 258 03-93031 (BC NDGA) (Hagena, C.J.). ..ccessseeeeees 132

Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2, 157, 371, 1341, 1343, 1503,
1951(a), 1961(6)(B) and 1962(d) Overt and Predicate Acts), Collusion, conspiracy, and coordination of
Jim Crow racially-motivated retaliatory, vindictive, and punitive moot void ab initio leave to file
sanctions initiated in concert and by judicial collusion of Wendy L. Hagenau and Colleen McMahon—see
02cv2219 (SDNY), Dkt. 139, 139-1, and 139-2, McMahon and her husband, Frank V. Sica, are both
unregistered broker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX 1, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt acts in furtherance of the
conspiracy to commit bankruptcy fraud, Hobbs Act attempted armed robbery, armed aggravated assault
and battery, conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951, 1956-57, 1958-59,
1961(6)(B), and 1962(a-d). See In re Colleen McMahon, 02-24-90036jm (2d Cir.) re: Complaint of
erimitial judicial miscondtiet (Pending). scissicceiscecoscsnsescwrssaesrctscrieradienviemecsnicsisresisierecascecenteveceeccees 133

Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re Group Management Corp., 03-
93031 (BC NDGA) Chapter 11, Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
commit bankruptcy fraud... eecssseseeeessssseessssecssesesseesonesesssseesneseesseessnessesassaesnesaeeaesseessnsseeseassnsaneassass 134

Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV, March 30, 2024— that is, actual
innocent Brady exculpatory evidence concealed and suppressed by Atlanta, GA law firm Kilpatrick,
Townsend, & Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, III, J. Henry Walker, IV,
Colleen McMahon, Daniel Gitnér, Edgardo Ramos, and Wendy L. Hagenau in violation of the Aug. 10,
2007, Dkt. 32, U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371, and
401(2) and 401(3) civil and criminal contempt of a lawful Brady disclosure court order, cf., Ex. 6.2, supra
(McMahon, Hagenau, and Gitner’s conspiracy to obstruct justice overt and predicate acts. ......ceeee 135

Exhibit 8.0—Colleen McMahon, Frank V, Sica, Arie Rabinowitz, LH Financial Services, and Tailwind’s
illegal underwriting of criminal usury convertible promissory notes in violation of federal laws, 15 USC
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Exhibit 8,1--Colleen McMahon and Frank v. Sica’s Massive +$22,000,000 Personal Ownership in
Hobbs Act RICO Criminal Usury Convertible Promissory Notes Underwritten in violation of 15 USC

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§§ 77e, 77x, 780(a)(1), and 78ff; and NYS Penal Law, section 190.40, the criminal usury law, a class E
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Exhibit 8.2: Judge McMahon's and convicted felon Edward M. Grushko’s money laundering that
involved unregistered broker-dealer and RICO unlawful debt creator and collector Alpha Capital, AG.
What are Judge McMahon and her spouse, Frank V. Sica’s relationship to Alpha Capital, AG, Kenneth A.
Zitter (Harvard Law), Dennis S. Meir (Harvard Law), Thomas W. Thrash, Jr. (Harvard Law), LH Financial

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Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq., Alexandria Kane, Esq.,
Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D. Sack, Amalya L. Kearse, Damian
Williams, Frank V. Sica, Tailwind Capital Management LLP, and other unindicted coconspirators to
launder the profits and proceeds derived from Hobbs Act extortion, loan sharking, kidnapping, murder
for hire, bribery, bank fraud, private equity fraud, securities fraud, and other racketeering activities. 158

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(13-6) (Part 15-6)

UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
Atlanta Division

In re: GROUP MANAGEMENT CORP., Chapter 11, Debtor.
Case No.: 03-93031 (WLH),

On appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB).

B. APPELLANTS’ AND APPELLEES’ BANKR. RULE 8009(d)
JOINT STIPULATED, CONSENTED AND AGREED
DISPOSITIVE JUDICIAL ADMISSIONS JURISDICTIONAL AND
INHERENT POWER SANCTIONING APPELLATE RECORD
FACTS.

Group Management (a sole proprietorship managed by Appellant Ulysses T. Ware--the successor
in interest to Group Management Corp.), the Chapter 11 Debtor, and Ulysses T. Ware, an 11 USC
§ 1109(b) statutory party in interest, jointly, (the “Appellants”), and unindicted coconspirators
Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, L.P., Amro International, S.A.,
Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, IIL, J. Henry Walker, IV,
Wab Kadaba, Kenneth A. Zitter, Arie Rabinowitz, LH Financial Services Corp., Konrad
Ackermann, Joseph Hammer, Trailblazer Merger Corp., I, Wendy L. Hagenau, James H.
Morawetz, the Office of the U.S. Trustee, Region 21, Mary Ida Townson, , M. Regina Thomas,
Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins, Securities and
Exchange Commission, Financial Industry Regulatory Agency (FINRA), Barbara Ellis-Monro,
Marcia E. Asquith, Robert L.D., Colby, Robert W. Cook, Emma Jones, Sarah Jeffries, The State
Bar of Georgia, Office of the General Counsel, William D, NeSmith, III, Paula Frederick, Leigh
Burgess, William Alan Myers, Adrienne Nash, Jenny Mittlemen, Jonathan Hewett, Patrick N.
Arndt, Michael D. Hostetter, Nall & Miller, LLP, Manibur S. Arora, Edward T.M. Garland,
Michael F. Bachner, David B. Levitt, Donald F. Samuel, Janice Singer, Alexander H. Southwell,
Thomas W. Thrash, Jr., Michael P. Boggs, Thomas A. Leghorn, Lawrence B. Mandala, Baker &
McKenzie, LLP, Robert H. Albaral, John F. King, and Office of the Georgia Insurance
Commissioner., and John Doe Insurance Companies, ##1-5, their privies, proxies, surrogates,
agents, alter-egos, and all those in active concert therewith, jointly (“the “Appellees” or
“Unindicted Coconspirators”’), the Appellants and the Appellees, jointly, (the “Parties”), hereby

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this 13th day of February 2025, with the advice of counsel, or acting pro se, after a thorough review
and evaluation of all Bankr. Rule 5003 “activity” in In re Group Management Corp., 03-9303 1
(BC NDGA) Chapter 11, and thorough and comprehensive review and evaluation of the complete
record before the 03-93031 Bankruptcy Court, the Parties hereby pursuant to Bankr. Rule 8009(d)
have stipulated, agreed, consented, and conceded, and with respect to this and all related
proceedings (02cv2219 (SDNY), 03-93031 (BC NDGA), U.S. v. Ware, 04cr1224 (SDNY), and
U.S. v. Ware, 05cr1115 (SDNY)) have made the following binding factual judicial admissions and
stipulations dispositive actual innocent exculpatory and impeachment Article III jurisdictional and
standing indisputable material facts, (the “Factual Record”) to wit:

1. Based on the Parties’ review and evaluation of the Factual Record in 03-93031 the Parties
stipulate that the following judicial proceedings, to wit: 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and O5cr1115 (SDNY), (the “Moot Proceedings”), are null
and void ab initio, moot, a nullity, and have no binding preclusive effect on the Appellants
and/or the federal or state courts, or agencies.

2. The Parties stipulate that all orders, judgments, and proceedings therein the Moot
Proceedings are themselves null and void ab initio, moot, a nullity, and have lack binding
preclusive effect on the Appellants and/or the federal or state courts, or agencies.

i. The Parties stipulate that Atlanta, GA law firm Kilpatrick, Townsend, & Townsend, LLP,
its partners Dennis S. Meir, John W. Mills, III, Wab Kadaba, J. Henry Walker, IV, clients,
(the 02cv2219 (SDNY) plaintiffs), its agents, associates, proxies, surrogates, privies, alter-
egos, and all those in active concert therewith, and others known and unknown, jointly, has
been since March 18, 2003, continuing without interruption to the present, knowingly and
willfully operated in interstate commerce as an ongoing illegal association in fact as
defined in 18 USC § 1961(4), a continuing criminal enterprise, actively engaged in, and
have actively aided, abetted, assisted, enabled, and facilitated its clients, see Dkt. 117, to
and did:

ii. knowingly, willfully, and in bad faith commit 11 USC §§ 152 and 157 bankruptcy fraud
in 03-93031 by concealing and stealing +$522 million of assets of the Chapter 11 estate,

iii. knowingly and willfully commit perjury in the Moot Proceedings,”

2 Unregistered broker-dealers, and 15 USC § 78p(b) statutory insiders of the Chapter 11 Debtor Group
Management, Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, Ltd., Amro International, S.A.,
Kenneth A. Zitter, Arie Rabinowitz, and LH Financial Services Corp.

3 See the Nov. 2007 known perjured and materially false testimony of KTS’ clients Kenneth A. Zitter, Esq.,
and Arie Rabinowitz, Tr. 180-250, in U.S. v. Ware, 04cr1224 (SDNY), where Rabinowitz aided, abetted,
and enabled by KTS’ crimes committed in 03-93031 knowingly and implicitly lied and committed perjury
and claimed that he (Rabinowitz), LH Financial Services, and Alpha Capital, AG (Anstalt) were registered
broker-dealers, when in fact on May 17, 2021, FINRA’s senior executive Maria E. Asquith, Esq, certified
that Rabinowitz and KTS’ clients, see Dkt. 11, were not registered broker-dealers, and had never lawfully

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iv. knowingly and willfully commit money laundering of +$522 million in strict-liability
15 USC § 78p(b) short-swing insider-trading profits that are the 11 USC § 541(a)(1)
property of the 03-93031 Chapter 11 estate, required by federal law, 11 USC § 542(a), to
be immediately turned over to Chapter 11 estate for administration,

v. aided, abetted, encouraged, and facilitated the theft, removal, suppression, and
concealment of Bankr, Rule 5003 “activity” in the 03-93031 proceedings,

vi. facilitated, aided, abetted, assisted, and encouraged the fabrication, theft, suppression,
concealment, and removal of public judicial court records in 03-93031 in violation of 18
USC §§ 2071 (a), (b),'

vii. enabled, aided, abetted, assisted, and facilitated the collection of° predatory null and
void ab initio criminal usury convertible promissory notes, GX 1-4, issued and purchased
by KTS’ unregistered broker-dealer clients, the 02cv2219 (SDNY) plaintiffs, (the
“Unregistered Broker-Dealers”), via null and void ab initio, unenforceable, and
uncollectible predatory criminal usury contracts, GX 5, jointly, (the “Criminal Usury
Subject Matter”),

viii. engaged in the theft, concealment, and removal of liability insurance policies’
proceeds that are 11 USC 541(a)(1) property of the Chapter 11 estate,

registered pursuant to 15 USC § 780(a)(1) as brokers or dealers to lawfully engage in securities transactions
with respect to GX 1-4, and GX 5, in the United States in violation of 15 USC §§ 77d, 77e, 77x, 780(a)(1),
78p(b), 78ff, 78cc(b), and SEC Release 33-7190 n. 17 (1995) that is, actual innocent Brady exculpatory
and impeachment evidence required to have been produced and disclosed to Appellant Ware “before trial”
in U.S. y. Ware, 04cr1224 (SDNY), and U.S. v. Ware, 05cr1115 (SDNY), as ordered by the late Judge
Sweet (Dkt. 32) and Pauley (Dkt. 17), respectively: actual innocent Brady exculpatory and impeachment
evidence knowingly and deliberately concealed and suppressed by KTS and the Appellees to cause the
racially-motivated hate crime false imprisonment of Appellant Ulysses T. Ware, Esq. for his and the
Chapter 11 Debtor, Group Management Corp.’s, lawful refusal and resistance to joining the KTS and
Appellees’ Hobbs Act predatory loan sharking and money laundering criminal enterprise, and aid, abet, and
facilitate KTS’ unregistered broker-dealer clients’ and their agents’ unlawful collections and
enforcement of the predatory null and void ab initio criminal usury convertible promissory notes, GX 1-4,
in criminal violation of 15 USC §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78ff, and 18 USC §§ 2, 152, 157, 371,
924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d).

“ See 03-93031 (BC NDGA) Dkt. 278, Jan. 27, 2025, confession, judicial admissions, and_self-
incrimination by Barbara Ellis-Monro regarding Bankr. Rule 5003 fraud, and 18 USC §§2, 152, 157, 371,
401(2), 401(3), 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1512, 1519, 1951(a), 1956-57, 1958-59,
1961(6)(B), 1962(a-d), and 2071(a), (b}—a pattern of racketeering activities, with respect to the willful
criminal violations in regard to the 03-93031 judicial public record.

5 See Dkt. 11, 15, and 16 illegal collection activities in 03-93031 in violation of federal racketeering law,
18 USC §1961(6)(B) and NYS Penal Law, section 190.40, the criminal usury law, a class E felony.

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ix. engaged in an ongoing insurance fraud conspiracy with the Georgia Office of Insurance
Commissioner (“OIC”), and unindicted coconspirators John F. King, Patrick Nash Arndt,
Michael D. Hostetter, Nall & Miller, LLP, Garland, Samuel, & Loeb, P.C., Edward T.M.
Garland, Manibur 8. Arora, Donald F. Samuel, Robin Loeb, Janice Singer, Michael F.
Bachner, David B. Levitt, FINRA, Robert W. Cook, Robert L.D. Colby, Baker &
McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, and Robert H. Albaral,
jointly, (the “Insurance Fraud Coconspirators”), in the concealment and suppression of
the identities of KTS’ and the Insurance Fraud Coconspirators’ liability insurance carriers,
John Doe Insurance Companies (##1-5),

x. directly and/or indirectly, aided and abetted by the Appellees and/or their privies and
agents, engaged in Hobbs Act threats of violence, used armed violence to break-in the
Atlanta, GA law office and the Brooklyn, NY personal residence (on Sept. 12, 2024) of
Appellant Ulysses T. Ware by persons heavily armed. On Sept. 1, 2004, in Atlanta, GA
and threatening to “murder” Appellant Ware unless Appellants Ware and Group
Management issued to KTS’ unregistered broker-dealer clients more than 50 million “free-
trading stocks” and “those legal opinions that judge Sand’s people [Arie Rabinowitz,
Kenneth A. Zitter, convicted felon Edward M. Grushko, Barbara R. Mittman, Esq., Konrad
Ackermann, LH Financial Services Corp., et al.] want in New York ...” (quoting four (4)
heavily armed, and dangerous white men), impersonating U.S. Marshals, who using armed
force broke into Appellant Ware’s Atlanta, GA law office (a commercial business entity)
on Sept. 1, 2004, using armed and potentially deadly force (i) to intimidate using potentially
deadly force Appellants Ware and Group Management, and (ii) to collect using potentially
deadly and threats of extreme violence and force the Hobbs Act predatory criminal usury
convertible promissory notes, GX 1-4, for Judge Sand, Zitter, KTS, KTS’ clients, and the
Appellees named herein,

xi. The Parties stipulate and agree that each Appellee, their privies, agents, and all those in
active concert therewith, the 03-93031 Bankruptcy Court, the Moot Proceedings’ courts,
and all federal and state agencies (the State Bar of Georgia and its employees) are bound,
absolutely, by the binding preclusive effects of the late Hon. District Judge Sand’s
(SDNY), final order, Aug. 13, 2003, Dkt. 65, 15 USC 78p(b) statutory insider ruling
regarding each of KTS’ clients; and (ii) Judge Sand’s final judgment, the Dec. 20, 2007,
Dkt. 90, Fed. R. Civ. P. 41 (a)(2) voluntary final judgment on the merits of the 02cv2219
(SDNY) and by extension the 03-93031 proceedings Dkt. 6, 11, 13, 14, 15, 16, 28, 256,
258, 263, 274, 275, and 278, (the “Moot Orders”).

xii. The Parties stipulate and agree that on Dec. 20, 2007, Dkt. 90, KTS’ clients, the
02cv2219 (SDNY) plaintiffs, thorough counsel, Unindicted Coconspirator Kenneth A.
Zitter, Esq., ex parte, after the statute of limitations had run on all claims in the 02cy2219
(SDNY) complaint, pursuant to Fed, R. Civ. P. 41(a)(2), voluntarily moved the 02cv2219
(SDNY) District Court (Sand, J.) and Judge Sand effectively and immediately dismissed
with prejudice the 02cv2219 (SDNY) proceedings, and reversed, vacated, set aside,
vitiated, and annulled all orders, judgments, and proceedings in 02cv2219 (SDNY), and

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by operation of law effectively enter final judgment on the merits of the 02cv2219 (SDNY),
and by extension the 03-93031 proceedings in_favor_of the Appellants Group
Management and Ulysses T. Ware.

xiii. The Parties stipulate and agree that Appellants Group Management and Ulysses T.
Ware pursuant to operation of law, and the legal preclusive effects of Judge Sand’s Dec.
20, 2007, Rule 41(a)(2) final judgment are the legal prevailing parties with respect to the
02cv2219 (SDNY), (the “Final Judgment Prevailing Parties”).

xiv. The Parties stipulate and agree that Appellants Group Management and Ulysses T,
Ware as a direct and proximate cause resulting from the Unindicted Coconspirators’, their
agents, privies, proxies, surrogates, or alter-egos’ extensive, pervasive, long-running,
criminal, and ongoing pattern_of racketeering activities and individual and personal
crimes committed in regard to the Moot Proceedings, the Appellants have, are currently,
and will continue to suffer extreme irreparable harm, injuries, and damages in the sum
certain amount of $5.2225 billion.

xv. Each Appellee, Unindicted Coconspirator, has agreed, stipulated, consented, and
approved of 18 USC §§ 2, 371, 1951(a), and 1962(d) joint and several racketeering civil
liability; and further has consented, agreed, stipulated, and approved of the immediate entry
of a money judgment in the sum certain amount of $5.2225 billion, entered in favor of the
Appellants Group Management and Ulysses T. Ware, entered against the Appellees’
individual and personal capacity, and entered and secured by all personal and business
assets and properties of each Appellees or Unindicted Coconspirator, their privies, agents,
and all those in active concert therewith.

xvi. Each Appellee, Unindicted Coconspirator stipulates that the State Bar of Georgia,
(SBGA), and its agents and employees, acted knowing, willfully, maliciously, and in bad
faith, as deliberate Hobbs Act racketeering overt and predicate acts in furtherance of KTS
and its unregistered broker-dealer clients’ RICO conspiracy’s criminal objection—that is,
the Hobbs Act 18 USC § 1961(6)(B) collection and enforcement of the predatory
criminal usury convertible promissory notes, GX 1-4. The SBGA’s employees, Hewett,
Myers, Smith, NeSmith, Frederick, Mittlemen, Nash, Burgess, and outside legal counsel,
Nall & Miller, LLP, Patrick Nash Arndt, and Michael D. Hostetter, directly and/or
indirectly maliciously forged, fabricated, and manufactured the false, fraudulent, and
counterfeit alleged Affidavit of Personal Service that was used to initiate the fraudulent In
re Ware, 2008 disbarment proceedings based on the null and void ab initio, and moot,
04cr1224 (SDNY) and 05cr1115 (SDNY) proceedings. See Ex. A, infra.

Respectfully submitted,

Ulysses T. Ware
Loy . ‘ WE ease

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/s/ Ulysses T. Ware

Attorney in fact for Appellants Ulysses T. Ware and Group Management

Dated: February 18, 2025

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Exhibit A—-SBGA’s known false, fraudulent, counterfeit, and fabricated
alleged January 15, 2007, Affidavit of Personal Service (perjury) on
Ulysses T. Ware, Esq. at the Bureau of Prison’s Brooklyn, NY MDC
federal prison—the BOP has confirmed that Mr. Ware was
not personally served on January 15, 2007, at the MDC Brooklyn, NY
prison because according to the BOP “ ... Mr. Ware was not incarcerated
and was notin the custody of the Bureau of Prison on January 15,
2007, anywhere in the United States... and certainly not in Brooklyn,
NY ... that is a fact ....” (emphasis in original).

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SUPREME COURT, , STATE OF GEORGIA

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STATE._OF GEORGIA : eres t64

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Sheriffs Case # 06000880 FILED
Defendant/Respondent | ol 06 ft
Hannan Ors hsidiat rst ollie : x index/Docket # SOSBIETATE secon
STATE OF NEW VORK ¥ .- STATE BAR OF GEORGIA
COUNTY OF KINGS } 55:

t © Palmnlerl Deputy Shei « of the City and: State of New. York, authorized pursuant to my special duties to serve
proce cer nol 8 party to this action oF proceading and over 16 years of age. { further certify that ee
the 16 f ara al at 8029" Street in the borough of Brooklyn, Gourity of Kings, |
ad: SUMMONS, amp nt, % patition C subpoena C ordertemporary order of protection 0 order ta show
cause Ol wilt of hibeas corpus ¢! property ee 0 sheriff's sate notice 0 sheriff's levy notice O interrogatories G financial
disclosure affidavit X Attached Documents: up
ULYSSES THOMAS WARE, the’ deeidanteoendanl in the following manner:

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DELIVERY me oy thereof, said person being known as the person mentioned and described.
or
PERSONAL SEAVICE ["] 8y delivering to and leaving with, ‘
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(RESIDENCE) a person of suitable age and discretion, who is. to the
detendant/respondent. A true copy thereof. Sald address is the dwelling place/usual
place of abode of tha party served.
PERSONAL SEAVICE C] By delivering to and leaving with,
ALTERNATE PERSON
(EMPLOYMENT) <i / a person al the defendants/respondent’s place
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of employment:
(name of plate of employment)
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' defendant/respondent at his/fhar last known rasidence/actual place of business in-an
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‘the outside thereof, by relum address or olherwisa, that the communication is trom. an-
attomey or concems an action against tha defandanvrespandent,

CORPORATION C] By delivering to and feaving with, ;
a true copy thereof, Said person stated he/she was i ; ;
agent authorized to accept service of legal process. dwrork sitio}
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Age48 Height: 6.4 Weight 265lbs Skin: Black Hair: Black -

NOTARY
Sworn to (affirmed) before me

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F. Exhibits—

Supplemental Record

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Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Croup Management Corp.’s, publicly-traded equity
securities.°

® Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptcy Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of KZS’ unregistered broker-dealer clients, et al—
that is, Hagenau, KTS, its partners, and its clients are subject to (i) an_existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +$522M
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.c.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

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Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02¢v2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
Section 16(b)/11 USC §542(a) disgorgement/turnover requirement, which was not
appealed by KTS’ clients, and is therefore, ipso facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,

Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to FRE 201(b)
judicial notice.

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each 02cv2219 plaintiff to be a 145 USC 78p(b)
statutory insider of GPMT, and their and their agents required to disgorge back to GPMT +5500
million in trading profits.

wei cet

UNITED STATES DISTRICT COURT
‘SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AKTIENGESELLSCHAFT,
AMRO INTERNATIONAL, $.A.,

MARKHAM HOLDINGS, LTD. and.
STONESTREDT LIMITED PARTNERSHIP,

Plaintit¥s, 1 02 Civ. 2219 (LBS)
sagainst- : ORDER
GROUP MANAGEMENT CORP.,
formerly known as IVG CORP.,

formerly known as INTERNET
VENTURE CORP.,

Defendant.

SAND, District Judge.

Ina Wlephonic conference on July 2, 2003, this Court ordered that Defendant Group
provision by Plaintiff of an affidavit stating, interalia, that Stonestreet beneficially owned less
than 9.9% of Group Management's common stock, as well as an opinion letter stating that the

= conversion would therefore be In pli with Rule 144(k}, See Tr. July 2, 2003. Plaintiff

subsequently provided an unsworn slatement lo the effect that Stonestreet's ownership was

below the appropriate level; when Defendant still failed to honor the conversion request, the

8 Court ordered on July 23 that i) Maintif provide a swom affidavit, as required by July 2 Order;

—

«cand ji) that Defendant honor the Stonestreet conversion request within two business days
w

2 thereafter, on pain of contempt.

MICROFILM

Oa August 1, 2003, the Courl received from Plaintiff copies of an affidavit and opinion

COPTES MAILED TO ALL PARTIES, ¢\x

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The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
jerc in ex parte communications with the 02cv2219 (SDNY)
district court ; J.) that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients’ ownership of GPMT's

stock. letter relating not to Plaintiff Stonestrect, bul rather to Plaintiff Alpha Capital, Plaintiff
explained, upon inquiry fron Chambers, that Slonestrect in fact beneficially owned more than

9,9% of Group Management's stock.

Given the above facts, the Court observes that the conditions set in the July 2 Order
fegarding the Storus(rect conversion request have nat been met, and that Defendant is therefore
not in contempt of that Order, or of the follow-up Order of July 23. Nonetheless, pursuant to
other orders of this Court, including the Order and Judpment of November 25, 2002, Defendant
is still bound to honor appropriate conversion requests from Alpha Capital, and Plaintiff has
submitted bowl an affidavit and opinion letter regarding the legality of the current va
conversion request. Accordingly, failuro by Defendant to honor that request «nic ae business a a

days of this Order shall constitute contempt,

SO ORDERED.

Dated: New York, New York
August 36 2003
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Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal_with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final_ judgment prevailing party status on Group Management and

Ulysses T. Ware.’

7 KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter 11 debtor, Group
Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P. 42.

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Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual
finding of unregistered broker-dealer status for KTS’ clients who
fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers
of the court, pursuant to and in violation of 18 USC §§ 2, 152, 157,
371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a_pattern_of
racketeering activities.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

ss

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

1. 1 am the Executive Vice President, Board and External Relations. In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
ihe Financial Industry Regulatory Authority, Inc. ("FINRA"). | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonesireet, L.P.

c) Markham Hoidings, Ltd.
d) Amro International, S.A.
6) LH Financial Services

Marcil E. Asquith
Executive Vice President, Board/ajd External
Relations and Corporate Secretary

‘Subscribed and sworn to before me this rataay of Mary 2021
i : L

Notary Public, District of Columblay |
a

My commission expires:

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Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure
court order, Dkt. 32.

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Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers.

UNITED STATES v. WARE, CASE NO. 09-0851 (2D CHR.) (2010)
ON APPEAL FROM UNITED STATES v. WARE, 04c11224 (Sweet, 3.)
18 USC 401(3) CRIMINAL CONTEMPT PROSECUTION
APPELLANT WARE'S OPENING BRIEF

1 Moreover, being unregistered brokers-deaiers operating in violation of 15 U.S.C.

2 S$78o(a)(1), Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

4 ADMISSION OF BROKER-DEALER STATUS BY
AR! RABINOWITZ UNDER CROSS EXAMINATION.

r. Ware: What Is the name af your carmpany? i "RP
t Rabinowitz: LH Financial Services.

3 Mr. Ware: What business is that company?

> Rabinowitz: We are in the private placement.business.
i Tr. 206 al

+ Mr. Ware: Approximately how many: companies have you assisted Alpha Capital
+ with over, let's say, the laat five veerse

§ Rabinowitz: A good few, Huriaired,
5 r. Ware: A good te huipdved?

S ——— Xess

nony of being in the private placement business, and assisting

? Rabinowhy’ aestir
a Alpha. ‘Ca ital, “With “a pood few hundred” transactions: pursuant to 15 U.S.C,
> s77 bla) Rabinowitz and Aipha were “dealers” not eligible for any exemption
> under, Title 15 Section 4, and thus not eligibie for 17 C. F.R. $240.144(k)/({Rule 144(k)
i regarding the purchase of the Notes of IVG/GPMT {GX 1-4).

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Appallant Ware's Statement of Facts

US. ¥. Ware, 09-0851¢r (2d Cir.)

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Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s
judicial admissions and confessions (res judicata and collateral estoppel)
of 15 USC §77b(a)(11) statutory underwriters of Group Management’s
securities. Para. 12-13 pleaded KTS’ clients out of the federal courts.

pci
+ a 12. Plaintiffs purchased the Notes pursuant to the terma of the Subscription Agreement
"(the “Subscription Agreement”) entered into betwren and wmong the parties ou or about February
Vs 2, 2001, Plaintiffs collectively paid $1.1 million to TVG and cach Plaintiff received a Note in
proportion i ite investment, as set forth in the paragraph 10.
ot a

A" 43, Pursuant to Section 10.1Gv) of the Subscription Agreement, TVG was obligated to

filo on oF before May 3, 2001, a form SB-2 Registration Statement with the United States
Securities and Exchange Commission registering the stock underlying the Notes so that upon

eet

conversion the stock could be sold on the open market without restriction. 1VG was obligated to

a

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have such registration statement declared effective on or before June 17, 2001. Thus Section.
o 10.1Giv) of the Subscription Agreement provides:

es a file with the Commission within 90 days of the
Closing Date (the ‘Filing Date’), and use its reasonable commercial efforts
to cause to be declared effective a Form SB-2 registration statement (or
wuch othér form as it is eligible to usc) within 135 days of the Closing
Date in order to register the Registrable Securities for resale and
distribution under the Act. The registration statement described in this
paragraph niust be declared effective by the Commission within 135 days
of the Closing Date (as defined herein)(‘Effective Date’).” :

IVG failed to comply with its obligations and to date has not had its registration statement

declared effective.

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Exhibit 7—extreme armed and potentially deadly violence perpetrated
against the Debtor and its agent in fact Ulysses T. Ware in furtherance to
their conspiracy to collect criminal usury debts (GX 1-4) in violation of
NYS Penal Law, section 190.40 and federal RICO law 18 USC §§
1951(a), 1961(6)(B), and 1962(a-d)—a pattern of racketeering activities.

Supplemental
Appendices

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Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn,
NY at 10:17 AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while
the Marshals lacked a lawful search warrant, arrest warrant, or lawful legal process; aided,
abetted, assisted, enabled, and facilitated by the property manager.

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A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer,
Morton, and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former
(SDNY) magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R.
Civ. P. Rule 11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC
1961(6)(B) unlawful, armed debt collection activities, related to U.S. » Ware, OScr1115
(SDNY),04cr1224, and 02cv2219 (SDNY); and In re Group Management Corp.., 03-93031 (BC
NDGA), to wit: GX 1, GX 2, GX, 3, and GX 4—the NYS Penal Law, section 190.40, null_and
yoid ab initio criminal usury unlawful debts—the Marshals with the assistance of the property
manager broke into Mr. Ware’s residence while armed_and without any warrant, or lawful
process—a potentially deadly encounter, to intimidate, bully, threaten, and force Mr. Ware into

giving up and abandoning his and Group Management’s legal rights as 11 USC § 1109(b) statutory
parties in interest.

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B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr.
Ware’s law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs
Act conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—
government trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219
(SDNY), and in Jn re Group Management Corp., 03-93031 (BC NDGA) Chapter 11.

75, 9/14 Contempt of Court Atlanta, Georgia 10/15/04; i ye Roirtune jie wae ee
Age: 44 Dismissed pursuant TET BA Bato ahe To FOE TSS Toa ou
to order of Judge are fucking with ... f want that stack and

- By those opinions, clot | will have the marshals
Leonard B. Sand so Yale pour Yor Beier gre. hea

mi Hol playing around with you .
oath ft pd soe tal appt te yes it

76. Aevording to Sr. U.S. Probation Officer Atonya M. Craff of the Northen District of ape ee fal Chea ee ee
Georgia, on September 1, 2004, the defendant was arrested in the Northen District of transcript of the Sepmeniber 1, 2004 iRegal arrest
Georgia in response fo an order issued by the Honorable Leonard B, Sand, U.S, District Aildcapgipe) veeniiaes, et Hae it
Judge, Southern District of New York, in 02 CV 2219 (LS). On December 22, 2003,
Judge Sand ordered the defendants in this civil matter (which included the defendant) to
deliver Silver Screen Studios, Inc, common stock to honor all of the conversion requests
for Group Management Corp, or Silver Screen Studios, inc. stock duly submitted by the:
> plaintiffs, On June 21, 2004, Judge Sand issued 9 warmat for the defendant's amest for
contempt of court, for failure to obey the December 22, 2003, order. This arrest order
indicated that the defendant was to be arrested by the U.S. Marshals Service al detained
until the defendant purged himself of contempt by delivering the above-reforenced

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Jey of Moe #88 order in 2219 (Sara, 13 ruting
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_ common stock. On July 1; 2004, the defendant was arrested by the U.S. Marshals Service = 4 >
in the Northern District of Georgia. He appeared before the Honorable Thomas W. 8/28/2012

Nepe 8/18/20)
Thrash, Jr, in that district, refused to purge himself of contempt and offered no

acceptable reason fo prevent enforcement of the contempt order. On September 2, 2004,
the Honorable Thomas W. Thrash, Jr,, ordered the defendant to remain in the custody of
the U.S, Marshals Service until he purged himself of contempt or was ordered released by
cither Judge Thrash or Judge Sand. The defendant's request for bond was granted, and he
was released on September 3, 2004, after posting $150,000 in cash and a $100,000 bond,
cosigned by two other individuals,

elite O4367-TWT Document 1-4 Filed (21912 Page 33 of 49

77, On September 28, 2004, the Honorable Leonard B, Sand vacated the June 21, 2004, order
jn part to the extent that it authorized the arrest of the defendant outside of the state of
New York and more than [60 miles from the U.S, Courthouse located at 500 Pearl Street,
New York, New York, The order remained in effect insofar as it could be served on the
defendant in the state of New York or within 100 miles ofthe U.S. Courthouse located at
S00 Pearl Sireet, New York, New York,

78. On October 7, 2004, the defendant moved to vacate and release the bail of $250,000 set
on September 2, 2004. On October 15, 2004, the defendant’s motion was granted by the
Honorable Thomas W. Thrash, Jr; $150,000 was refunded to the defendant, and the i #
corporate surely bond was discharged, a

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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C, Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E, Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, II (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.

Dolinger, and other Unindicted Coconspirators.

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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall,
Livingston, Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to
commit bankruptcy fraud and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and O05cr1115 (SDNY)—the Hobbs Act Unlawful Debt
Collection Proceedings, to wit: 18 USC §§ 2, 156-57, 371, 924(c), 1201-02, 1341, 1343,
1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), a
pattern of racketeering activities.

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)

and
Alpha Capital, AG et al., v. GPIMIT, et al., (02cv2219)(SDNY) (McMahon, J.)

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Appendix 2-1 (con’t)—Money laundering vehicle formed from the Hobbs Act money
laundering and criminal usury unlawful debt collection activities profits and proceeds
fraudulently obtained by Unindicted Coconspirators Arie Rabinowitz, LH Financial
Services, Alpha Capital, AG, et al.

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, B.C, 20549

FORM S-1
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation I

(Bxuet name of registrant as apecified a ity charter}

Delaware 6770 87-37 E376.
(Sure oy other jarisdiction of {Primary Stasdard Industrial (RLS. Ensployee
incorporation or organization) Cinesification Cade Naber) Identification Number?

(Address, Licluding Zip Code, and, ga Code, of Registant’s Principal Executive Olfices)

Arie Rabinowitz
Chief Executive Officer
$10 Madison Avenue
Suite 1448
New York, NY 10022
‘Felephane: 212-586-8224
iName, Addevss, Inc Nene 2p Cade, and Telephone Number, Including Arca OF Agent for Service)
Copies ta:
Mitchell S. Nusshaunt, Esq. Rick A. Werner, Esq.
Alexandria Kane, Esq. Haynes and Boone LLP
Lath & Loch LLP MW Rockefeller Plaza,
345 Park Avenue 26th Floor
New York, New York 10105 New York, NY 10/12
“Pel; (292) 407-4000 Tel: (212) 639-7300
Approsi date of of proposed sale to the publics As soon as practicable after the effective date of this registration

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ifany of the securities being registered on this Form ane to be offered on a delayed or continuous basis pursoant to Rule 465 under the
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complying with any mew or revised financial ling standards provided p to Section 7(a}(2)(5) of the Securities Act. 0

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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Appendix 3--Re: Appellants’ and Appellees’ Consent Joint Jurisdictional Declaration
of Undisputed Material Facts and Stipulated Admissions pursuant to Bankruptcy
Rule 9011(b)(1-4) and 28 USC 1927.

Case No. 03-93031

United States Bankruptcy Court (12-17)
For the Northern District of Georgia

(Atlanta Division)

Submitted for Filing on
Tuesday, February 4, 2025, 9:34:33 AM

In re Group Management Corp., Chapter 11

Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration of Undisputed Material Facts and Stipulated Admissions

pursuant to Bankruptcy Rule 9011(b)(1-4) and 28 USC 1927 2

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 4, 2025

® The Movants’ challenge to the Bankruptcy Court (NDGA) In re Group Management Corp., 03-9303 1
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX 1-
4; and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra. What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Monro, C.J. and
Hagenau, C.J.) have in not sua sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article II] standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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STATEMENT OF ULYSSES T. WARE REGARDING ATTEMPTED CONSENT AND IMPLIED
CONSENT OF APPELLEES-RESPONDENTS TO JOINT DECLARATION OF UNDISPUTED

JURISDICTIONAL MATERIAL BACT S oss ssiisssicenscenassernwenmascnensninaiisraaerissirnacrenverniinseenie 45
CERTIFICATION OF COUNSEL PURSUANT TO BANKRUPTCY RULE 9011(b)(1-4) AND 28

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THE PARTIES JOINT DECLARATION OF posccccscnineannanwananianaraaamiaianinntn 49
UNDISPUTED JURISDICTIONAL MATERIAL FACTS .............c:ceccssssesseseeseenseesesseenessesesesnnssesereeees 49
Certificate of Servie.......cccccccccsscseesecseeeseeeeseetseeseeseeaseneeneeeeesenneeeeseeae Error! Bookmark not defined.

Exhibit I—Dkt, 278—Barbara Ellis-Monro’s Self-incrimination for conspiracy to obstruct justice
and commit bankruptcy fraud, 18 USC §§ 2, 152, 157, 371, 924(c), 1341, 1343, 1344, 1346, 1503,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), et. seqs. confessed and admitted
by Barbara Ellis-Monro in her personal and individual capacity as an 18 USC § 1962(d) unindicted
coconspirator having joint and several personal criminal and civil liability in the amount of

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F, _Exhibits—Supplemental Record ........... ccc ecceeesteeteeseeeseeseeseeeeeeees Error! Bookmark not defined.

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SO CUPELGS: ., orarsevecsreeesnzronenmneneannonnenanunnpseesaninnnsasivei su ole Uupas Siu sul eiived Gun Wiiwaneecise eine Error! Bookmark not defined.

Ex. I—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipse
facto, as a matter of law and fact res judicata and collateral estoppel against ATS, Kadaba, the _
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to

FRE 201(b) jurdicial notice, .0..ccccccccccccceccccccsceteseceseeestasesetseteesesenseneeneeees Error! Bookmark not defined.

Exhibit 2--Dkt. 90 (Binding Final Judgment)}—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §$1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on Ali Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses T. Wave. .........00..c00000000- Error! Bookmark not defined.

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dit. 11,
15, and 16 via KTS’ lawyers Dennis $. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC 8§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities, Actual innocent Brady exculpatory evidence... Error! Bookmark not
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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 4—Sweet, J., U.S. ». Ware, 04cr1224 (SDNY) Brady disclosure court order, Dkt. 32........... Error!
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Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers. .......ccccccssssessssssscsscssessesscsscsesscssseueavevseees Error! Bookmark not defined.

Exhibit 6—02cv2219 (SDNY) plaintiffs’ (K'TS’ clients’) complaint’s judicial admissions and confessions
(res judicata and collateral estoppel) of 15 USC $77b(a)(11) statutory underwriters of Group
Management’s securities. Para. 12-13 pleaded KTS’ clients out of the federal courts. Error! Bookmark not
defined.

Exhibit 7—extreme armed and potentially deadly violence perpetrated against the Debtor and its agent in
fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX _1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC §§ 1951(a), 1961(6)(B), and

1962(a-d)—a pattern of racketeering ACtIVILICS.....cccccseerseccessreeeseseestaneserseens Error! Bookmark not defined.
Supplemenial Appendices cauececsaeeaeseceuacaeaaceuececsucencaecaeseucuecnsaeeecsecenceanenees Error! Bookmark not defined.

Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and

facilitated by the property MaNaer, ........ccccceeseeestecescescrsesseeenseessresenreeesnes Error! Bookmark not defined.

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
L1(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to ULS. vy. Ware, OScr1115 (SDNY),04er1224, and 02cv2219
(SDNY): and Jn re Group Management Corp... 03-93031 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4—the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter. to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as |] USC § 1109(b) statutory parties in interest...... Error! Bookmark not
defined.

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s
law office without any lawful warrant by persons impersonating US. Marshals—Hobbs Act
conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4— government
trial exhibits in U.S. v. Ware, 04cr1224 (SDNY). and plaintiffs’ exhibits in 02cv2219 (SDNY), and
in In re Group Management Cerp., 03-93031 (BC NDGA) Chapter 11. wu... Error! Bookmark not
defined.

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
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(deceased), William H. Pauley, LI (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators......cccceccseseseteestereeteeees Error! Bookmark not defined.

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Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s. Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptcy fraud
and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
O0S5cr1115 (SDNY} the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57.371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-

d), and 2071(a), (b), a pattern of racketeering activities. ......ccccceeseseeseees Error! Bookmark not defined.
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The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

February 4, 2025, 9:34:33 AM

VIA ELECTRONIC FILING and U.S. mail

The Honorable Barbara Ellis-Monro
Chief Judge

United States Bankruptcy Court
Northern District of Georgia
Atlanta Division

1431 United States Courthouse

75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Re: In re Group Management Corp., Chapter 11, Case No. 03-93031 (WLH) — Appellants-
Movants’ Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) — Submission of
The Parties’ Joint Declaration of Undisputed Jurisdictional Material Facts.

Your Honor:

Appellants-Movants Group Management and Ulysses T. Ware, and Appellees-
Respondents Kilpatrick Townsend & Stockton LLP, its Unregistered Broker-Dealer clients, et al.
respectfully submit the enclosed The Parties’ Consent Joint Declaration of Undisputed
Jurisdictional Material Facts for the Court’s consideration in connection with the pending Jan.
Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) filed by Appellants-Movants on
January 30, 2025, via email and the U.S. mail addressed to the Hon. Barbara Ellis-Monro. This
Joint Declaration, titled “Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration of Undisputed Material Facts and Stipulated Admissions pursuant to
Bankruptcy Rule 9011(b)(1-4) and 28 USC § 1927,” represents a collaborative effort by all

parties to streamline the pending “sua sponte” required Article III constitutional jurisdictional

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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inquiry before this Honorable Court and to facilitate a focused and efficient resolution of the

critical Article IIT standing and subject matter jurisdiction issues raised in the Notice of Appeal.

The enclosed Joint Declaration meticulously sets forth thirty-five (35) discrete and material
Article III jurisdictional facts, each drawn directly from the Record before this Honorable Court
in the 03-93031 Bankruptcy Case and the related 02cv2219 (SDNY) Litigation. These facts, as
jointly declared and stipulated by Appellants-Movants and Appellees-Respondents, are
undisputed and readily verifiable by reference to the cited docket entries and exhibits. The
purpose of this Joint Declaration is to provide the Court with a clear, concise, and agreed-upon
factual foundation upon which to conduct its mandated “sua sponte” threshold determination of
Article III subject matter jurisdiction and standing, as unequivocally required by controlling
Supreme Court precedent, Steel Co., 523 U.S. at 93-95 and Great Southern Fire Proof, 177 U.S.
at 453.

Appellants-Movants respectfully submit that the Undisputed Material Facts contained
within the Joint Declaration compellingly support the reliefs requested in their Rule 9014/12(h)(3)
Notice of Appeal (Part 14-10), and demonstrate, with undeniable clarity, the manifest absence
of Article III standing for Appellees-Respondents KTS Clients, Unregistered Broker-Dealers, to
assert claims in this Chapter 11 proceeding. This Joint Declaration is submitted in good faith,
pursuant to the certifications of counsel included therein and in furtherance of Bankruptcy Rule
9011(b)(1-4) and 28 U.S.C. § 1927, to promote judicial economy, expedite the resolution of
threshold jurisdictional issues, and facilitate the just, efficient, and lawful adjudication of this

protracted and complex matter.

RESPECTFULLY SUBMITTED,
For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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(718) 844-1260
Utware007@gmail.com
February 4, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

End of Declaration

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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STATEMENT OF ULYSSES T. WARE REGARDING
ATTEMPTED CONSENT AND IMPLIED CONSENT OF
APPELLEES-RESPONDENTS TO JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I, Ulysses T. Ware, counsel for Appellants-Movants Ulysses T. Ware and Group Management,
hereby state the following to this Honorable Bankruptcy Court:

1. Contact with Counsel for Appellees-Respondents: On February 3, 2025, counsel for
Appellants-Movants contacted Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., of
Kilpatrick Townsend & Stockton LLP, counsel for Appellees-Respondents Kilpatrick
Townsend & Stockton LLP and its Unregistered Broker-Dealer clients, via electronic mail.

2. Service of Joint Declaration of Undisputed Material Facts: Attached to said electronic
mail communication, Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., were served with a copy of the document titled “(12-13—-D2) (Part 14-
13—D2) re: Memorandum of Fundamental Constitutional Legal Error—Nullity of Dkt.
28, 256, 258, 263, 274, 275, and 278.”

3. Request for Oppositional Response or Challenge: In said electronic mail
communication to Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., Appellants-Movants’ counsel requested that Appellees-Respondents file
any oppositional response or challenge to the factual contents of the Joint Declaration,
including any Declaration of Fact and supporting Memorandum of Law, no later than
3:00 PM Eastern Standard Time on Monday, February 3, 2025.

4. Absence of Response as of February 4, 2025: As of the date of this Statement, February
4, 2025, Appellants-Movants have received no response, oppositional pleading,
Declaration of Fact, or supporting Memorandum of Law from Appellees-Respondents’
counsel, Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., or from Kilpatrick Townsend
& Stockton LLP or KTS Clients, in regard to the aforementioned electronic mail
communication and the proposed Joint Declaration.

5. Implied Consent of Appellees-Respondents: By virtue of Appellees-Respondents’

counsel’s failure to provide any oppositional response or challenge to the factual contents

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of the Joint Declaration by the clearly communicated deadline, Appellants-Movants
respectfully submit that Appellees-Respondents, including Kilpatrick Townsend &
Stockton LLP and its Unregistered Broker-Dealer clients, have impliedly consented to the
factual contents of the Joint Declaration and to its submission to this Honorable Court as a

Joint Declaration of Undisputed Material Facts.

Respectfully submitted,

/s/ Ulysses T. Ware
Ulysses T. Ware
Counsel for Appellants-Movants Ulysses T. Ware and Group Management

Dated: February 4, 2025

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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CERTIFICATION OF COUNSEL PURSUANT TO
BANKRUPTCY RULE 9011(b)1-4) AND 28 U.S.C. § 1927.

I, Ulysses T. Ware, counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management
Corp., and Wab Kadaba Esq. and J. Henry Walker, IV, Esq., counsel for Appellees-Respondents
Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer Clients, hereby jointly
certify to this Honorable Bankruptcy Court, pursuant to Rule 9011(b)(1-4) of the Federal Rules of
Bankruptcy Procedure and in furtherance of the spirit of 28 U.S.C. § 1927, as follows:

1. Joint Certification of Pleading: This Certification pertains to the attached pleading titled
“Joint Declaration of Undisputed Material Facts in Support of the Appellants’ requested
Reliefs taken from the Record before the Court” (the “Joint Declaration’’), submitted in
support of Appellants-Movants’ Rule 9014/12(h)(3) Notice of Appeal (Part 14-10) in the
above-captioned matter, and further relating to the Appellants-Movants’ Memorandum of
Law in Support of Rule 9014/12(h)(3) Notice of Appeal.

2. Rule 9011(b) Certification Regarding Factual Contentions: We, as undersigned
counsel, hereby jointly certify, to the best of our respective knowledge, information, and
belief, that the factual contentions presented in the attached Joint Declaration are warranted
by the evidentiary record before this Honorable Court, and comply with the requirements
of Bankruptcy Rule 9011(b)(1)-(4), specifically:

a. Rule 9011(b)(1) — Proper Purpose: The Joint Declaration is not being presented for
any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase
the cost of litigation. The Joint Declaration is presented in good faith to promote judicial
economy, expedite the resolution of threshold jurisdictional issues, and facilitate the just,
efficient, and lawful adjudication of this protracted and complex matter.

b. Rule 9011(b)(2) — Legal Contentions Warranted: While the Joint Declaration
primarily sets forth factual contentions, the underlying legal positions advanced by
Appellants-Movants in their Rule 9014/12(h)(3) Notice of Appeal and Memorandum of
Law, to which this Joint Declaration relates, are warranted by existing law, specifically
controlling Supreme Court and Second Circuit precedent regarding Article III standing,
subject matter jurisdiction, res judicata, collateral estoppel, and the void ab initio nature
of contracts executed by unregistered broker-dealers and predicated upon predatory null
and void ab initio, unenforceable criminally usurious loans, GX 1-4.

c, Rule 9011(b)(3) — Factual Contentions Evidentiary Support: The factual contentions
presented in the Joint Declaration are based on and supported by the evidentiary record
before this Honorable Court in the 03-93031 Bankruptcy Case and the related 02cv2219
(SDNY) Litigation, as explicitly referenced and cited within the Joint Declaration itself.

d. Rule 9011(b)(4) — Denials of Factual Contentions Warranted: To the extent the Joint
Declaration may implicitly or indirectly deny any factual contentions not explicitly

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addressed therein, such implicit denials are warranted on the evidence and are reasonably
based on a lack of information sufficient to form a belief as to the truth of the matter, or
are otherwise based on a good faith and reasonable interpretation of the available evidence.

3, 28 U.S.C. § 1927 Certification (Spirit of Promoting Judicial Efficiency): In the spirit
of promoting judicial efficiency and avoiding the unreasonable and vexatious
multiplication of proceedings, as contemplated by 28 U.S.C. § 1927, we further jointly
certify that the Joint Declaration is presented in a good faith and collaborative effort by all
parties to streamline the litigation, to focus the Court’s attention on dispositive threshold
jurisdictional issues, and to facilitate the just, efficient, and lawful resolution of this
protracted and complex matter, thereby avoiding further unnecessary and potentially
vexatious litigation.

This Certification is made in good faith, under penalty of perjury, and in compliance with the
requirements of Bankruptcy Rule 9011(b) and the spirit of 28 U.S.C. § 1927.

Respectfully certified, this 4" day of February 2025.

/s/ Ulysses T. Ware

Ulysses T. Ware

Counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management Corp.
The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260

Utware007@gmail.com

With implied consent pursuant to Bankr. Rule 9011(b)(1-4):

Counsel for Appellees-Respondents Kilpatrick Townsend & Stockton LLP and _ its
Unregistered Broker-Dealer Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

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Case No. 03-93031
United States Bankruptcy Court (12-17)
For the Northern District of Georgia
~ (Atlanta Division)

In re Group Management Corp., Chapter 11
(Part 14-17) re: The Parties' (Appellants' and Appellees') Consent Joint Declaration of Undisputed
Jurisdictional Material Facts in Support of the Appellants' requested Reliefs taken from the Record

before the Court. See Exhibits infra.

THE PARTIES’? JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I Ulysses T. Ware, on behalf of myself, the Chapter 11 Debtor, Group Management,
Appellants, and the Appellees, with implied consent, hereby this 4" day of February 2025, under
oath, subject to the penalty of perjury, having personal knowledge of the facts, pursuant to 28 USC
§ 1746 have made the Parties’ Joint Declaration of Undisputed Jurisdictional Facts, in Brooklyn,

NY, and state the following Jurisdictional Facts.

The following are declared as undisputed material facts, readily verifiable by reference to the
Record before this Honorable Bankruptcy Court in Jn re Group Management Corp., Case No. 03-
93031 (WLH) Chapter 11 (the “03-93031 Bankruptcy Case”) and the related proceedings in the
United States District Court for the Southern District of New York, Case No. 02cv2219 (SDNY)

(the “02cv2219 (SDNY) Litigation”). These facts are jointly submitted by Appellants-Movants

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Group Management Corp. and Ulysses T. Ware (“Appellants-Movants”) and Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer clients
(“Appellees-Respondents”) in support of the Appellants-Movants’ Rule 9014/12(h)(3) Notice of

Appeal (Part 14-10) and the reliefs requested therein.

1. On March 18, 2003, Group Management Corp. (“GPMT” or “Debtor”), a corporation
engaged in interstate commerce, filed a voluntary petition for relief under Chapter 11 of
the Bankruptcy Code, commencing the In re Group Management Corp., Case No. 03-
93031 (BEM) Bankruptcy Case in the United States Bankruptcy Court for the Northern
District of Georgia, Atlanta Division. This filing initiated the underlying bankruptcy
proceedings that are the subject of the present jurisdictional appeal.

2. On April 10, 2003, Kilpatrick Townsend & Stockton LLP (“KTS”), and attorneys Dennis
S. Meir, Esq., and John W. Mills, II, Esq., of that firm, filed a formal Entry of Appearance,
Docket Entry 11, in the 03-93031 Bankruptcy Case, entering their appearance as “Counsel”
for Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd.,
and Stonestreet Limited Partnership (collectively, “KTS Clients”). This document marked
the formal commencement of KTS Clients’ participation in the bankruptcy proceedings.

3. Prior to their entry of appearance in the 03-93031 Bankruptcy Case, KTS Clients were
plaintiffs in a related civil action, Case No. 02cv2219 (SDNY), filed in the United States
District Court for the Southern District of New York, against Group Management Corp.,
Ulysses T. Ware, and other defendants, asserting claims related to certain loan agreements

and convertible promissory notes, GX 1-4. This related litigation in the Southern District

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of New York, Case No. 02cv2219 (SDNY), preceded and gave rise to KTS Clients’
involvement in the 03-93031 Bankruptcy Case.

4, On December 20, 2007, in the 02cv2219 (SDNY) action, the Honorable Leonard B. Sand,
a Senior United States District Judge for the Southern District of New York, entered a Final

Judgment, Docket 90, granted a_voluntary dismissal with prejudice of the 02cv2219

(SDNY) action pursuant to Federal Rule of Civil Procedure 41(a)(2), concluding the
litigation in that forum. This Final Judgment terminated the 02cv2219 (SDNY) litigation
and adjudicated the claims asserted therein.

5. The Dec. 20, 2007, Rule 41(a)(2) voluntary dismissal with prejudice in the 02cv2219

(SDNY) action, formalized in Judge Sand’s Docket 90 Final Judgment, was entered after

the expiration of the applicable New York statute of limitations on all claims asserted in

the complaint, a fact that is evident from the procedural history and timing of the dismissal
relative to the commencement of the 02cv2219 (SDNY) litigation. The expiration of the
statute of limitations prior to the voluntary dismissal is a material fact within the 02cv2219
(SDNY) record—a final judgment on the merits for the Chapter 11 Debtor, Group
Management and Ulysses T. Ware, Esq. (the “Final Judgment Prevailing Parties”).

6. The predatory null anit void ab initio unlawful debt loan agreements underlying KTS
Clients’ claims in the 03-93031 Bankruptcy Case, specifically Exhibits GX 1, GX 2, GX

3, and GX 4, which are part of the evidentiary record in the Bankruptcy Court, explicitly

stipulate annual interest rates exceeding 2000% per annum, as clearly stated within the

four corners of those loan documents. These exorbitant interest rates are facially apparent

from the loan agreements themselves.

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7. The Office of the United States Trustee, Region 21, an agency of the United States
Department of Justice charged with overseeing bankruptcy administration, filed
submissions in the 03-93031 Bankruptcy Case, specifically Docket Entry 6 (entry of
appearance), and Dkt. 13 a Motion to Dismiss, and pleading in support of dismissal, both
of which relate to the administration and potential dismissal of the Chapter 11 case. These
filings by the U.S. Trustee form part of the official record of the 03-93031 Bankruptcy
Case.

8. Docket Entry 11 in the 03-93031 Bankruptcy Case, the Entry of Appearance filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, identifies the clients as
Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd., and
Stonestreet Limited Partnership, and is signed by attorneys Dennis S. Meir and John W.
Mills, III, of Kilpatrick Townsend & Stockton LLP, establishing their formal
representation of KTS Clients. This document is the initial pleading establishing KTS
Clients' presence in the Bankruptcy Court and the initiation of the conspiracy to commit
bankruptcy fraud—the first racketeering overt and predicate act in 03-93031.

9. Docket Entry 15 in the 03-93031 Bankruptcy Case, the Emergency Motion to Dismiss or,
in the Alternative, for Relief from the Automatic Stay, filed by Kilpatrick Townsend &
Stockton LLP on behalf of KTS Clients, explicitly seeks affirmative “redressable” relief
from the Bankruptcy Court, requesting either dismissal of the entire Chapter 11 case or,
alternatively, relief from the automatic stay to allow KTS Clients to pursue remedies
outside of bankruptcy—that is, criminal usury unlawful debt collection regarding GX 1-4,

in violation of 18 USC §1961(6)(B). This motion demonstrates KTS Clients' Hobbs Act

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racketeering active pursuit—overt and predicate acts of racketeering, of their claims within
the Bankruptcy Court—that is, Hobbs Act 18 USC §§ 1951(a) and 1961(6)(B) unlawful
debt collection activities.

10. Docket Entry 16 in the 03-93031 Bankruptcy Case, the Brief in Support of the Emergency
Motion to Dismiss or, in the Alternative, for Relief from the Automatic Stay filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, provides the detailed legal
and factual arguments underpinning KTS Clients’ criminal usury unlawful debt collection
motion, further elaborating on their position and requested ultra vires relief before the
Bankruptcy Court. This brief is a substantive legal document filed in support of KTS
Clients' unlawful debt, and criminal usury claims.

11. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting as legal counsel
for KTS Clients, fraudulently, repeatedly, and affirmatively represented KTS Clients to the
Bankruptcy Court as “creditors of the Debtor,” asserting their purported status as legitimate
claimants in the Chapter 11 proceedings. This representation of creditor status forms a
central basis for KTS Clients’ arguments in Dkts. 15 and 16—overt and predicate acts of
racketeering activities.

12. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, again acting as legal
counsel for KTS Clients, explicitly represented to the Bankruptcy Court that KTS Clients’
claims are based on “criminal usury convertible promissory notes,” (paraphrased) directly
acknowledging the criminal usury nature of the underlying debt instruments. This

representation is a binding judicial factual assertion made by KTS in court filings.

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13. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, continuing to act as
legal counsel for KTS Clients, further represented to the Bankruptcy Court that KTS
Clients’ claims are based on “criminal usury contracts,” (paraphrased) GX 1-4, reiterating
the characterization of the loan agreements as criminally usurious. This representation is a
factual assertion made by KTS in court filings.

14. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting in their capacity
as legal counsel for KTS Clients, explicitly and implicitly represented to the Bankruptcy
Court that KTS Clients’ claims are part of a “Hobbs Act...conspiracy to commit
bankruptcy fraud,” directly admitting to the alleged criminal and conspiratorial nature of
the underlying debt collection efforts. This representation is a factual assertion made by
KTS in court filings, acknowledging potential criminal conduct.

15. Marcia E. Asquith, Executive Vice President, Board and External Relations, of the
Financial Industry Regulatory Authority (“FINRA”), a congressionally authorized self-
regulatory organization, issued a formal Certification of No FINRA Business Records,
dated May 17, 2021, based upon a diligent search of FINRA’s official records and
databases. This eatifiesden is a documented finding by FINRA.

16. FINRA’s May 17, 2021, Certification of No FINRA Business Records, a formal regulatory
determination, unequivocally confirms that FINRA has no record of Alpha Capital, AG,
Stonestreet, L.P., Markham Holdings, Ltd., Amro International, S.A., and LH Financial
Services being registered with FINRA as broker-dealers. This absence of registration is

explicitly certified by FINRA.

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17. Chief Judge Barbara Ellis-Munro, Chief Judge of the United States Bankruptcy Court for
the Northern District of Georgia, Atlanta Division, issued a letter, Docket Entry 278, dated
January 27, 2025, in the 03-93031 Bankruptcy Case, which is part of the official record of
the proceedings. This letter is a formal communication from the Chief Judge in the case.

18. In her Docket Entry 278 letter, Chief Judge Ellis-Munro explicitly acknowledged receiving

“over one hundred emails and attachments” from Mr. Ulysses T. Ware since “May 29,
2024,” directly referencing the jurisdictional challenges raised by Mr. Ware. This

acknowledgment is a direct admission, confession, and self-incrimination of numerous

federal felony offenses within a formal court document.

19, Docket Entry 278 explicitly states that Chief Judge Ellis-Munro “had not, was not, and had
no intentions of docketing or filing Mr. Ware’s and/or the Chapter 11 Debtor’s challenges
to the Article III standing of KTS’ unregistered broker-dealer clients,” (paraphrased)
despite acknowledging receipt of numerous pleadings and emails raising these issues. This
statement is an explicit declaration, judicial admission, and confession within a formal
court document.

20. Docket Entry 278 explicitly references and reiterates findings contained in ultra vires, moot
prior orders entered by now-retired Judge Wendy L. Hagenau, specifically identifying
Docket Entries 256 and 275 as orders being reaffirmed, accorded preclusive effect, and
relied upon. This reference to prior orders is explicitly stated in Dkt. 278.

21. Docket Entry 278 explicitly states, in its concluding sentence, “This letter will be docketed.
The case remains closed,” indicating Chief Judge Ellis-Munro’s fraudulent intention to

maintain the closure of the 03-93031 Bankruptcy Case—an overt and predicate act of

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racketeering activity, conspiracy to obstruct justice, despite the pending Article III
jurisdictional appeal (Part 14-10). This statement is an explicit declaration of the Court's
fraudulent position within Dkt. 278.

22. Docket Entry 256, referenced in Docket Entry 278, is an ultra vires, null and void ab initio
purported order issued by former Chief Judge Wendy L. Hagenau in the 03-93031
Bankruptcy Case, addressing Mr. Ware’s email communications with the Court and
imposing certain restrictions related to those communications. This description accurately
identifies Dkt. 256.

23. Docket Entry 275, also referenced in Docket Entry 278, is an ultra vires, null and void ab
initio purported order issued by former Chief Judge Wendy L. Hagenau in the 03-9303 1
Bankruptcy Case, restricting Mr. Ware’s ability to file documents and pleadings in the 03-
93031 Bankruptcy Case. This description accurately identifies Dkt. 275.

24, Docket Entry (Part 14-10) in the 03-93031 Bankruptcy Case is the Notice of Appeal filed
by Appellants-Movants Ulysses T. Ware and Group Management Corp. on January 30,
2025, formally initiating the present jurisdictional appeal. This docket entry is the formal
Notice of Appeal in the case.

25. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
subject matter jurisdiction of the Bankruptcy Court over claims predicated upon predatory
criminal usury debts, GX 1-4, as documented in the Notice of Appeal itself. This

jurisdictional challenge is a central argument of the Notice of Appeal.

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26. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
standing of KTS Clients as unregistered broker-dealers, as documented in the Notice of
Appeal itself. This standing challenge is a central argument of the Notice of Appeal.

27. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly objects to the premature
preclusive effect afforded to prior orders, Docket Entries 256 and 275, absent affirmed
jurisdiction in the 03-93031 Bankruptcy Case, as documented in the Notice of Appeal
itself. This objection to preclusive effect is a central argument of the Notice of Appeal.

28. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) are predicated upon controlling
Supreme Court precedent, including Steel Co. v. Citizens for a Better Environment, 523
U.S. 83 (1998), and Great Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449 (1900).
These Supreme Court precedents are central to Appellants-Movants' legal arguments.

29. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) rely upon the void ab initio nature of
contracts, GX 1-4, and GX 5, executed and performed by unregistered broker-dealers under
15 U.S.C. § 78cc(b) and the void ab initio nature of criminally usurious contracts under
New York Penal Law § 190.40. These legal principles form the core legal framework of
Appellants-Movants' arguments,

30, Appellants-Movants seek, as primary relief in their Notice of Appeal (Part 14-10), a “Sua
Sponte” Threshold Determination by the Bankruptcy Court of Article II] Subject Matter

Jurisdiction and Standing of KTS Clients, Unregistered Broker-Dealers, as explicitly

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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requested in the Notice of Appeal itself. This threshold jurisdictional determination is the
primary relief sought by Appellants-Movants.

31. Voluntary Judicial Action by Judge Sand: Rule 41(a)(2) Dismissal: The December 20,
2007, Final Judgment, Docket 90 in the 02cv2219 (SDNY) litigation, was effectuated by a
voluntary judicial action of the Honorable Leonard B. Sand, United States District Judge,
through a dismissal with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2),
indicating a deliberate and considered judicial act by Judge Sand. This dismissal was not
automatic or ministerial, but a deliberate action by the presiding judge.

32. Voluntary Dismissal After Statute of Limitations Expired: Finality Emphasized: The
voluntary dismissal with prejudice, formalized in Judge Sand’s Docket 90 Final Judgment,
was strategically entered by KTS Clients after the expiration of the applicable New York
statute of limitations on all claims asserted in their 02cv2219 (SDNY) complaint, a
temporal fact that legally underscores the final and conclusive nature of the dismissal as a
judgment on the merits. The timing of the dismissal, post-statute of limitations, is a legally
significant and undisputed fact.

33. Rule 41(a)(2) Voluntary Dismissal as Final Judgment on the Merits by Operation of
Law: As a matter of established federal procedural law, a voluntary dismissal with
prejudice under Federal Rule of Civil Procedure 41(a)(2), when entered after the statute of
limitations has run on all claims in the complaint, operates ipso facto as a final judgment
on the merits in favor of the defendants, Group Management Corp. and Ulysses T. Ware,
in the 02cv2219 (SDNY) action. This is a direct legal consequence dictated by procedural

rules and precedents.

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34. Final Judgment Prevailing Party Status Conferred on Group Management and
Ulysses T. Ware by Operation of Law: By operation of law and the definitive legal effect
of a Rule 41(a)(2) voluntary denies with prejudice after the statute of limitations has
expired, the December 20, 2007, Final Judgment, Docket 90 in 02cv2219 (SDNY),
unequivocally conferred Final Judgment Prevailing Party status upon the defendants in that
action, namely Group Management Corp. and Ulysses T. Ware. This prevailing party status
is a direct legal consequence of the judgment.

35. December 20, 2007, Final Judgment as Res Judicata Bar to Relitigation by KTS
Clients: The December 20, 2007, Rule 41(a)(2) voluntary final judgment, Docket 90 in
02cv2219 (SDNY), entered in favor of Group Management Corp. and Ulysses T. Ware,
operates as res judicata (claim preclusion), barring KTS Clients from relitigating or
reasserting any claims arising from the same underlying transactions and subject matter in
any subsequent proceeding, including the 03-93031 Bankruptcy Case, before this
Honorable Bankruptcy Court. The preclusive effect of the Final Judgment is a direct legal
consequence of res judicata.

36. Chief Judge Ellis-Monro’s Refusal to Docket Jurisdictional Challenges (Dkt. 278): In
her Docket Entry 278 letter, dated January 27, 2025, Chief Judge Barbara Ellis-Monro
explicitly stated her refusal to docket or file any of Mr. Ware’s pleadings and emails
submitted since May 29, 2024, which directly and repeatedly raised the issue of Article III
subject matter jurisdiction and standing in the 03-93031 Bankruptcy Case. This refusal to

docket is explicitly stated in Dkt. 278.

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37. No Sua Sponte Jurisdictional Inquiry Conducted Since May 29, 2024: Despite
acknowledging receipt of “over one hundred emails and attachments” from Mr, Ware since

May 29, 2024, raising substantial jurisdictional challenges and triggering the Bankruptcy

Court’s sua sponte duty under Great Southern Fire Proof Hotel Co., the Bankruptcy

Court, under_the corrupt direction of Chief Judge Ellis-Monro, has not initiated or

conducted any formal or sua sponte inquiry to affirmatively determine Article III subject
matter jurisdiction and standing in the 03-93031 Bankruptcy Case from May 29, 2024, to
the present date. This absence of a sua sponte jurisdictional inquiry is evident from the
docket record.

38. Chief Judge Ellis-Monro’s Actual and Constructive Awareness of FINRA
Certification and Brady Implications: As of “May 29, 2024,” and continuously

thereafter, Chief Judge Ellis-Monro has egregiously breached and knowingly violated

numerous Canons of the Code of Conduct for Federal Judges; she has been demonstrably
aware of the existence of FINRA’s May 17, 2021, Unregistered Broker-Dealer
Certification (Exhibit 3), and she has knowingly, deliberately, and intentionally as overt
and predicate acts of conspiracy to obstruct justice, suppressed, concealed, covered up, and
hidden—civil and criminal contempt of Sweet, J.’s Aug. 10, 2007, Brady court order, Ex.

4, infra, the dispositive implications of this binding regulatory finding as actual innocent

Brady exculpatory evidence in the related criminal matter U.S. v. Ware, 04cr1224

(SDNY). Judge Ellis-Monro confessed in Dkt. 278 of her awareness of the actual innocent
Brady exculpatory evidence due to Mr. Ware’s repeated submissions and explicit

references to these materials in his pleadings and emails to the Court. This actual and

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implicit awareness of the actual innocent Brady implications of FINRA’s unregistered

broker-dealer certification _is acknowledged in _Dkt. 278's reference to Mr. Ware's

voluminous submissions.

RESPECTFULLY SUBMITTED,

For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 4, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

ce: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

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State Bar of Georgia, Office of the General Counsel (William D. NeSmith, III) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Certificate of Service

I Ulysses T. Ware certify that I have this 4" February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for immediate filing
and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)’ and 5005(b)(1) with

the U.S. Trustee. !°

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, HI)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)!!

William D. NeSmith, II, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, II]--statutory agents in fact); and

° With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

'0 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

" Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/s/ Ulysses T. Ware

February 4, 2025

End of document

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Exhibit 8—(RICO Overt Act #3)—“a pattern of racketeering activities”
Atlanta, GA bankruptcy court’s employees willful resistance to the
Court Orders.

P. Bt

P. 66
Via Gartified Mail #7 7002 1680 0065 L206 O748
Uivedes Thaomaa Ware
Reg. Ro, $6218~019
Atlanta Prison Gamp
P.O, Box 150160.
“Arlanta, GA 30315

July 30, 2012

: The. Houbrable. Joyce Nihary
‘Chief Judga

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Por the Northern Diatrier of dictate
U.8, Courthouse |
73 Spring St., SW.
Atlanta,

ta: ra Seoe Siacu aman Corp, 03-9303 f-eam ‘emaa) ene qogi"y
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t 41s.in regard to the above pleadiuge, and tha Juiyo255 A012 3
potent: Me aes ‘Theeas; included iu the 07/90/2012 Emergency Motion ae Ex. #1,”

Ly First, i am réquesting that the enclosed pleading be processed according * to the:
_@mergency procedures of the Court, where time fs of the essenca, and the petiefoner
Mx, Ware de eurrentiy euffering irreparable haem, and will ¢centinue eo suffer
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forth in the 67/30/2012 Emergency Motion.

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Siesond, Judge Bibary (as an officer of the court) you hava 4. duty, ‘ot “candor end
A. ftduetary duty co the orderly adminiutration of jJuation in the Coure to process
ali pleadings submitted to the Court tn 0 timely and orderly wanuer, which M. Regina —
Thomas did not do with respect to the 07/12/2012 Ematgency Motion, thus
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aes - dudue Sthary, ‘an Chie€ fudge of the \Courty: pursuant to Bankr. Rote. $005 a), the saree
aneloged pleadings are being aubmitted to your attention, due €6 the fact thac M.
Regina Thomas (Clerk), ia oames as a respondent, and thus has a conflict of interest
regarding this matter,

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dhe paesetoner Me. Ware hao requested & relief date of 08/07/2014, aid tow. the”

enclosed pleadings ¢o the preceseed on an } ametgeucy basis.

ai there are any question pleases contact the underuigned on or before cloge ef
business on 06/02/2012, else T will assume chat the pleadings will be timely processed.
on 80 emergency basis,

Sincerely,

Al Dus

Wiveses Whomag Ware, pro se
enclosurast BIEP/ BBY g me rweney Motion, Sup. Appx. 1.0, Exhibiec #1,

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Tuesday, February 18, 2025

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Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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Exhibit 8-1--(RICO Overt Act #4)

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TN THE UONTTED STATES BANKRUPTCY Couxt
FOR THE NORTHERS DISTRICT OF GHONGLA
ATLANTA DIVISION

ae:

PETITIONER: cLTssee THOMAS WARE irnect iM INTEREST) «

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James Olas, 0.8, Marshal (#2) UNU, U.S. Matehat (#3) LAU, OS, Marghel tea) ‘tay,
Thane J. McCarthy. Andrews S Eruth, LLP, Thomas ¥. Siblow. Frosausar & Koae,. LLP,
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Via Carrified Mail #; 7003 1660 0605 1206 0746
Ulysses Thomaa Ware :
Reg, No, §6218-019
Atlante Pridgen Camp
P.G, Box 140160
‘Atlanta, GA 30318

4 : duly 40, 2012
Tha Honorable Joyce Bihary

Chiat Judge
U.S, Bankruptsy Court

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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-2--(RICO Overt Act #5)

United StaresBagkruptey Cousr ) :
Nowhern et or of Georgi fae
1290 United States Eres :

75 Spring Street, 8.7,
Adanta, Georgla 30303-3367

(404) 215-1008

January 11, 2012

Reg. Wo, 56218-019
Atlanta Prison Camp
P.O. Box 150160

Atlanta, GA 30315

Dear Mr. Ware:

pee Copies of pleadings yout finiled to Judge Murphy on or about December 21,
2011, ‘were referred to me. The pleadings do not appear to relate to any active bankruptey

ease before Judge Murphy and your supose s¢ in sending copies of the pleadings is unclear.

The pleadings will not be shown to Judge Murphy and will not be made a part of
bankruptcy case file), [f you wish to communicate with the court concerming the
above-referenced | casé, you should do so by means of an appropriate motion or
application that complies with the Bankruptcy Code, the Bankruptcy Riles and the Local
‘Rules of Practice for the United States Bankruptcy Court for dre Northern District of

Georgia.
“Very truly yours, ae
R fi back

Law clerk to
Judge Margaret Hi, Murphy

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Tuesday, February 18, 2025
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Exhibit 8-3--(RICO Overt Act #6)

Vatted StarePaaMruptey Court : P74
Northera District of Georgia
1290 United States Courthouse
75 Spring Sie, &.W,
Atlanta, Georgia SUI0$-3I6?

Chambers of
Y Mast Me Miumphy
fudge .

(#04) 218-1008

f December 28, 2611

Hysses Thomas Ware->
Res, Wo. $6218-019
“Atlanta Prison Camp
POBex 150160
Atlanta, GA 40315

Re;

ae Capital, AG Atlanta, GA. Lidaation

Dear Mr. Ware:

‘ _Xeur letter ante December 10,208) was aE gomé. ‘The losal niles, BLR 90032
provides:

Gaasuusloanine to a Bankrupicy Judge regarding &@ request for an order or other

_ relief (including a request for an extension of time) or matters that mre or may be
in dispute, or communications of facts or femal iesues regarding « particular case,

“ proceeding, or matter pending before that Bankruptcy fudge, shali be by written
motion, pleading. or other paper, and not by letter. Ciriinarily, adetter seeVing
such iastion Will not be treated ‘as a motion, will aot be considered by the
Bankruptcy Court, arid will not be fled with whe Bankruptcy Clerk, Parties and
their counsel shall not eerie the  Benleupicy Court with copies. of
dence among ther Rare or may be in dispute.

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file, Ifyou wish to communicate with the curt Gonderiing the above-refezenced dase, you should /
do so by means Of an appropriate motion or application which complies with the Bankrupicy
Code, the Bankruptcy Rules and the Local Rulas OF if Practice for the United States Bankruptcy

Court for the Benham: District of Georgia.
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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-4--(RICO Overt Act #7)

P81 P81

United States Bankruptcy Court
Northern District of Georgia
1340 U.S, COURTHOUSE
75 SPRING STREET $.W,
ATLANTA, GEORGIA 30303.

July 25, 2012

Mr. Ulysses Thomas Ware
‘Reg. No. 56 $6218-019
Atlanta Prison Camp

P.O. Box 156160.

Afianta, GA 30315

peieRBoest Documents received by United States BankrupteyConrt 7
Dear Mr. Ware:

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Riese in the Bankruptcy Court for the Norther District of Th
to which you make reference in your letter, Groub Manigement Com, 03-93031, was

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-5--(RICO Overt Act #8)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
1471 United States Courthouse
75 Ted Turner Drive, $.W.

Atlanta, Georgia 30303

Chambers of
WENDY L. HAGENAU
Chief Judge

June 9, 2021

Mr. Ulysses T. Ware
123 Linden. Blvd., Suite 9-L
Brooklyn, NY 11226

Dear Mr. Ware:
1am in receipt of your letter of April 22, 2021. The following responds to your requests.

1. ‘You asked forall docketed and undocketed orders and pleadings in the referenced case. In my
letter to you of April 5, 2021, | reminded you that the Court had returned all non-docketed items
to you previously. A list of those non-docketed items was included. My April 5,2021 letter also
included a certified copy of the docket. By letter dated February 2, 2017, the Clerk of Court
provided you a copy of each pleading, order and notice entered in the case no. 03-93031, Group
Management Corp, Also included with that correspondence was a copy of the claims register
and the three claims filed in the above case, one claim filed by Boise Cascade Office Products
and two claims filed by Business Wire.

2. Inher letter of February 2, 2017, the Clerk responded to your request for all transcripts in the
Group Management Corp. case. The Clerk informed you that, “This case file was sent to
archives as part of the normal process in 2010, To have-a file retrieved from archives, the
Judicial Conference of the United States has established a retrieval tee of $64. I cannot confirm
the existence of any iranscripts in this file without the file retrieval. If you would like this file
ordered, please remit the required fee by money order or cashier's check made payable to Clerk,
United States Bankruptcy Court.” After your letter of April 22, 2021, we requested and obtained
the transcripts which is why the response to your letter was delayed. Copies of the two
transcripts received are enclosed and have been added to the docket of case no. 03-93031 at
entries 41] and 42,

3. You asked for the entry of an administrative order directing the Clerk's office to enter and certify
all orders in the case and to note and make available all transcripts, Such an order is not
necessary or appropriate, All requested transcripts have been provided to you, Enclosed is a
certified copy ofthe docket which reflects your correspondence beginning March 4, 2021,

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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Exhibit

responses from the Court, and other documents submitted through June 2, 2021 (docket entries 34-40).
While copies have previously been provided to you, certified copies in accordance with BR 5006 of the
otders entered at docket entries 3,.10, 18, 19, 26, 28, 32 und 33 are enclosed.

A copy of your letter of April 21, 2021, and this response are “docketed.” The case remains closed,

Very truly yours,

A-Naganan

Wendy L. Hagénau
Chief United States Bankruptey Judge

Enclosures

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(13-6) (Part 15-6) re; The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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A-la—murder for hire order (02cv2219)(SDNY), Sand, J. authorized
the U.S. Marshals (SDNY) to use deadly force to collect the criminal
usury unlawful debts, GX 1, GX 2, GX 3, and GX 4, cf., McMahon’s Dkt.
120 (02cv2219 (SDNY), see Ex. 1, supra.

23-865/23-869

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Souther Gisttict of New York ; ca

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‘Alpha Capital Akticongesclischatt, Amro
International, S.A.. Markham: Holdings, Ltd.
and Stonestreet Limited Partnership,

Unregistered broker-dealers

Plaimitts, mae
62 Civ, A219 LBS)
Group Manager a ergs. fe ty known : ;
as IVG Corm., formerly known os Internet x omer
Venture Group, Ine., Elorian Landers and 4

Secky Landers,

sree Si iets eden tenon

paw i Actual Innocent Brady exculpatory evidence.

Hobbs Act crime of viclent to collect GX 4:4, Ihe RICO criminal
usury unlawiul debts. t
Whereas by order dared March 17, 2003 this Cour, ordered the incarceration of Thomas

Ware and Barty Corker for thelr contentpt of this Court’s order and judgment of November 25.
Scone

2002 until their contempt was purged by their honoring all of the conversion requests duly

: ; The Hobbs Act extortion conspiracy overt ect to issue bogus, fraudutent,

submined by Plaintiffs, anand itegal Rule 144(k) legal opinions to the unregistered broker-deaicrs
and Section 2(a)(11) Statutory underwriters in violation of SEC Ral.
93-7190 n. 17 (11995). and U.S. v. Wolfson. 405 F.20 779 (4d Cir. 1968)

Whereas the US, Marshals Service has mequevied that such onder contain additional

janguage io authorize the U.S. Marshals to take such action as may be required w carry out hte ;

order's ieims and provisions; Sand ivstructed the U.S. Marshats they were authorized to use deadly |
force if secessary, up to end inchiding murder, if necessary to collect :
the RICO criminal usury unlawiul debts, GX 1-4—a Hebbs Act : ;
i 5% extortion, robbery, and kidnapping bonspiracy orchestrated by mie
Now, thenefore, itis Conard B Sand, David N. Kelly, Thomes W. Thrash, Jr, the SEC, ihe =
: USAD (SONY), Ari Rabinowitz, Peter W. Hall, Rober A. Katzman, ‘
Amalya L. Kearse, Robert S. Sack. Michel J. Garcia, Aloxander 1H. -

Southwell, KTS, Kenneth A. 7ater, Esq. Alpha Capital, AG, William 1.
Pauley. UL Dennis S. Meir, John W. Mills, 11 the Atl, GA benkrupicy f
court's ernployees. and athers known ahd unknoven, collectively, (he ~ =
Unindicted Coconspirators"). ‘

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Thursday, February 29, 2024
Appx 66-3 and Memorandum (in re Sealed Cases, 185 F.3d 687 (D. C. Cir. 1999) (Garland, J.) analysis.

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A-1b (con’t)—02cv2219 (SDNY), Sand, J. (deceased).

ene {oo
authorized individuals impersonating U.S. Marshals on Sept. 1 vin’

"y Esaryrermoner Appellant, Ulysses T. Ware to collect RICO-—————
ul'd tS GX, GX 2, GX 3, and GX4.

Orilered that the Court shall issue a warrant for the arrest of Thomas Ware and Barry
Cokes and they shall stond committed in the custody of the US. Marshal in the district in which
they are arrested until the contempt is purged by honoring all of the conversion requests duly
sleet

sideitied by Plaintiffs; aiditistuther Flobbs Act kidnapping to collect an unlawful
debt.

Ordered that the U.S. Marshal for the Suuthem Disirict of New York take all necessary

measures to affect service ant enforcement of the order in any district of the United States where

Thomas Ware and Barry Corker maybe found; and it is further

Sand on behalf of the Hobbs Act extortion criminal enterprise in Basence authorized the US. Marshals if
necesary to murder Ulysses T Ware, Esq. and Barry Corker to collect the RICO 18 USC 1961(6){B)

cree en untae tla lia ee od Marshals Service, called upon to execute the terms of this order,

lb perniued wo we the degre of fore ocosnry to aret and detain Thomas Ware nd
Barry Corker, and will be peraiied to enter Rely ita te meetnione of Themes Vine, sand’

we

US...

On Sept. 7, 2004, in All, GA pursuant to the Hobhs Act kidnapping, extortion, and fobbary order, Appx. 34+
1, se Apps. 92-1, the US. Marshals (NDGA) broke into the law office of Ulysses T. Ware, Esq. with guns
; draws, atid demanded thal Mr. Ware” ... giveus those stocks and those opinions right naw _. if you dot
Judge Theash is waiting for us in the courthouse and you are going to jail lotlay do you understand that...

Mr. Ware requdsied lo sea an arrest warrant, a search waltant or a court order and was told, “_..we don't
have that you are coming with ws if you don't give us the stocks and opinions right now is thal clear?”

Mr, Ware was handculfed, pushed around, and tiken outside the 107 Marietta St. building and thrown in
the back of a waiting cat and taken to the Federal courthouse at 75 Spring St, Allanta, GA and was then
taken to a courtroom where District Judge Thomas W. Thrash, Je. was waning, whe did not have an arrest
warrant, a search warrant of any court orcer that authorized Mr. Ware's arrest. Nevertheless, Judge —
Thrash imposed a $256,000 ransom ge) bail) and detained (kicnapped) Mr. Ware in jail until the ransom
vias posted by Mr. Ware.

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Legal Analysis—Bankruptcy Courts have authority to enter civil
contempt orders per the Second Circuit’s precedents.

Second Circuit: Bankruptcy Courts Have Inherent Authority to Impose Civil Contempt Sanctions

By Jones Day
Feb 6, 2024

Because bankruptcy courts were created by Congress rather than under Article III of
the U.S. Constitution, there is a disagreement over whether bankruptcy courts, like
other federal courts, have “inherent authority" to impose sanctions for civil contempt
on parties that refuse to comply with their orders. The U.S. Court of Appeals for the
Second Circuit revisited this debate in In re Markus, 78 F.4th 554 (2nd Cir. 2023). The ©
court of appeals affirmed a bankruptcy court decision imposing sanctions on a chapter —
1.5 debtor's lawyer who repeatedly flouted the court's discovery orders and awarding
attorneys’ fees to the debtor’s foreign representative incurred in bringing a motion for
sanctions.

In so ruling, the Second Circuit reaffirmed its earlier decisions concluding that a
bankruptcy court has the inherent authority to impose civil sanctions for contempt.
However, the Second Circuit expanded the scope of that inherent authority to include
punitive civil contempt sanctions in an amount greater than it had approved in its
previous rulings. According to the Second Circuit, “we hold that a bankruptcy court's
inherent sanctioning authority includes the power to impose civil contempt sanctions
in non-nominal amounts to pompenaale an injured party and coerce future compliance
with the court’s orders."

Contempt Power of Federal Courts

U.S. federal courts have “contempt power" to ensure that litigants comply with laws
and respect the courts. When parties refuse to comply with court orders or disrespect
the judicial process, courts have long used punishment (and the threat of punishment)
in the form of contempt to compel compliance.

The source of a federal court's power to punish for contempt is uncertain. Some courts ©
and commentators have found the power to be implied from the "judicial Power of the
United States," which Section 1 of Article III of the U.S. Constitution vests in the U.S.
Supreme Court and lower courts created by Congress. See Ex parte Robinson, 86 U.S.
(19 Wall.) 505, 510 (1874) ("The power to punish for contempts is inherent in all
courts...."); Gompers v. Bucks Stove & Range Co., 221 U.S, 418, 450 (1911) ("[T]he
power of courts to punish for contempts is a necessary and integral part of the

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independence of the judiciary, and is absolutely essential to the performance of the
duties imposed on them by law.... If a party can make himself a judge of the validity of .
orders which have been issued, and by his own act of disobedience set them aside,
then are the courts impotent, and what the Constitution now fittingly calls the ‘judicial
power of the United States' would be a mere mockery."); Robert J, Pushaw, Jr., The
Inherent Powers of Federal Courts and the Structural Constitution, 86 lowa L. Rev. 735,
741-42 (2004) (stating that the power to sanction is an "implied indispensable power"
of courts under Article III).

Others have expressed the view that contempt power was not intended to be
encompassed in the "judicial Power" vested in federal courts by the

Constitution. See, e.g., Green v. United States, 356 U.S. 165, 193 (1958) (Black, J.,
dissenting) (characterizing summary contempt as "an anomaly in the law"); Ronald
Goldfarb, The History of the Contempt Power, 1961 Wash. U. L.Q. 1, 2 (arguing that
contempt power appears to be “violative of basic philosophical approaches to the
relations between government bodies and people").

Contempt can be either criminal or civil. Criminal contempt ts designed to vindicate the
authority of the court by punishing a litigant who has defied the court, whereas civil
contempt is designed to preserve and enforce compliance with court orders and to
compensate injured parties for losses sustained from noncompliance, See Downey v.
Clauder, 30 F.3d 681, 685 (6th Cir. 1994).

Addressing "contempts," 18 U.S.C. § 401 of the U.S. Code (Title Eighteen governs
"Crimes and Criminal Procedure") provides as follows:

A court of the United States shall have power to punish by fine or imprisonment, or
both, at its discretion, such contempt of its authority, and none other, as—

(1) Misbehavior of any person in its presence or so near thereto as to obstruct the
administration of justice;

(2) Misbehavior of any of its officers in their official transactions,

(3) Disobedience or resistance to its lawful writ, process, order, rule, decree, or
command. :

18 U.S.C. § 401. In addition, Rule 42 of the Federal Rules of Criminal Procedure
provides that "[alny person who commits criminal contempt may be punished for that
contempt after prosecution on notice." Fed. R. Crim. P. 42.

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With respect to civil contempt, Rule 70 of the Federal Rules of Civil Procedure states
that if a party refuses "to perform any ... specific act [directed by the court] .., within
the time specified,” the court “may also hold the disobedient party in contempt.” Fed.
R. Civ, P. 70,

In addition, if a party fails to comply with a subpoena issued in connection with
discovery, Rule 45 of the Federal Rules of Civil Procedure provides that "[t]he court for
the district where compliance is required—and also, after a motion is transferred, the
issuing court—may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena or an order related to it. Fed. R. Civ. P. 45(g).

Aside from constitutional, statutory, or regulatory authority, federal courts also have
"inherent authority” to enforce compliance with their directives by means of civil
contempt. See Int'l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 831
(1994): Fuery v. City of Chicago, 900 F.3d 450, 463 (7th Cir. 2018); EEOC v. Guardian
Pools, Inc., 828 F.2d 1507, 1516 (11th Cir. 1987).

Until the U.S. Supreme Court's ruling in Taggart v. Lorenzen, 139 S. Ct. 1795 (2019)
(discussed below), it was generally recognized that a federal court's inherent power to
hold a litigant in civil contempt could be exercised only if: (i) the order with which the
litigant allegedly failed to comply is clear and unambiguous; (ii) proof of
honcompliance is clear and convincing; and (iii) the litigant fails to attempt compliance
diligently and in a reasonable way. See King v. Allied Vision, Ltd,, 65 F.3d 1051, 1058
(2d Cir, 1995); Monsanto Co. v. Haskel Trading, Inc., 13 F. Supp.2d 349, 363 (E.D.N.Y.
1998). "Clear and unambiguous" means that the court's order or directive must enable
the litigant "to ascertain from the four corners of the order precisely what acts are
forbidden." Monsanto, 13 F. Supp. 2d at 363. "In the context of civil contempt, the
clear and convincing standard requires a quantum of proof adequate to demonstrate
‘reasonable certainty’ that.a violation occurred." Levin v. Tiber Holding Corp., 277 F.3d
243, 250 (2d Cir. 2002) (citation omitted).

Do Bankruptcy Courts Have Contempt Power?

Even though bankruptcy courts were created by Congress under Article I of the
Constitution (and are now "units" of federal district courts), rather than as part of the
judiciary branch under Article III, most courts have determined that bankruptcy
courts, like other federal courts, have inherent civil contempt power. See In re Sanchez,
941 F.3d 625, 627-28 (2d Cir. 2019) ("As our sister circuits have explained, inherent
sanctioning powers are not contingent on Article III, but rather are, as their name
suggests, inherent in the nature of federal courts as institutions charged with judicial

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functions. We therefore hold that bankruptcy courts, like Article III courts, possess
inherent sanctioning powers."); Alderwoods Grp., Inc. v. Garcia, 682 F.3d 958, 966
n.18 (11th Cir. 2012); see generally Collier on Bankruptcy ("Collier") | 105.02[1][a]
(16th ed. 2023) (stating that "[t]he majority of cases conclude that all courts, whether
created pursuant to Article I or Article III of the Constitution, have inherent civil
contempt power to enforce compliance with their lawful judicial orders, and no specific
statute is required to invest a court with civil contempt power.").

Many courts have reasoned that bankruptcy courts have civil contempt power flowing
not only from "the inherent power of a court to enforce compliance with its lawful
orders," but also from section 105(a) of the Bankruptcy Code, which provides that:

[A bankruptcy] court may issue any order, process, or judgment that is necessary or
appropriate to carry out the provisions of [the Bankruptcy Code].... No provision of [the
Bankruptcy Code] providing for the raising of an issue by a party in interest shall be
construed to preclude the court from, sua sponte, taking any action or making any
determination necessary or appropriate to enforce or implement court orders or rules, or

to prevent any abuse of process.

411U.S.C. § 105(a) (emphasis added). See In re Walker, 257 B.R. 493, 496 (Bankr, N.D.

Ohio 2001) (citations omitted); accord In re Roman Cath. Church of Archdiocese of New
Orleans, 2023 WL 4105655, *16 (E.D. La. June 21, 2023); In re City of Detroit, 653 B.R.
874, 892 (Bankr. E.D. Mich, 2023); In re Kwok, 653 B.R. 480, 489 (Bankr, D. Conn.
2023); In re Brown, 2023 WL 4496925, *4 (Bankr. N.D. Ga. July 12, 2023).

The second sentence of section 105(a) (italicized above) was added in 1986 as part of

the Bankruptcy Judges, United States Trustees, and Family Farmer Bankruptcy Act

(Pub. L. No. 99-554), Some courts have determined that the addition indicates that

Congress meant section 105 to serve as the statutory basis for a bankruptcy court's

civil contempt power. See, e.g., Stephen W. Grosse, P.C., 84 B.R. 377, 386 (Bankr, E.D.
Pa, 1988); In re Miller, 81 B.R. 669, 676-78 (Bankr. M.D. Fla, 1988); In re Haddad, 68
B.R, 944, 948 (Bankr. D. Mass. 1987).

A bankruptcy court's inherent contempt powers are also indicated by Rule 9020 of the

Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), which provides that
"Rule 9014 [governing “contested matters" in bankruptcy] governs a motion for an
order of contempt made by the United States trustee or a party in interest.” In
addition, Rule 70 of the Federal Rules of Civil Procedure, which, as noted previously,
authorizes a federal court to "hold [a] disobedient party in contempt,” applies in
bankruptcy “adversary proceedings" pursuant to Bankruptcy Rule 7070.

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In Taggart, the U.S. Supreme Court held that, based on traditional standards in equity
practice, a creditor may be held in civil contempt for violation of the bankruptcy
discharge injunction, but only “if there is no fair ground of doubt as to whether the
order barred the creditor's conduct." Taggart, 139 S. Ct. at 1799. According to the
Court in Taggart, "civil contempt may be appropriate if there is no objectively
reasonable basis for concluding that the creditor's conduct might be lawful." Id. Stated
differently, there is no fair ground of doubt when the creditor violates a discharge
injunction "based on an objectively unreasonable understanding of the discharge order
or the statutes that govern its scope." Id. at 1802. A "creditor's good faith belief" that
the discharge injunction does not apply to an act in violation of the discharge injunction
does not by itself preclude a civil contempt sanction. Id. However, a creditor may not
be held in civil contempt merely because "the creditor was aware of the discharge
order and intended the actions that violated the order.” Id. at 1803.

According to the bankruptcy court in Jn re City of Detroit, Michigan, 614 B.R. 255
(Bankr. E.D. Mich. 2020), after Taggart, the elements that must be proven for a court to
find a party in civil contempt are that: (i) the party violated a definite and specific court
order obligating it to perform or to refrain from performing a particular act; (ii) the party
acted with knowledge of the court order; and (iii) there is no fair ground of doubt as to
whether the order precluded the party's conduct (or stated differently, there was no
objectively reasonable basis to conclude that the party's conduct might be

lawful), Id. at 265-66.

Courts disagree as to whether a bankruptcy court's contempt powers extend to
criminal contempt. See Collier at | 9020.01[2] (citing cases and noting that "[t]here
may be a split developing among the circuits as to whether a bankruptcy court can
punish criminal contempt."); id. at { 105.02[1][a] (stating that "[s]ome courts have
held that this inherent power extends to all contempts, be they civil or criminal, ...
while others hold that it applies only to civil contempt and some forms of criminal
contempt (such as contempt committed in the presence of the court.").

The Bankruptcy Code, the Bankruptcy Rules, and the Federal Rules of Civil Procedure
also give bankruptcy courts the power to sanction disobedient litigants (and their
lawyers). For example, section 363(k) of the Bankruptcy Code provides that, with
certain exceptions, an individual injured by any willful violation of the automatic stay
"shall recover actual damages, including costs and attorneys’ fees, and, in an
appropriate case, may recover punitive damages." In addition, if the court dismisses an
involuntary bankruptcy petition, it may grant judgment against the petitioning creditors

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for costs and attorneys’ fees, or even punitive damages if a creditor files an involuntary
case in bad faith. See 11 U.S.C. § 303(i).

Bankruptcy Rule 3002.1(i) authorizes a bankruptcy court to award reasonable
expenses and attorneys’ fees caused by the failure of home mortgagees to provide
certain required notices to the debtor mortgagor.

Under Bankruptcy Rule 9011, an attorney or unrepresented litigant who signs any
court pleading or other document certifies that, "to the best of the person's knowledge,
information, and belief, formed after an inquiry reasonable under the circumstances,"
the document does not contain, among other things, false, misleading, frivolous, or
legally unsupported allegations. Fed. R. Bankr. P. 9011(a) and (b).

Bankruptcy Rule 9011(c) provides that "[i]f, after notice and a reasonable opportunity
to respond, the court determines that subdivision (b) has been violated, the court may,
subject to the conditions stated below, impose an appropriate sanction upon the
attorneys, law firms, or parties that have violated subdivision (b) or are responsible for
the violation." Pursuant to Bankruptcy Rule 9011 (c)(2), "[a] sanction imposed for
violation of this rule shall be limited to what is sufficient to deter repetition of such
conduct or comparable conduct by others similarly situated." Sanctions may include
“directives of a nonmonetary nature, an order to pay a penalty into court, or, if imposed
on motion and warranted for effective deterrence, an order directing payment tothe _
movant of some or all of the reasonable attorneys’ fees and other expenses incurred as
a direct result of the violation." Fed. R. Bankr. P. 9011(c)(2).

Sanctions are not available under Rule 9011 in connection with "disclosures and
discovery requests, responses, objections, and motions that are subject to the
provisions of [Bankruptcy] Rules 7026 through 7037." Fed. R. Bankr. P. 9011(d). The
discovery rules set forth in Bankruptcy Rules 7026 through 7037 authorize the
bankruptcy court in an adversary proceeding (and, unless the court orders otherwise,
contested matters in a bankruptcy case) to impose sanctions on a litigant or its
attorney in connection with discovery abuses under circumstances similar to those
described in Bankruptcy Rule 9011. See Fed. R. Civ. P. 7026(g)(3); Fed. R. Bankr. P.
901 4(c).

In addition, Rule 37 of the Federal Rules of Civil Procedure, which is made applicable
to bankruptcy adversary proceedings and contested matters by Bankruptcy Rules
7037 and 9014(c), provides that the bankruptcy court may impose sanctions for a
litigant's failure to comply with discovery requests or court discovery orders, including
an award of fees and expenses or orders compromising the noncompliant litigant's

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ability to effectively prosecute the litigation (e.g., dismissal of the action or the entry of
a default judgment in the action), or “treating as contempt of court the failure to obey
any [discovery] order except an order to submit to a physical or mental examination."
Fed. R. Civ. P. 37(b)(2), Rule 45(g) of the Federal Rules of Civil Procedure (authorizing a
federal court to hold a party refusing to comply with a subpoena in contempt) also
applies in bankruptcy cases pursuant to Bankruptcy Rule 9016.

Markus

Larisa Ivanova Markus (the "debtor”) is a Russian citizen who founded

Vneshprombank, Ltd. ("VB"), one of Russia's largest banks. In March 2016, a Russian

court commenced a bankruptcy proceeding against VB. Shortly afterward, the Russian
court granted a petition filed by one of the debtor's creditors to commence a
bankruptcy proceeding against her personally. The court appointed Yuri Vladimirovich —

Rozhkov (“Rozhkov") to preside over the liquidation of the debtor's assets and to
pursue litigation against any entities that contributed to the debtor's bankruptcy. In

2017, the debtor was imprisoned in Russia after being convicted for embezzling $2
billion from VB.

In January 2019, Rozhkov, as the debtor's “foreign representative,” filed a petition in

the U.S. Bankruptcy Court for the Southern District of New York seeking recognition of
the debtor's Russian bankruptcy proceeding under chapter 15 of the Bankruptcy Code.

According to the petition, Rozhkov sought recognition of debtor's Russian bankruptcy
for the purpose of obtaining discovery concerning the debtor's U.S, assets (including at

least 10 companies and apartments valued at more than $10 million). The U.S.

bankruptcy court granted the chapter 15 petition in April 2019.

Heated discovery disputes ensued almost immediately between Rozhkov and the
debtor's attorney, Victor A. Worms. Among other things, despite repeated discovery
requests, Worms made no effort to obtain responsive documents, arguing that he did
not need to comply because the U.S. bankruptcy court improperly recognized the

debtor's Russian bankruptcy (Worms filed a motion to vacate the recognition order in
June 2019). 5

The U.S. bankruptcy court overruled Worms's objections, and directed him to comply

immediately with Rozhkov's discovery requests. The court also informed Worms that

failure to comply could result in the imposition of sanctions. After Worms failed to
produce any discovery before the court-imposed deadline, he argued in a written
response to a subpoena that the requested discovery "exceed|ed] the limited scope of
discovery provided for under Chapter 15.” Worms also stated that, because the debtor

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was in prison, she had no documents responsive to the discovery requests in her
possession, and neither he nor his client had any duty to obtain and produce
responsive documents in the possession of the debtor's agents because such
documents were not in the United States.

In September, 2019, Rozhkov filed a motion for sanctions against Worms and the
debtor under Rules 37 and 45(g) of the Federal Rules of Civil Procedure (as made

applicable in bankruptcy cases by Bankruptcy Rules 7037 and 9016). In seeking a civil

contempt sanction against Worms in the amount of $1,000 per day until compliance,

Rozhkoy submitted evidence of the identities and contact information of more than 30
known agents of Worms, 14 of whom were in the United States.

After a hearing during which the U.S. bankruptcy court again warned Worms that he
would be sanctioned for noncompliance, the court found that Worms's violations of the
court's discovery orders were knowing, willful, and intentional, and entered an order
(the "sanctions order") imposing the requested monetary sanctions (amounting to
$34,000 for the days since the discovery deadline and $1,000 per day until
compliance) pursuant to Rule 37 of the Federal Rules of Civil Procedure and “the

court's inherent power to hold a party in civil contempt." The U.S. bankruptcy court
later awarded $60,000 in attorneys’ fees (the “fee order") against Worms personally to

compensate Rozhkov for costs incurred in connection with the sanctions motion. The
court did not state in the fee order the source of its authority to do so, but referenced
its previous opinion granting the sanctions motion.

On appeal of both the sanctions and fee orders, a U.S. district court affirmed the

bankruptcy court's imposition of civil contempt sanctions under its “inherent
authority," which Worms acknowledged existed, but remanded the case below for

determination of the appropriate amount, and vacated the $34,000 in "lump-sum
sanctions" as an improper criminal sanction. Because the bankruptcy court had not

specified the source of its authority to award attorneys’ fees to Rozhkov, the district
court vacated the fee order and remanded the case below for clarification.

On remand, the U.S. bankruptcy court held that Worms's contempt was cured as of

November 27, 2019, when a U.S.-based agent of the debtor contacted the debtor's
other agents to obtain the requested discovery. Based on the 55 days that Worms was
in contempt, the court imposed a total of $55,000 in sanctions. The bankruptcy court —
also held that the fee award was based on its inherent authority, but reduced the
amount of the fees to $36,600. However, it also awarded Rozhkov $63,500 in fees
incurred in defending the district court appeal.

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Worms appealed again to the district court, which affirmed the sanctions award but
vacated the award of attorneys' fees for defending the initial district court appeal,
reasoning that a bankruptcy court generally does not have the power under its inherent
sanctioning power to award fees incurred in connection with an appeal before another
court.

Worms appealed the ruling upholding the sanctions order and the fee order to the
Second Circuit. .

The Second Circuit's Ruling

A three-judge panel of the Second Circuit affirmed the district court's ruling.

Writing for the panel, U.S. Circuit Judge Denny Chin noted that the issue of whether a
bankruptcy court has inherent authority to impose "non-nominal civil contempt
sanctions" was one of first impression before the Second Circuit,

He explained that, in Sanchez, the Second Circuit, guided by the U.S. Supreme Court's

ruling in Chambers v. NASCO, Inc., 501 U.S. 32 (1991), unequivocally held that
bankruptcy courts, like other federal courts, have "inherent sanctioning
power." Markus, 78 F.4th at 565 (citing Sanchez, 941 F.3d at 628). In addition, Judge

Chin noted, in a previous decision, In re Kalikow, 602 F.2d 82 (2d Cir. 2010), the

Second Circuit concluded that "[t]he statutory powers given to a bankruptcy court
under § 105(a) complement the inherent powers of a federal court to enforce its own
orders .., [and] [t]hese powers are in addition to whatever inherent contempt powers

the court may have." Id. at 96-97 (citation and internal quotation marks omitted),

He further noted that in Law v. Siegel, 571 U.S. 415, 420-21 (2014), the Supreme
Court wrote that "[a] bankruptcy court ... may also possess ‘inherent power ... to
sanction abusive litigation practices."

However, Judge Chin emphasized, its previous rulings, including In re Gravel, 6 F4th

503 (2d. Cir. 2021), where the Second Circuit suggested that the imposition of non-
nominal punitive sanctions pursuant to a bankruptcy court's inherent authority
requires a finding of bad faith, dealt only with "relatively minor non-compensatory [i.e.,
punitive] sanctions," unlike the "substantial, compensatory, and coercive sanctions

imposed against Worms here." Markus, 78 F.4th at 564-65.

The Second Circuit panel concluded that a bankruptcy court's inherent authority
“extends beyond" the power to impose minor punitive sanctions, but "is by no means

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unlimited" and requires "caution and notice before use." Id. at 565 (internal quotation
marks and citation omitted). Judge Chin explained such limitations as follows:

(i) A bankruptcy court's invocation of its inherent authority to sanction abuse "is a last
resort for when an express authority is not up to the task," and the court "may not
contravene valid statutory directives and prohibitions."

(ii) A bankruptcy court must expressly invoke its inherent sanctioning powers for its
order to withstand appellate scrutiny.

(iii) A bankruptcy court must comply with the mandates of due process when deploying
its inherent powers.

(iv) Although a bankruptcy court need not always find bad faith before invoking its
inherent sanction power, the imposition of such sanctions may require an express
finding that a lawyer (acting as an advocate rather than an officer of the court) acted in
bad faith supported by clear evidence that the lawyer's conduct was “entirely without
color" and "motivated by improper purposes."

(v) A bankruptcy court may impose a civil contempt sanction that is compensatory or
coercive, not punitive.

(vi) A contempt order is justified only where the movant establishes by clear and
convincing evidence that the contemnor violated the court's order.

Id. (internal quotation marks and citations omitted). Therefore, Judge Chin
emphasized, to demonstrate contempt justifying the imposition of sanctions, the party
seeking a contempt order must establish that: (i) the order with which the contemnor
failed to comply is clear and unambiguous; (ii) proof of noncompliance is clear and
convincing; and (iii) the contemnor failed to diligently attempt to comply ina
reasonable manner (the "King factors"). Id. at 566 (citing King v. Allied Vision, Ltd., 65
F.3d 1051, 1058 (2d Cir. 1995)).

Applying these principles, the Second Circuit panel ruled that the bankruptcy court did
not abuse its discretion in sanctioning Worms.

First, Judge Chin explained, because it is unclear whether the bankruptcy court could
have relied on its express power in section 105(a) of the Bankruptcy Code to entorce
compliance with a subpoena issued under Rule 45 of the Federal Rules of Civil

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Procedure, "the bankruptcy court was right to consider its inherent contempt
authority." Id. at 567.

According to Judge Chin, "most importantly," the bankruptcy court, in ordering
contempt sanctions, found that all of the King factors had been satisfied and that
Worms had acted in bad faith. Specifically, he wrote, the record clearly established
that the bankruptcy court's order was unambiguous, proof of Worms's failure to
comply was clear and convincing, Worms failed even to attempt compliance, and the
record "firmly support[ed] the bankruptcy court's finding that Worms ‘knowingly and
intentionally’ engaged in a ‘continuous pattern of obstructing legitimate

discovery,'" Jd, In addition, Judge Chin noted, because Worms had "abundant" notice
of the consequences of his refusal to comply with the bankruptcy court's discovery
orders pursuant to the court's inherent authority, Worms was afforded due process.

Finally, the Second Circuit panel noted that, although the fee order did not expressly
state that the bankruptcy court was exercising its inherent authority in awarding
attorneys' fees to Rozhkov, the order specifically incorporated the sanction order,
which did include an express reference, and Worms was clearly aware that that "the
bankruptcy court rested the civil contempt sanctions against him on its inherent
authority." Id. at 569.

Outlook

There are several key takeaways from the Second Circuit's ruling in Markus. First, the
decision clarifies that, in addition to a bankruptcy court's statutory powers under
section 105(a) of the Bankruptcy Code, and whatever powers the court may have to
sanction for contempt under applicable procedural rules, a bankruptcy court, like other
federal courts, has inherent authority to sanction a party for civil contempt under
appropriate circumstances. Second, if a bankruptcy court is relying on its inherent
authority to sanction a party for civil contempt, it must state so explicitly. Third,
although the Second Circuit has previously concluded that a bankruptcy court has the
inherent power to impose civil contempt sanctions in nominal amounts, the court of
appeals has now ruled as a matter of first impression that such punitive sanctions may —
also be imposed in non-nominal amounts.

Markus is an unusual case because it involved civil contempt sanctions in connection
with a discovery dispute in a chapter 15 case (discovery may generally be obtained ina
chapter 15 case in the same way that it is available in cases under other chapters of
the Bankruptcy Code). Moreover, the sanctions were levied against an attorney rather
than his client because the client was unable to respond to the discovery obligations,

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Recognizing that the client's compliance was not possible, the bankruptcy court
afforded the attorney multiple opportunities to respond by taking reasonable steps to
comply, such as contacting entities that could provide the requested discovery. The
court sanctioned the attorney only after he failed to make any effort to do so, resulting

in the required finding of bad faith. The ruling is therefore also a cautionary tale.

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Exhibit 9--03-93031 Docket Report

U.S. Bankruptcy Court
Northern District of Georgia (Atlanta)
Bankruptcy Petition #: 03-93031-mhm

Assigned to: Judge Margaret z-Murphy

Chapter 11
Voluntary
Asset

Claims Register

Date filed: 03/18/2003
Date terminated: 06/03/2003
Date dismissed: 05/21/2003

Deadline for objecting to discharge: 06/30/2003

Debtor — represented by Sims W. Gordon, Jr.
Group Management Corp. The Gordon Law Firm, PC
101 Marietta St. Suite 1500
Suite 1070 400 Galleria Parkway, SE
Atlanta, GA 30303 Atlanta, GA 30339
FULTON-GA (770) 955-5000
Tax ID / EIN: XX-XXXXXXX Fax : (770) 955-5010
aka TVG Corp.
Thomas Ware
Rosenfeld, Goldman &
Ware, Inc.
101 Marietta St.
Ste 1070
Atlanta, GA 30303
404-522-1202
U.S. Trustee represented by James H. Morawetz

Office of the United States Trustee

Office of U.S. Trustee

362 Richard Russell Building 362 Richard Russell Bldg,
75 Ted Turner Drive, SW 75 Ted Turner Drive, SW
Atlanta, GA 30303 Atlanta, GA 30303

404-331-4437

404-331-4437 x121
Fax : (404) 730-3534
TERMINATED: 04/01/2003

Filing Date # Docket Text
83 Correspondence from Mr. Ware re Notice to Immediately Cease and
Desist from all Civil and Criminal Contempts of the Brady Court
02/05/2022 Orders, et al. (scm) (Entered: 02/08/2022)
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BD Notice of Criminal Contempt by DOJ Prosecutors in case nos
02/01/2022 04cr1224and O0S5cr1115 (SDNY), (scm)
81 Letter from Mr, Ware to DOJ re litigation position. (sem) (Entered:
01/27/2022 02/01/2022)
80 Information delivered by Mr. Ware re investigation, (scm) (Entered:
01/26/2022 02/01/2022)
719 NOTICE TO IMMEDIATELY CEASE AND DESIST FROM ALL

CIVIL AND CRIMINAL CONTEMPTS OF THE BRADY
COURT ORDERS, THE RULE 41(a)(2) FINAL JUDGMENT,
AND THE AUGUST 18, 2009, FINAL JUDGMENT ENTERED
IN UNITED STATES v. WARE, 07-5670 (XAP) (2d Cir.), Gov.-L1
01/22/2022 jointly, (the Final Judgments). (scm) (Entered: 01/24/2022)

78 Copy of Letter to Garland re Demand to Disclose Brady

Exculpatory Evidence in cases 02cv2219 (SDNY), 03-0831 (D.
NY), 03-93031 (BC NDGA), 04cr1224 (SDNY) and OSer1 115

01/20/2022 (SDNY) (scm) (Entered: 01/21/2022)

77 Official notice of material fact witness status (scm) (Entered:
01/17/2022 01/18/2022)
76 Letter sent by Mr. Ware to Merrick Garland re O5cer1115 and
01/11/2022 04cr1224 (SDNY). (sem) (Entered: 01/12/2022)
75 Pleadings submitted by Mr. Ware re conspiracy in 0Ser1115 and
12/03/2021 04cr1224 (SDNY). (scm) (Entered: 12/06/2021)
74 Materials submitted by Mr. Ware related to Motions filed in
11/28/2021 04cr1224 and OScr1115 (SDNY). (scm) (Entered: 11/29/2021)
‘ioe Part 4 of materials submitted by Mr. Ware in04cr1224 and OScr1 115
11/26/2021 (SDNY). (related document(s)70) (scm) (Entered: 11/29/2021)
72 Part 3 of materials submitted by Mr. Ware related to 04cr1224 and
05cr1115 (SDNY). (related document(s)70) (sem) (Entered:
11/26/2021 11/29/2021)
71 Part 2 of materials submitted by Mr. Ware in cases 04cr1224 and
O5er 1115 (SDNY). (related document(s)70) (scm) (Entered:
11/26/2021 11/29/2021)
70 Part 1 of materials submitted by Mr. Ware related to Motion to
Compel in 04cr1224 and 05cr1115 (SDNY). (scm) (Entered:
11/26/2021 11/29/2021)
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69 Materials from Mr. Ware related to 04cr1224 and OScr1115
11/22/2021 (SDNY). (scm) (Entered: 11/29/2021)
68° Materials submitted by Mr. Ware re Brady evidence in 04er1224
11/19/2021 and O5cr1115 (SDNY). (scm) (Entered: 11/22/2021)
67 Submission by Mr. Ware re rule 11 plea transcript in 04cr1224 and
11/16/2021 05cr1115 (SDNY). (scm) (Entered: 11/19/2021)
66 Mr. Ware submissions re Supervisory Writ in O5cerl1115 and
11/12/2021 04cr]224 (SDNY). (scm) (Entered: 11/19/2021)
11/10/2021 65 Materials from Mr. Ware re: State Bar Grievance (ngs)
64
Brady Decisions re: Undisclosed Government Agreements in
11/10/2021 (7 pgs) | 04CR1224 and 05CR1115 (SDNY) (ngs)
61 Materials Submitted in 04CR1224 and 0SCR1115 (SDNY) (ngs)
11/09/2021 (Entered: 11/10/2021)
63 Materials Filed in 04CR1224 and 05CR1115 (SDNY) USAO
Manual/Motion to Compel. (ngs) Additional attachment(s) added on
11/09/2021 11/10/2021 (ngs).
62 Materials Submitted in 04CR1224 and 0SCR1115 (SDNY) In re
Sealed Case (ngs) Additional attachment(s) added on 11/10/2021
11/09/2021 (ngs).
60 Copy of Pleading filed in 04¢CR1224 and O5CRI115. (ngs)
11/08/2021 Additional attachment(s) added on 11/10/2021 (ngs).
59 Communication from Mr. Ware to US Atty for SDNY re 04cr1224
11/01/2021 and 05crl1115. (scm)
58 Documents filed in 04CR1224 and OSCR1115 (SDNY). (scm)
09/28/2021 (Entered: 10/04/2021)
56 Documents filed in 04CR1224 and 0SCR1115(SDNY). (scm)
09/27/2021 (Entered: 10/04/2021)
55 Documents filed on 0SCR1115 and 04CR1224 (SDNY). (sem)
09/25/2021 (Entered: 10/04/2021)
57 Documents submitted in 04CR1224 and 05CR1115 (SDNY). (sem)
09/24/2021 (Entered: 10/04/2021)
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54 Petition re Brady Court Orders and Court Judgments filed in
04cr1224 and 05cr1115 (SDNY). (sem) Additional attachment(s)
09/22/2021 added on 9/22/2021 (scm).
09/13/2021 53 Correspondence from Mr. Ware. (scm) (Entered: 09/14/2021)
52 Petition re Brady Court Orders and Court Judgments filed in
02cv2219, 04cr1224 and 0Scr1115 ( SDNY). (scm) (Entered:
09/13/2021 09/14/2021)
51 Letter to Judge Taylor-Swain in 04cr1224, OScer1 115 and 04cv2219,
09/13/2021 (scm) (Entered: 09/14/2021)
50 Copy of letter to State Bar of Georgia by Ulysses T. Ware dated
09/07/2021 Sept 6, 2021. (scm) (Entered: 09/08/2021)
49 Copy of Additional Criminal Contempt Claims filed in 08er1115
08/31/2021 ; and 04cr1224 (SDNY). (sem) (Entered: 09/08/2021)
48 Copy of Emergency Application for leave to file Rule 42(b) :
criminal and civil contempt motion in case no 04cr1224 and
08/29/2021 0S5cr1115 (SDNY). (scm) (Entered: 09/08/2021)
06/23/2021 47 Letter dated June 23, 2021 to Mr. Ulysses T. Ware. (scm)
46 Letter dated April 22, 2021 from Ulysses T. Ware (Received on
06/22/2021 4/22/21, docketed on 6/22/21), (sem)
45 Letter dated June 21, 2021 from Ulysses T. Ware. (scm) (Entered:
06/21/2021 06/22/2021)
44 Letter dated June 15, 2021 from Ulysses T, Ware. (scm) (Entered:
06/15/2021 06/22/2021)
43 Letter dated June 9, 2021 to Mr. Ulysses T. Ware. (scm) (Entered:
06/09/2021 06/22/2021)
42 Transcript of Proceedings heard on 4/30/2003 (originally docketed
on 3/22/2005) (related document(s)30) (sem) Additional
06/09/2021 : attachment(s) added on 6/9/2021 (sem).
4] Transcript of Hearing on Emergency Motion of Debtor to Reject
Executory Contract (originally docketed on 4/24/2003) (related
document(s)25) (sem) Additional attachment(s) added on 6/9/2021
06/09/2021 (scm).
40 11 USC 1109(b) Statutory Parties in Interest Ulysses T. Ware and
06/02/2021 Group Management's Notice of Rule 33 and Rule 42(b) Criminal
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Desc

| and Civil Contempt Proceedings filed in United States v. Ware,
04cr1224 and 0S5er1115 (SDNY) and other Rule 5003 and 5006
Activities Filed by Group Management Corp. . (aam)

05/29/2021

39

Group Management Corp, . (aam) (Entered: 06/02/2021)

Exhibit #UTW-03: Ulysses T, Ware, May 29, 2021 UTW's Letter
dated December 11, 2011 to Kilpatrick, Townsend & Stockton, LLP
and Dennis 8. Meir, Esq. Discussing KTS's fraud on the court, and
conspiracy to commit bankruptcy fraud in In re Group Management
Courtp., Case no. 03-93031-mhm (BC NDGA), Chapter 11 Filed by

05/24/2021

38

Ulysses T. Ware and group Management's Administrative
Memorandum #4.01 and May 24, 2021 Memorandum #1.05
submitted to active United States Attorney (SDNY), Ms, Audrey

(BC NDGA) Chapter 11, and United States v, Ware, 04cr1224

dealer status of Alpha Capital, AG. Filed by Group Management
Corp. . (aam) Modified on 6/3/2021 (jlc). (Entered: 06/02/2021)

Strauss, regarding In re Group Management corp., 03-9303 1-mhm

(SDNY) trial exhibits GX-250, GX-251, and GX-252; and FINRA's
April 21, 2021, confirmation of KTS's client, unregistered broker-

04/21/2021

37

Letter dated April 21, 2021 to Mr. Ulysses T. Ware. (scm)

04/21/2021

36

Letter dated April 16, 2021 from Mr. Ulysses T. Ware. (scm)

04/05/2021

35

(scm)

Letter dated April 5, 2021, with attachments, to Mr. Thomas Ware.

03/08/2021

34

03/31/2021)

03/01/2018

33.

Letter dated March 4, 2021 from Ulysses T. Ware (scm) (Entered:

3/1/2018. (yl) (Entered: 03/05/2018)

Copy of Order from 11th Circuit Court Re: 16-13978. Entered on

03/17/2017

32

Mandamus Entered on 3/17/2017. (yl) (Entered: 03/05/2018)

Copy of Order from 11th Circuit Court Denying Motion to WRIT of

06/23/2016

31

Notification of Appeal to 11th Circuit 16-13978 (yl) (Entered:
03/05/2018)

03/22/2005

30

document(s)13 Motion to Dismiss Case, , Motion to
Convert/Reconvert Case to Ch. 7 (FEE), Motion to

Trustee, 9 Motion to Reject Executory Contract or Lease filed by
Group Management Corp., 15 Motion to Dismiss Case, filed by
Alpha Capital Aktiengesellschaft, et al.) (mab, ) (Entered:
03/23/2005)

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Transcript of Proceedings heard on 4/30/2003 at 10:00 am. (related

Convert/Reconvert Case to Ch. 7 (FEE) filed by Office of the US

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06/03/2003 i Case Closed/Dismissed. (mab, ) Modified on 6/3/2003 (mab, ),

29 BNC Certificate of Service of Order Dismissing Case with
Prejudice Service Date 05/23/03. (Related Doc # 28) (Admin.)
05/23/2003 (Entered: 05/24/2003)

28 Order Dismissing Case with prejudice. Debtor ineligible to file
under Title 11 for 180 days. Service by BNC Entered on 5/21/2003.
05/21/2003 (related document(s)13, 15) (mab, )

Hearing on motion of Debtor to reject executory contract, Hearing

on motion of the U.S. Trustee for the case to be dismissed with
prejudice or for the case to be converted to Chapter 7 and Hearing

on motion of Alph Capital and others for the case to be dismissed or —
for relief from stay. ALL Hearings reset from April 29, 2003.

(related document(s)13, 15, 9, 5) Hearing to be held on 5/12/2003 at
05/09/2003. 02:30 PM at Courtroom 1204, Atlanta, (phd, )

27 BNC Certificate of Service of Order on Application to Employ
Service Date 05/01/03. (Related Doc # 26) (Admin.) (Entered:
05/01/2003 05/02/2003)

26 Order DENYING Application to Employ Thomas Ware as Attorney —
f for Debtor. (Related Doc # 17) Service by BNC Entered on
04/29/2003 4/29/2003, (mab, )

24 Exhibits > Exhibit A to Voluntary Petition (related document(s)1)
filed by Sims W. Gordon Jr. on behalf of Group Management Corp.,
04/25/2003 — (Gordon, Sims)

23 Schedules : List of Equity Security Holders filed by Sims W.
04/25/2003 Gordon Jr. on behalf of Group Management Corp.. (Gordon, Sims)

22 Attorney Disclosure Statement (related document(s)1) filed by Sims
W. Gordon Jr. on behalf of Group Management Corp.. (Gordon,
04/25/2003 Sims)

21 Schedules 4, B, C, D, E, F, G, and H filed by Sims W. Gordon Jr.
04/25/2003 on behalf of Group Management Corp.. (Gordon, Sims)

20 Statement of Financial Affairs (related document(s)1) filed by Sims
W. Gordon Jr, on behalf of Group Management Corp.. (Gordon,
04/25/2003 Sims)

25 Transcript of Hearing on Emergency Motion of Debtor to Reject
04/24/2003 ; Executory Contract. (mab, ) (Entered: 04/28/2003)

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19 Order and Notice of Reassignment of Hearing of Debtor's
Emergency Motion to Reject Executory Contract with Alpha
capital; US Trustee's Motion to Dismiss Case with prejudice or, in
the Alternative, Motion to convert case from 11 to 7; and Motion To
Dismiss or, in the Alternative, for Relief from the Automatic Stay.
Service by Courtroom Deputy. Entered on 4/23/2003. (related
document(s)9,13,15) Hearing to be held on 4/30/2003 at 10:00 AM
at Courtroom 1204, Atlanta, (mab, ) Text and Linkage Modified on
04/23/2003 4/25/2003 (ysg, ).

18 Order and Notice of Assignment of Hearing, Continued hearing on
Debtor's Emergency Motion to reject executory contracts. Service
by Courtroom Deputy. Entered on 4/17/2003. (related
document(s)9) Hearing to be held on 4/29/2003 at 10:00 AM at
04/17/2003 Courtroom 1204, Atlanta, (Bennington, Merrill)

17 Application to Employ Rosenfeld, Glodman & Ware, Inc. as its
attorney in for the exclusive matter of, Emergency Motion to Reject
the Funding Agreement with c/s filed by Thomas Ware on behalf of
Group Management Corp.. (Bennington, Merrill) (Entered:
04/15/2003 04/16/2003)

16 --Brief in Support of Emergency Motion to Dismiss or, in the
Alternative, for Relief from the Automatic Stay, and Request for
Emergency Hearing filed by Dennis S, Meir on behalf of Alpha
Capital Aktiengesellschaft, et al.. Responses due by 5/5/2003,
(Attachments: 1 Exhibit "A" "B" and "C") (Meir, Dennis) Text
04/11/2003 Modified on 4/16/2003 to reflect correct wording (Wiggins, Irene).

15 Emergency Motion to Dismiss Case --Emergency Motion to Dismiss
or, in the Alternative, for Relief from the Automatic Stay, and
Request for Emergency Hearing filed by Dennis S. Meir on behalf
of Alpha Capital Aktiengesellschaft, et al.. Responses due by

04/11/2003 5/5/2003, (Attachments: 1 Exhibit "A" and "B") (Meir, Dennis)
14 Response to Motion --Opposition to Emergency Motion to Reject
Executory Contract (related to motions(s)9) filed by Dennis S. Meir
04/11/2003 : on behalf of Alpha Capital Aktiengesellschaft, et al.. (Meir, Dennis)
13 Motion to Dismiss Case With Prejudice or, in the Alternative,

Motion to convert/reconvert case from 11 to 7 Fee Collected $ 0.,
Receipt Number N/A. filed by James H, Morawetz on behalf of
Office of the US Trustee. Responses due by 5/5/2003,
(Attachments: | Exhibit "A") (Morawetz, James) Modified on

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12 Certificate of Service of Order and Notice of Assignment of
Hearing (related document(s)10) filed by Sims W. Gordon Jr. on
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04/10/2003

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Notice of Appearance (Attorney) --Entry of Appearance, Request
jor Special Notice, Request for Service of Papers, and Reservation
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by Dennis S. Meir on behalf of Alpha Capital Aktiengesellschaft, et
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10

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(Mitchell, Gregory)

04/08/2003

Emergency Motion to Reject Executory Contract or Lease filed by
Sims W. Gordon Jr. on behalf of Group Management Corp..

(Gordon, Sims)

04/08/2003

Application to Employ Counsel for Debtor (elated AsciuisAKOD).
filed by Sims W. Gordon Jr. on behalf of Group Management Corp..
(Attachments: 1 Exhibit A: Declaration of Attorney) (Gordon, Sims)

04/08/2003

Notice of Appearance (Attorney) filed by Sims W. Gordon Jr, on
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04/01/2003

Notice of Appearance (Attormey) filed by James H. Morawetz on
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Ware on behalf of Group Management Corp..

(Attachments: 1 Exhibit #1) (Wilson, Melanie) (Entered:
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BNC Certificate of Service of Order Service Date 03/28/03.
(Related Doc # 3) (Admin.) (Entered: 03/29/2003)

03/26/2003

Order to Corporate Debtor to Obtain Counsel Service by BNC
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Notice of Filing of Bankruptcy Case, Meeting of Creditors &
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(acrot) (Entered: 03/21/2003)

03/18/2003

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1 Voluntary Petition (Chapter 11) Fee Collected $ 830, Receipt
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11 Plan due by 7/16/2003. Schedule A due 4/2/2003. Schedule B
due 4/2/2003. Schedule C due 4/2/2003. Schedule D due 4/2/2003.
Schedule E due 4/2/2003. Schedule F due 4/2/2003. Schedule G due
4/2/2003. Schedule H due 4/2/2003, List of Equity Security Holders
due 4/2/2003. Statement of Financial Affairs due 4/2/2003. Atty
Disclosure State. due 4/2/2003. Filed by Thomas Ware on behalf of
Group Management Corp., (Blount, Danya) Additional

03/18/2003 attachment(s) added on 11/2/2007 (smw, ).

Respectfully submitted,
/s/ Ulysses T. Ware
For: Ulysses T. Ware, Statutory Party in Interest, and Group Management.

From the Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260
utware007@gmail.com

January 26, 2025, 9:34:33 AM

Signed this 26™ day of January 2025, under oath and subject to the penalty of perjury, having
personal knowledge of the facts pursuant to 28 USC § 1746 in Brooklyn, NY.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY

Filed by Ulysses T. Ware and Group Management, 11 USC § 1109(b) Statutory Parties in
Interest!” and Prevailing Parties in 02cv2219 (SDNY), see Dkt. 90, Dec. 20, 2007, Plaintiffs”’
Voluntary Rule 41(a)(2) Dismissal with Prejudice.

2 41 ULS, Code § 1109 - Right to be heard

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Exhibit 10—Frauds, crimes, and Hobbs Act predatory 18 USC § 2, 152,
157, 371, 401(2), 401(3), 924 (c), 1201-02, 1341, 1343, 1344, 1346,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b)
racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce
Bihary, Coleman Ray Mullins, M. Regina Thomas, Patrick Sinback,
Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H.
Southwell, Jeffrey B. Norris, David N. Kelley, Arie Rabinowitz,
Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann, Baker
& McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert
Alberal, London, Fisher, LLP, Nall & Miller, LLP, John Doe Insurance
Companies, ##1-5, John F. King, Kilpatrick, Townsend, & Stockton,
LLP, Wab Kadaba, J. Henry Walker, IV, Dennis S. Meir, John W. Mills,
IL, James H. Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia,
Office of the General Counsel, the U.S. Trustee, Region, 21, Michael S.
Bertisch, et al.

(a) The Securities and Exchange Commission may raise and may appear and be heard on any issue in a
case under this chapter, but the Securities and Exchange Commission may not appeal from any judgment,
order, or decree entered in the case.

(b) A party in interest, including the debtor, the trustee, a creditors’ committee, an equity security holders’
committee, a creditor, an equity security holder, or any indenture trustee, may raise and may appear and
be heard on any issue in a case under this chapter. (Pub. L. 95-598, Nov. 6, 1978, 92 Stat. 2629).

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The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

November 8, 2024, 9:34:33 AM

RE: Ulysses T. Ware and FINRA's Joint Declaration of
Stipulated Irrefutable Material Facts of Criminal Violations
of the Federal Money Laundering and Racketeering Laws
and Certification of Unregistered Broker-Dealer Status.

Financial Industry Regulatory Authority (FINRA)
1735 K St., NW
Washington, D.C. 20006-1506

Dear Mr. Robert W. Cook, Mr. Robert L.D. Colby, and Ms. Marcia E. Asquith: (via email)

Introduction

The conduct of FINRA, Emma Jones, et al. in regard to this request for disclosure of public
records maintained in the ordinary course of business, FINRA, Emma Jones, Esq., et al. finds
themselves in a very perilous position—that is, aiding, abetting, and directly participating in a
conspiracy to conceal the unregistered broker-dealer status of the Requested Persons, see Ex.
1-4, infra. an egregious violation of 18 USC §§ 2, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(d);
and violations of Bar Association Rules of Professional Conduct.!?

Given the recent discovery of actual innocent Brady exculpatory evidence by Mr. Ware’s
private investigators, it has become necessary to undertake to confirm with regulatory authorities
the official broker-dealer status of the Requested Persons. Accordingly, unless FINRA submits to
Mr. Ulysses T. Ware at utware007@gmail.com a sworn Declaration of Material Fact signed by
its executives, Robert W. Cook, Robert L. D. Colby, and Marcia Asquith, Esq., not later than
3:00 PM EST on November 8, 2024, time being of the essence, that opposes, denies, and refutes

13 A Bar complaint will be filed against Emma Jones, et al. given their lying, fraud, wire fraud, deceit,
deception, and unethical professional conduct in violation of the Rules of Professional Conduct with respect
to processing the Oct. 29. 2024, request for certified records, see Ex. A, infra.

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each Fact, with credible evidence, of unregistered broker-dealer status in the below Ware-FINRA
Joint Declaration and Stipulation of Fact, then:

(i) FINRA will be deemed to have stipulated and certified that it has no evidence or
good faith opposition or legal or factual denial to each Fact as stated, and

(ii) Further certifies that FINRA lacks a good faith factual or legal basis supported by
credible evidence on which to deny and refute each Fact in regard to the
unregistered broker-dealer status for Tailwind Management L.P., Frank
Vincent. Sica, Michael Scott Bertisch, Colleen McMahon, and Arie
Rabinowitz, (the “Requested Persons”), an illegal association in fact, a
continuing criminal enterprise as defined in 18 USC § 1961(4).'* See Ex. A, infra.

If a competing FINRA Declaration is not received by Mr. Ware on November 8, 2024, by
3:00 PM EST:

(i) FINRA will be deemed to have certified, conceded, and factually stipulated as fact that
Sica, Bertisch, McMahon, Tailwind, and Rabinowitz are not and have never lawfully registered
with FINRA as broker-dealers as required by federal law, 15 U.S.C. § 780(a)(1); and

(ii) the Requested Persons currently and/or have operated in the United States since on or
about 2001 in criminal violation of federal broker-dealer registration laws.

Mr. Ware will present the Ware-FINRA Joint Declaration to the Director of the FBI,
relevant State Bar associations, and United States Federal Courts as a FINRA certified judicial
admission and_stipulated fact of criminal violations of the federal securities laws by each
Requested Person--that is, a pattern of racketeering activities as defined in 18 USC § 1961(4), a
continuing Hobbs Act, 18 USC § 1951(a) predatory loan sharking and money laundering criminal
enterprise. See Ex. 4, 4.1, 4.2, Ex. 5, and Ex. 8, infra.

Sincerely,

/s/ Ulysses T, Ware
November 7, 2024

Brooklyn, NY

'4 Jointly and severally are currently engaged in the illegal underwriting of Hobbs Act predatory loan
sharking convertible promissory notes, see Ex. 4 and Ex. 8, infra, and other unregistered securities,
originated, underwritten, funded, administered, and collected in violation of NYS Penal Law, § 190.40, the
criminal usury law, a class E felony, and in violation of federal racketeering laws, 18 USC §§ 2, 157(2),
(3), 371, 924(c), 1201-02, 1341, 1343, 1344, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d);
and 15 USC §§ 77e, 77x, 780(a)(1), and 78ff, a pattern of racketeering activities.

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AA. Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA certification of unregistered broker-
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records regarding Colleen McMahon, her alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie
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B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records. .117

C. According to the SEC’s website Tailwind Capital ( CRD# 156562) is registered only as an
“investment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr, Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, INfTA. cee 118

D.  Tailwind's SEC certification and admission that its employees (Frank V. Sica, Colleen McMahon,
Michael §. Bertisch, or Arie Rabinowitz) are not registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible promissory notes, see Ex, 8 and GX 1,

GX 2, GX 3, and GX 4 in U.S. y. Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infta. ...ccceeseeereees 119
Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP
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(CRD# 156562). ccccccsssssecsessscnscsecnssnesnssssesscanenssnsascsussesnesssensencenssesnesnsensensavenconsassssqnsessensanensansnaaacenenneneensssey 122
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Exhibit 3--Colleen McMahon (DOB: July 18, 195l1—no CRD number available)—employed by Tailwind
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Rabinowitz were confirmed on Nov. 6, 2024, .....ccccccceeeeeeteeeeeneeseeeneeeeentenener creer teeeaeeeeeeteeenneenens 129

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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-dealer status for each 02¢v2219
(SDNY) plaintiff, affiliates, and agents of Tailwind Capital, L.P., Frank V. Sica, and Colleen
McMahon certified by FINRA’s Marcia Asquith, Esqui.......sccssscsessssesesssceesssssersscseesssnsesnesnesreseees 130

Exhibit 6,0--Tailwind Capital L.P. Form ADV page 23 filed with the Securities and Exchange
Commission (SEC) on March 30, 2024, admitted under oath that Tailwind is not registered as a 15 USC
§780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica —
personally violated (1) federal law, 15 USC §§ 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40, the criminal usury law, a class KE felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities. 0.0.0.0... cece eeesteteeeeteeeeees 131

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex, 7, attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwind’s senior management approved (“pre-clearance”) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. ». Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v. Group Management Corp., et
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1951(a),_ 1961(6)(B) and 1962(d) Overt and Predicate Acts). Collusion, conspiracy, and coordination of
Jim Crow racially-motivated retaliatory, vindictive, and punitive moot yoid ab initio leave to file
sanctions initiated in concert and by judicial collusion of Wendy L. Hagenau and Colleen McMahon—see
02cv2219 (SDNY), Dkt. 139, 139-1, and 139-2, McMahon and her husband, Frank V, Sica, are both
unregistered bt oker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX J, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S, Courts and the Judiciary, as overt acts in furtherance of the
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criminal judicial misconduct (Pending), .....cceccsscsecssscsrsessesecssessessccssteccssseessneesesssenesescseeeessaescsueeessasenseene 133

Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re Group Management Corp., 03-
93031 (BC NDGA) Chapter 11, Hagenau, C.J. re 18 USC §$ 157(2), (3) and 1961(6)(B) conspiracy to
COMIN TE Ba EEC TPA cs css ia ccicccacawecaaaeawaaeanssceeceuiaeen WUseeg aesieee SC poh RAIS aa AA Nie vea WSS A ETANSANEVRA RO NEI eae 134

Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV, March 30, 2024—that is, actual
innocent Brady exculpatory evidence concealed and suppressed by Atlanta, GA law firm Kilpatrick,
Townsend, & Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, IL, J. Henry Walker, IV,
Colleen McMahon, Daniel Gitner, Edgardo Ramos, and Wendy L. Hagenau in violation of the Aug. 10,
2007, Dkt. 32, U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371, and

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Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH Financial Services, and Tailwind’s

illegal underwriting of criminal usury convertible promissory notes in violation of federal laws, 15 USC

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8$ 77e, 77x, 780(a)(1), and 78ff; and NYS Penal Law, section 190.40, the criminal usury law, @ class E
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Zitter (Harvard Law), Dennis S$. Meir (Harvard Law), Thomas W. Thrash, Jr. (Harvard Law), LH Financial

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Exhibit 8.17: ##327, 334, 336, 337, and 339 2020 convertible promissory notes valued between
50,001 = S500, 000, .....:..cccccsccesscssessssersesssessssssscessscsenseneeessesnnesteceeateasieeneeseuessueenssaeesesseceesseeseeeseesesnessees 152
Exhibit 8.18: #376 2020 convertible promissory note valued between $250,001 - $500,000.............. 153
Exhibit 8.19: #387 2020 convertible promissory note valued between $15,001 -$50,000...........++ 154
Exhibit 8.20: #425 2020 convertible promissory note valued between $100,001 - $250,000.............. 155
Exhibit 8.21: #427 2020 convertible promissory note valued between $250,001 - $500,000.............. 156
Exhibit 8.22: #520 2020 convertible promissory note valued between (not ValUed).......sssseseserees 157

Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged by LH
Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq., Alexandria Kane, Esq.,
Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D. Sack, Amalya L. Kearse, Damian
Williams, Frank V. Sica, Tailwind Capital Management LLP, and other unindicted coconspirators to
launder the profits and proceeds derived from Hobbs Act extortion, loan sharking, kidnapping, murder
for hire, bribery, bank fraud, private equity fraud, securities fraud, and other racketeering activities. 158

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Ware-FINRA Joint Declaration of Indisputable Facts

I, Ulysses T. Ware, this 7" day of November 2024, in Brooklyn, NY pursuant to 28 U.S.C. § 1746,
declare under oath and subject to the penalty of perjury that the following facts are true and correct,
based on my personal knowledge and submit this declaration of facts based upon evidence
obtained and analyzed from FINRA's BrokerCheck system, corroborated by Exhibit 7, Exhibit 8,
GX 1-4, and other exhibits referenced infra. Each fact presented herein is indisputable, supported
by credible evidence of violations of federal securities laws, the NYS Penal Law, and federal loan
sharking and money laundering laws.

Joint Stipulated and Certified Undisputed Material Facts

1. On November 6, 2024, FINRA's BrokerCheck system confirmed that Frank V. Sica is

not a registered broker-dealer, evidenced by the absence of any active or inactive broker-
dealer registration for Frank V. Sica in the public FINRA records. Ex. 1, and Ex. 6.0, infra.

2. On November 6, 2024, FINRA's BrokerCheck system confirmed that Colleen McMahon

is not a registered broker-dealer, as no registration history or regulatory filings were found
under her name in the BrokerCheck database. Ex. 3, and Ex. 6.0, infra.

3. On November 6, 2024, FINRA's BrokerCheck system confirmed that Michael S. Bertisch
is not a registered broker-dealer, with no broker-dealer credentials or filings on record
within FINRA's system. Ex. 2, and Ex. 6.0, infra.

4. On November 6, 2024, FINRA's BrokerCheck system confirmed that Arie Rabinowitz is
not a registered broker-dealer, based on the complete lack of registration documentation or
regulatory submissions in FINRA's BrokerCheck. Ex. 4, and Ex. 5, infra.

5. None of the individuals mentioned in Facts 1-4 hold registration as broker-dealers with the
SEC or FINRA, pursuant to 15 U.S.C. § 780(a)(1), which mandates that individuals acting
as broker-dealers must be duly registered with the SEC and/or FINRA to legally engage in

securities transactions. Cf., Ex. 4.1, 4.2, 8, and Ex. D, infra.

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6. LH Financial Service, operating under the direction of individuals referenced in Facts 1-4,
has no record of broker-dealer registration with either the SEC or FINRA, which was
confirmed on May 17, 2021, by FINRA’s Marcia Asquith, Esq. a thorough search of both
BrokerCheck and SEC registration databases. Ex. 5, infra.

7. Tailwind, through its direct involvement in funding activities and financial underwriting,
lacks the broker-dealer registration required under federal securities laws, as confirmed by
the absence of Form BD filings in both FINRA and SEC records. Ex. 6, and Ex. 7 at page
23, and Ex. D, infra.

8. BrokerCheck confirmed the absence of Form BD registration records for each individual
named above, indicating that none complied with the mandatory broker-dealer registration
requirements for underwriting activities. Ex. 1-5, infra.

9. Each individual identified in Facts 1-4 has knowingly engaged in underwriting, funding,
and collection of criminal usury convertible promissory notes, as documented in Exhibit 8,
and GX 1-4, which detail their involvement in structuring, promoting, and collecting on
these illegal criminal usury convertible promissory notes financial instruments. See Ex. 4,
4.1, 4.2, and Ex. 8, infra.

10. The illegal and criminal business activities engaged in and conducted by Frank V. Sica,
Colleen McMahon, Michael S. Bertisch, Tailwind, LH Financial Services, and Arie
Rabinowitz included the origination, underwriting, funding, selling, and collection of
criminal usury convertible promissory notes to third parties, evidenced by transactional
records, investor agreements, and emails communications in regard to Ex. 4.1, 4.2, and 8

and GX 1-4, see Ex. 4, 4.1, 4.2, 5, 6.0, and 6.1 infra.

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11. These criminal usury convertible promissory notes were not registered as securities under

15 U.S.C. § 77e, which requires all securities offered for public sale to be registered, and

the failure to comply is documented by the absence of SEC registration numbers for

these financial instruments, See SEC. Release 33-7190 n. 17 (1995) (“Section 2(a)(11)

statutory underwriters are required to register [with the SEC] all distribution of
securities.”). (emphasis added).

12. The underwriting activities described were performed without the required SEC or FINRA
broker-dealer registration, directly contravening 15 U.S.C. § 780(a)(1), as evidenced by
the lack of any filings or approvals authorizing these individuals to act in a broker-dealer
capacity. See Ex. 1-5, Ex. D, Ex. 6.0, 6.1, and 6.3, infra,

13. Tailwind and LH Financial Services, see Ex. 4.1 and 4.2, infra, has been engaged
extensively and continuously (engaged in “a good few hundred” loan sharking
transactions as an unregistered broker-dealer)” from 2001 to the present 2024 in the
business of originating, underwriting, funding, and collecting Hobbs Act extortion
payments—required to be disgorged back to the debtor,!° on these criminal usury

convertible promissory notes, see Ex. 8, infra, without broker-dealer registration, see Ex.

1-4, and Ex. 6.0 and 6.1, infra, with transactional evidence showing their role in facilitating

and managing the flow of funds between investors and issuers. See Ex. 7, attachment.

'S Quoting unregistered broker-dealer Arie Rabinowitz during the U.S. v. Ware, 04cr1224 (SDNY) trial and
also see Ex. 6.3, the conspiracy to commit bankruptcy fraud, 18 USC § 157(2), (3) by Wendy L. Hagenau,
Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP and its partners Wab Kadaba, Dennis S.
Meir, J. Henry Walker, IV, John W. Mills, III, and others involved in the Hobbs Act loan sharking criminal
enterprise. See Ex. 11-1, KTS memorandum, attached hereto and incorporated by reference herein, in heac
verba,

16 See 15 USC § 78p(b) and Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.).

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14, The promissory notes carried criminally usurious interest rates in violation of NYS Penal
Law § 190.40, with interest rates 200-2000%, as detailed in the promissory note
agreements and financial disclosures in Exhibits 4.2 and 8.

15. LH Financial Service, and Tailwind under the direction and management of Rabinowitz,
Frank V. Sica, Colleen McMahon, and Michael 8. Bertisch, engaged in repeated criminal
usury transactions, see Ex. 4 and Ex. 8, infra, showing multiple promissory notes issued at
usurious rates over an extended period of 20 years—that is, a pattern of racketeering
activities.

16. The individuals in Facts 1-4 actively solicited investment from multiple entities using
unregistered, criminally usurious promissory notes, as evidenced by communications,
solicitation emails, and marketing documents associated with Ex. 4 and Ex. 8, infra, also
see Ex. 7, attached hereto.

17. The evidence, as contained in GX 1-4, and Ex. 8 demonstrates that these securities were
marketed and sold to unaccredited investors, which constitutes a violation of the Securities
Act, as none of the investor accreditation standards under Rule 506(b) or Regulation D
were met. See SEC Release 33-7190 n. 17 (1995).

18. Under the definition set forth in 18 U.S.C.§ 1961(6)(B), these activities constitute loan
sharking, as the convertible promissory notes involved clearly carried usurious interest
rates (200-20000%) and were issued with the intent to extract above-market returns from
borrowers (Group Management Corp. and others) under duress.

19. The criminal usury convertible promissory notes (see GX 1-4, and GX 5), see Ex. 4 and

Ex. 8, infra, contained illegal unenforceable terms that clearly indicated usurious interest

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rates far above the legal threshold, with explicit language in the agreements detailing
interest rates ranging from 200% to 2000%, well above the permissible limit under NYS

Penal Law, section 190. 40, the criminal usury law, a class E felony.

20. Ex. 4 and Ex 8, infra, provides documentation of promissory note terms with interest rates
exceeding 200%, consistent with the statutory definition of criminal usury under NYS
Penal Law, and include detailed calculations of principal and interest that violate the legal
threshold.

21. These illegal criminal usury underwriting activities were not limited to a single transaction
but were systematically repeated, as evidenced by Ex. 4.1, 4.2, and Ex. 8, which contains
a chronological listing of over “a good few hundred” separate promissory note issuances
involving the same terms and parties.

22. Colleen McMahon, Sica, Bertisch, and Rabinowitz acted as a representative of Tailwind
and LH Financial Service in negotiating criminal usury unregistered convertible
promissory notes, and other unregistered securities with investors, signed correspondence
and negotiation drafts contained in Exhibit 8 infra demonstrating their direct involvement
in the criminal enterprise.

23. FINRA's Nov. 6, 2024, BrokerCheck responses confirmed that Sica, Bertisch, McMahon,
Tailwind, LH Financial Services, McMahon, and Rabinowitz did not submit or maintain

Form BD as required for lawful broker-dealer operations, evidenced by the lack of any

public disclosure of Form BD filings or approvals. See Ex. 1-5, and see Ex.6.0 infra.

24. SEC Form BD, see 15 USC § 78o(a)(1), is required for lawful underwriting activities

involving convertible promissory notes, and none of the named individuals had an active

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filing on record, which was confirmed through both FINRA BrokerCheck and SEC
EDGAR system searches, see Ex. 1-5, infra.

25. See Ex. 4.1, 4.2, and Ex. 8 documents that the promissory notes were explicitly intended
for funding the operations of LH Financial Service and Tailwind, reflecting commercial
activity typical of broker-dealers, as shown by the use of proceeds sections in the
promissory note agreements and Ex, 7.

26. The overwhelming evidence establishes a clear pattern of activity involving unregistered
securities, as referenced in Exhibits 4.1, 4.2, and 8, infra, which includes transactional
ledgers, correspondence, and promissory note copies detailing multiple issuances.

27. Arie Rabinowitz played a substantial role in facilitating the funding operations, including
negotiating terms for several of the usurious promissory notes (GX 1-4), as evidenced by
email threads and signed agreements indicating his direct participation in discussions. See
Ex. 4.1 and 4.2, infra.

28. Exhibit 8 further reveals that Sica, Bertisch, McMahon, and Tailwind sold the unregistered
securities were sold across state lines, involving interstate commerce, thereby bringing
these transactions under federal jurisdiction pursuant to 15 U.S.C. § 77q.

29. Violations of 15 U.S.C. § 77e, 77x, and 78ff apply to each individual identified herein due
to their direct and/or indirect participation in the offering of unregistered securities, as
documented in investor communications and failure to properly register these financial
instruments. See Ex. 4.1, 4.2, and 8.

30. Michael S. Bertisch, Esq., Tailwind’s “general counsel” and “compliance officer” (see Ex.

2, infra) directed the underwriting, funding, enforcement, collection, and administration of

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payments related to criminal usury notes, see Ex. 2, and Ex. 8, infra, in violation of NYS
Penal Law, section 190, and federal loan sharking statutes, as evidenced by 18 USC §
1961(6)(B), which details his role in managing delinquent payments and enforcing
collection.

31. FINRA's BrokerCheck system reflects a lack of broker-dealer registration for Tailwind's
involvement in these funding transactions, with no public records available that show
compliance with registration requirements. See Ex. 1-5, infra.

32. Criminal usury is a Class E felony under NYS Penal Law § 190.40, and each individual
(Sica, McMahon, Berieh, and Rabinowitz), Tailwind, and LH Financial Services all
knowingly engaged in these criminal activities with knowledge of the usurious nature of
the transactions, as evidenced by internal communications acknowledging the interest rates
and discussing potential regulatory scrutiny. Cf. Ex. 4.1, 4.2, and Ex. 8, infra; see Ex. 11-
1 attached hereto, and also see Ex. 7 attached hereto.

33. The criminal actions of the individuals and entities named herein were knowingly

conducted without broker-dealer registration, as confirmed by FINRA’s BrokerCheck

system on Nov. 6, 2024, cf., with Ex. 1-8, showing that each person was aware of

registration requirements but failed to comply.

34, The violations of 18 U.S.C. § 1961(6)(B) demonstrate that these underwriting activities
constituted loan sharking under federal law, with explicit intent to lend at rates exceeding

legally permissible levels while coercively collecting payments. See Ex. 4-8, infra; cf. Ex.

11-1, and Ex. 6.2 and 6.3, infra.

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35. The overwhelming evidence points to a coordinated effort by Frank V. Sica, Colleen
McMahon, Michael S. Bertisch, LH Financial Service, Tailwind, and Arie Rabinowitz to
engage in illegal underwriting of criminal usury promissory notes without proper broker-
dealer registration (15 USC § 78o(a)(1) and FINRA’s Form BD), in violation of both
federal securities Lic and state usury statutes, as substantiated by documentary evidence
in Ex, 1-5, regarding GX 1-4 and Exhibit 8 regarding McMahon’s et al. criminal usury
debts.

36. Further examination of the BrokerCheck database and corroborating documents reveal, see
Ex. 7, attached hereto, that Frank V. Sica, Colleen McMahon, Michael S. Bertisch,
Tailwind, LH Financial Services, and Arie Rabinowitz deliberately circumvented broker-
dealer registration requirements in order to obscure their illegal activities, as evidenced by

their illegal underwriting activities, see Ex. 6.2 and 6.3, infra; and Ex. 11-1 attached hereto.

37. Bertisch, Sica, Rabinowitz, McMahon, and convicted felon Edward M. Grushko, Esq.
explicitly discussed structuring the transactions in a manner designed to evade regulatory

detection, demonstrating a calculated effort to violate securities laws and engage in

criminal usury.

38. Colleen McMahon's role in the issuance of convertible promissory notes included direct
obstruction of justice during the 02cv2219 (SDNY) judicial proceedings, see Dkt. 120,
137, 141, and 151, cf., Ex. 6.2 and Ex. 6.3, infra, where she and Wendy L. Hagenau
knowingly and deliberately obstructed and impeded all attempts by Mr. Ware to gain
access to the Brady actual innocent exculpatory evidence contained herein, and contained

in Ex. 6 and Ex. 7; where she (McMahon) knowingly assisted, aided, and abetted by

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Wendy L. Hagenau, and Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP
(Wab Kadaba, John W. Mills, [I, Dennis S. Meir, and J. Henry Walker, IV) conspired to
coverup and conceal the unregistered dealer status of their (KTS’) clients, the 02cv2219
(SDNY) plaintiff, see Ex. 5 and Ex. 6,2 and 6.3, infra, despite lacking proper broker-dealer
registration, as shown in investor correspondence included in Exhibit 5, and the 02cv2219
(SDNY) plaintiffs lacked Article III standing to collect criminal usury debts, GX 1-4.

39. Exhibit 8 provides additional proof that the criminal usury convertible promissory notes

ersonally underwritten and owned by Sica, approved by Tailwind’s senior management,
p

see Ex. 6.1, infra, and McMahon were marketed with false representations regarding their
legality, including statements made by Bertisch, Tailwind, and Sica to investors that the
notes were compliant with all applicable laws, despite the absence of registration and
inclusion of criminal usurious interest rates,

40. Financial ledgers maintained by Rabinowitz, LH, Sica, McMahon, Tailwind, et al. detail
multiple payments made by investors under these extortionate promissory notes, with funds
being transferred directly to Sica, McMahon, Tailwind, Rabinowitz, and LH Financial
Service without any regulatory oversight or protection for the investors, highlighting the
unlawful nature of the transactions.

41, Internal financial statements from Tailwind, McMahon, Rabinowitz, and LH will show that
proceeds from the usurious promissory notes were used to fund additional unregistered
securities offerings, indicating a continuous cycle of illegal funding operations.

42. The individuals involved (named in Facts 1-4 above) in the Hobbs Act loan sharking and

money laundering criminal enterprise knowingly failed to disclose the usurious nature of

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the promissory notes to investors, as indicated by the convoluted language in GX 5, the so-
called subscription, cf., Ex. 6.3, infra, maintained by Rabinowitz and LH, and similar
documents maintained by McMahon, Sica, Bertisch, and Tailwind that intentionally
concealed the actual interest rates being charged, found in the unregistered securities
reference in Ex. 4.1, 4.2, andin Ex 8.

43, Arie Rabinowitz and convicted felon Edward M. Grushko, Esq. were actively involved in
drafting misleading contractual language in the promissory notes, GX 1-4, and see Ex. 4.2,
infra, aimed at disguising the true interest rates and avoiding regulatory penalties, as
evidenced by Ex. 4.1 sworn testimony.

44. The overwhelming evidence in Ex 1-8, infra, and Ex. 7, attached hereto, demonstrates that
each individual named herein knowingly, intentionally, and willingly, participated in,

facilitated, or directed activities that qualify as securities fraud under 15 U.S.C. § 78j(b)

and Rule 10b-5, as they made false representations and omissions regarding the nature

and legality of the promissory notes, GX 1-4 and Ex. 8, infra, See Ex. 6.2, 6.3, infra, and

see EX, 11-1 attached hereto.

45. The criminally usurious interest rates, ranging from 200% to 2000%, as detailed in Exhibit
4.1, 4.2, and Ex. 8, infra, cf., GX -5, §]10.1(iv)!” were calculated in a manner designed to
impose severe financial pressure on borrowers, with repayment terms that left borrowers

unable to fulfill their obligations, effectively placing them under duress.

'7 Unregistered broker-dealer Arie Rabinowitz and the Atlanta, GA law firm Kilpatrick, Townsend, &
Stockton, LLP’s CEO Wab Kadaba (404) 815-6500 or (404) 532-6959 have copies of GX 1-4, and GX 5,

the criminal usury unlawful debt underwriting contracts.

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46, Financial analysis of the promissory notes, found in GX 1-4 and Ex. 8, infra., reveals that
the effective interest rates, when including additional fees and penalties, far exceeded even
the nominal usurious rates (as high as 2000%) disclosed, further compounding the
violations of NYS Penal Law § 190.40, a class E felony.

47. Ex. 6, 6.1, 6.2, 6.3, infra, and Ex. 7 and Ex. 11-1, attached hereto are the criminal and
coercive methods used by Tailwind, Bertisch, Sica, Rabinowitz, LH Financial Services,
and McMahon for circumventing and obstruction of the SEC's regulations on the offering
(underwriting) of securities, including structuring offerings to avoid reaching thresholds
that would trigger mandatory registration. 8

48. The criminal usury convertible promissory notes, GX 1-4, cf., Ex. 6.3, infra, underwritten
by LH Financial Service and Tailwind, see Ex. 8, infra, were used in furtherance of a
broader criminal and fraudulent scheme to attract investor funds under false pretenses, as
evidenced by Exhibits 7 and 8.

49. The individuals named herein in Facts 1-4, supra, deliberately chose not to register

with FINRA or the SEC to avoid the scrutiny that accompanies broker-dealer

oversight.

50. The pattern of activity described in Exhibit 8 and GX 1-4 demonstrates a clear and ongoing
conspiracy among Frank V. Sica, Colleen McMahon, Michael 8S. Bertisch, Arie

Rabinowitz, LH Financial Service, and Tailwind to defraud investors, evade registration

18 McMahon, Bertisch, Sica, and the executive management of Tailwind, see Ex.. 6.1, infra, lied, committed
perjury, and committed fraud in Form ADV, a statutory regulatory filing, see Ex. 7, attached hereto, and
falsified Form ADV to omit Tailwind, Sica, McMahon, Bertisch, and Rabinowitz’s illegal underwriting
activities.

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requirements, and exploit borrowers through criminally usurious loans, in violation of

multiple federal and state laws.

Signed this 7" day of November 2024, in Brooklyn, NY under oath, subject to the penalty of
perjury, and pursuant to 28 USC 1746, having personal knowledge of the facts.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY
November 7, 2024

End of Declaration

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AA. Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA
certification of unregistered broker-dealer status for Tailwind
Management L.P., Colleen McMahon, Frank V. Sica, Michael S.
Bertisch, and Arie Rabinowitz, an illegal association in fact, a
continuing criminal enterprise.

The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

Wednesday, November 6, 2024 _
Time is of the essence
Ms. Emma Jones, Esq.: emma.jones@finra.org

Ms. Marcia Asquith, Esq. (FINRA’s custodian of records)
marcia.asquith@finra.org

Office of the General Counsel-- FINRA

RE: Request for Certification of no business records regarding the broker-dealer
status of the requested persons (Sica, Bertisch, Rabinowitz, and McMahon) kept by
FINRA in the ordinary course of business. See Ex. 1, 2, 3, and 4, infra.

Dear Ms. Jones and Ms. Asquith:

The purpose of this supplemental request is to confirm and clarify the
previous request, to wit: the certification of non-existence of any broker-dealer
business records held by FINRA for the named individuals, which is critical for
ongoing compliance and due diligence processes.

Enclosed you will find the personal identifying information for each of the
individuals listed below, derived from a public records search. This information is
provided to enable FINRA to accurately determine whether it maintains any records
related to these individuals. Please ensure that the enclosed information is handled
confidentially and used solely for verification purposes.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Based on a recent in-depth worldwide investigation by an international
business intelligence service it has been discovered that the requested persons
knowingly have underwritten, funded, administered, and collected more than 200
issues of unregistered securities, including criminal usury convertible promissory
notes that violated NYS Penal Law, section 190.40, and federal law, 18 USC §
1961(6)(B)—that is, a Hobbs Act conspiracy, 18 USC § 1951(a), to commit loan
sharking, Id. § 1961(6)(B), and money laundering, Id., § 1956-57.

Given the critical nature of the information requested, I would be most
grateful for your expedited attention to this matter.

This request for certification is made pursuant to applicable FINRA guidelines
and regulations governing the accessibility of public records, as well as to ensure
that no records exist that may affect the pending investigation involving these
individuals.

The information provided contains personally identifiable information and is
intended solely for use by FINRA for the purposes of verifying the existence or non-
existence of business records. Please handle this information in accordance with
applicable data privacy laws and regulations.

Thank you for your prompt attention to this matter. Should you require any
additional information or have any questions, please do not hesitate to contact me.

At this time Mr. Ware is not requesting the disclosure of any alleged

“confidential information” only the disclosure of the public information required

to be maintained by FINRA regarding Form BD is being requested for disclosure,
or if no such business records are maintained in the ordinary course of business, then

FINRA is obligated to certify that fact.

Sincerely,
/s/ Ulysses T. Ware

November 6, 2024

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form
BD (broker-dealer) public records regarding Colleen McMahon, her
alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie
Rabinowitz. Cf., Ex. 6.0 infra.

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REQUEST FORM
To request certified coples of a publicly available FINRA business record, please complete this form and i
click the Submit button above, which will create an email to send the form to FINRA. i

If hitting the Submit button does not aufomatically create an email, plaase forward the form
by email to DL-OGCCartilicatlonReagdfinra.arg.

FINRA typically pracessas and olactronically delivers certified copies of raquested documents
within 14 business days of recelving this completed farm.

Requesting Agency | Finn / Organization

{if applicable):

The Office of Ulysses T. Ware

Contact Person:*

Ulysses T. Ware

Contact Ernail:*

utware007@ gmail.com
Contact Phone:
eS (718) 844.1260

Requesting Party's Case/Referance
Number:

2-24-90036jm (2d Cir.)

Data Request Submitted to FINRA:”
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40/29/2024

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lam roquesdng & rush response to certify the 15
USC 780(a)(1) broker-dealer records of the
oe rsons: (1) Colleen McMahon, (2)
‘Frank V. Sica, (3) Arie Rabinowtiz, and (4)
Michael Bertisch,

This is an urgent matter and is litigation related,

Purpose of Request:

Litigation-Realatad

Cl Investigatian

Es Licensing

fa Background Check
J Other (ploase spacify):

Other information that may ba helpful to
fulfill this request:

The above individuals are engaged in the
underwriting of criminal usury notes.

Denetes required fietd.

Page 116 of 162
Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify
broker-dealer public records.

Rady Gmail Ulysses Ware <utwaret07@gmail.com>
Urgent Broker-Dealer certification request

1 message

Ulysses Ware <utware007@gmail.com> Tue, Oct 29, 2024 at 9:39 AM

To: DL-OGC Certification Requests <DL-OGCCertificationReq@finra.org>
Bee: Ulysses Ware <UTWARE007@gmail.com>

October 29, 2024, 9:39 AM
Subject: Certification Request: Urgent — Litigation Related
Dear FINRA Certification Team,

Attached, please find a completed Certification Request Form dated October 29, 2024. |
am requesting certified copies of broker-dealer records in connection with a litigation-
related matter, pursuant to 15 USC 780(a)(1). This request is regarding the following
individuals:

4. Colleen McMahon

2. Frank V. Sica

3. Arie Rabinowitz
4. Michael Bertisch

The requested records pertain to their roles in underwriting criminal usury convertible
promissory notes. Given the nature of the case, | would appreciate expedited
processing of this request.

Should you require any additional information to fulfill this request, please do not
hesitate to contact me. | am reachable via email at utware007@gmail.com or by phone
at 718-844-1260.

Thank you for your prompt attention to this matter.
Best regards,

Ulysses T. Ware
The Office of Ulysses T. Ware

40.29.24 Certification Request Form (Apr 2019).paf
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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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C. According to the SEC’s website Tailwind Capital (CRD# 156562)
is registered only as an “investment advisor” not _a broker-dealer; and
according to the SEC and confirmed by FINRA’s BrokerCheck system
Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never
registered as broker-dealers on Form BD according to all available public
information. See Ex. 1-3, infra.

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FORM AD i B1NS-0049
UNIFORM A APPLICATION FOR INVESTMENT ADVISER REGISTRATION fay, 16j2024

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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D. Tailwind’s SEC certification and admission that its employees
(Frank V. Sica, Colleen McMahon, Michael S. Bertisch, or Arie
Rabinowitz) are not registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible
promissory notes, see Ex. 8 and GX 1, GX 2, GX 3, and GX 4 in U.S. ».
Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra.

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FORM ADV pua:3225-D088

UNIFORM APPLICATION FOR INVESTMENT ADVISER REGISTRATION Rey, 20/2021
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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP
(CRD#156562).

485 Lexington Ave, NY, NY 10017

According to FINRA’ BrokerCheck database on Nov. 6, 2024, Frank Vincent Sica, the
alleged spouse of Colleen McMahon, is not and has never registered as required by federal
law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized to underwrite criminal
usuary convertible promissory notes in violation of NYS Penal Law, section 190.40, the criminal
usury law, a class E felony. See Ex. 6.0, 6.1. and 8, infra.

Frank Sica.

Partner
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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Attachment F-2. Page 121 of 162

No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V.
Sica were confirmed on Nov. 6, 2024.

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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

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Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by
Tailwind Capital Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017

According to FINRA’ Dre database System il it was confirmed on
Nov. 6, 2024, Michael Se ‘t Bertisch is not and has egistered as required
by federal law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not
authorized to underwrite criminal usuary convertible promissory notes in violation
of NYS Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex.

4 and Ex. 8, infra.

Michael Bertisch |
Partner, General Counsel & Chief Compliance Officer

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No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael
Scott Bertisch. It was confirmed on Nov. 6, 2024.

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Only individuals and fimis that are registered can sell securities to the public. Salespersons and firms may not conduct any securities business with public customers
until all required registrations are in effect.

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 3--Colleen McMahon (DOB: July 18, 1951—no CRD number
available)—employed by Tailwind Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017 or
500 Pearl St
New York, NY

According to FINRA’ BrokerCheck database system, it was confirmed on
Nov. 6, 2024, Colleen McMahon is not and has never registered as re uired by
federal law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized
to underwrite criminal usuary convertible promissory notes in violation of NYS
Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex. 4 and
Ex. 8, infra.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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No public Form BD (broker-dealer) public records maintained by FINRA regarding Colleen
McMahon was confirmed on Nov. 6, 2024.

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Tuesday, February 18,2025)
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

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Exhibit 4--Arie Rabinowitz (DOB: Dec. 27, 1972) (No CRD number
available on BrokerCheck)

LH Financial Services, Corp.
160 Park Ave, South

Suite 2701

New York, NY 10019

According to FINRA’ BrokerCheck database it was confirmed on Nov. 6,
2024, Arie Rabinowitz and L.H. Financial Services Corp., see Ex. 5, infra, are
not and have never registered as required by federal law, 15 USC § 780(a)(1),
as a broker-dealer on FINRA’s Form BD, and therefore are prohibited and not
authorized to underwrite criminal usuary convertible promissory notes, GX 1, GX
2, GX 3, and GX 4, government trial exhibits in U.S. v. Ware, 04cr12224 (SDNY),
in violation of NYS Penal Law, section 190.40, the criminal usury law, a class E
felony. See Ex. 4.0, 4.1, 4.2, and 8, infra.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 4.1—Arie Rabinowitz's confession of his and Alpha Capital,
AG’s unregistered broker-dealer status. See Ex. 5, infra.

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Rabinowitz: LH Financial Services.

Moreover, being unregistered brokers-dealers operating in violation of 15 U.S.C,
$78o(a)(1), Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

ADMISSION OF BROKER-DEALER STATUS BY
ARI RABINOWITZ.UNDER CROSS EXAMINATION.

Mr, Ware: What is the name of your campany?

Mr. Ware: What business is that company? \ 3

Tr. 206

Mr. Ware: Approximately how icy comnies have you assisted Alpha Capital
with over, let's say, the last five ey

tacit

Rabinowitz: A good few ire

Mr. Ware: A good fw bund ed?

= Title 15 Section 4, aiid thus not eligible for 17 C.F.R. §240.144(k}ARule 144(k)
regarding the purchase of the Notes of IVG/GPMT (GX 1-4).

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Exhibit 4.2—Rabinowitz and LH Financials’ loan sharking admissions.

The Alpha Capital scam is estimated to have fleeced the public of more than $3-4 billion (US
Dollars). Ar: Rabinowitz testified for the Government in 1224(RWS) at Tr. 206 BED: #5) under cross-
examination by Ware as follows:

Q: Approximately how many companies have you assisted Alpha Capital with, let's say the last 6
years?

A. A good few hundred. » oe

Q. A good few hundred? i

A. Yes.

Rabinowitz further testified, Tr. 217-19, as follows:

©: Bid you on behalf of Alpha Capital invest in a company by the name Cybemaut?

A: Yes.
Q: How much did you invest in Cybemaut?:
A: A few million over a few years. i"

Q: How much did you make on this investment?
A: We made alot of money. { don't remember. v
Q: How much is alot?

A: Maybe $10 million. Ler ae
Q: So you made $10 million on a [few] million investment? L"
A: Give or take,

Q: Now, when you started investing in [Cybernaut] wasn't the stock trading over $9 and went to 42.
cents a share [after you and Alpha Capital shorted the stock]?

wae
ean

Taking Rabinowitz’ testimony at Tr. 206, “a good few hundred" companies he and Alpha Capital AG
invested in, with the amount of money Rabinowitz admitted fo making on Cybernaut, Tr. 218-19,

‘{mjaybe $10 million,” the Badian Gang’s insider-trading scam has criminally profited by: (300-400
companies) multiplied by ($10,000,000) equals $3-4 billion (US Dollars) in ill-gotten gain: a
continuing criminal financial enterprise operated from within the U.S. Courthouse at 500 Pearl St,
New York, NY, and One St. Andrews Plaza, New York, by Ait. II judicial officers and DOJ Officials
and staff, | al anne
U.S. v. Ware, 04-CR-1224(RWS) and 05-CR-1115(WHP) were both brought by officials of the DOJ
and SEC involved in the billion dollar insider-trading scam to protect the ill-gotten profits of the
criminal enterprise,

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No public Form BD (broker-dealer) public records maintained by FINRA regarding
Arie Rabinowitz were confirmed on Nov. 6, 2024.

{ & BrokerCheck Hetp Line (800) 289-9999 @ Schedulea Call | # FINRA Home

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@ Check thai any CRO Numbers, SEC Numbers, or Zip Codes are valid,

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Brokercheck if they nave been cut of the industry for at least 10 years, except in cases where requiatory sanctions or cnminal activity have occurred, in which case
inclusion in BrokerCheck Is permanent. Once registered, firms are inchuded in BrokerCheck permanently even if its registretion has lapsed or been revoked.

@ Check the BrokerCheck Resources page en FINRA org.

Only individuals and firms that are registered can seli securities to the public. Salespersons and firms may not condact any securities business with public customers
until all required registrations are In effect. _aneanocet
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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-
dealer status for each 02c¢v2219 (SDNY) plaintiff, affiliates, and agents
of Tailwind Capital, L.P., Frank V. Sica, and Colleen McMahon
certified by FINRA’s Marcia Asquith, Esq.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

|, Marcia E, Asquith, being first duly sworn, depose and state as follows:

1. lam the Executive Vice President, Board and External Relations. in that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. ("FINRA’). | am familiar with
and am a custodian of FINRA business records, including interpretations,

- policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Ltd,
d) Amro International, S.A,
) LH Financial Services

‘on, Colt

 Marcih E. Asquith

Executive Vice President, Board h) d External
Relations and Corporate Secretary

Subscribed and sworn to before me this (thay of

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Exhibit 6.0--Tailwind Capital L.P. Form ADV page 23 filed with the
Securities and Exchange Commission (SEC) on March 30, 2024, admitted
under oath that Tailwind is not registered as a 15 USC §780(a)(1) broker-
dealer in the United States. Accordingly, Colleen McMahon and Frank
V. Sica personally violated (1) federal law, 15 USC §§ 77e, 77x, and
78ff, and (2) NYS Penal Law, section 190.40, the criminal usury law,
a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities.

Tailwind Capital's SEC Form ADV Public Disclosures.

the private fund’s manager, is affillates and their respective employees and (c) prohibit any dividend
recapitalization within 24 months of the date that a private fund acquires a Controlling Interest in a
portfolio company. If these proposals were to be enacted, even if only in part, they would materially
and adversely affect the ability of a Fund, the general partner of a Fund, Tailwind and any of their
respective affiliates to engage in the investment activities and other operations that they are intended
and expected to engage in, This could result ina Fund beinig unable to meet its investment objectives,
ot cotld require a Fund to make, hold, manage and exit investments and otherwise operate in a
manner that involves greater potential liability, risk and expense with lower potential returns for
investors, including due to the use of parallel funds, feeder funds and alternative investment vehicles.

In that regard, prospective investors should note that the outcome of the 2024 U.S, presidential
and other elections creates uncertainty with respect to legal, tax and regulatory regimes in which the
Funds and their portfolio companies, as well as the general partners of the Funds, Tailwind and any
of their respective affiliates will operate, In addition to the proposed legislation described above, any
significant changes in, among other things, economic policy (including with respect to interest rates
and foreign trade), the regulation of the asset management industry, tax law, immigration policy
and/or government entitlement programs during the terms of the Funds could have a material adverse

SpE EAB EESTI Tailwind admitted on March 30, 2024, itis
Fund, General Pariner and Manager Registration "01 a licensed broker-dealer registered with
the SEC or FINRA.

None of the Funds are registered under the Investment Company Act. The Investment

Company Act provides certain protection to investors and imposes certain restrictions on registered

investment companies (including, for example, limitations on the ability of registered investment

companies to incur leverage), none of which will be applicable to the Funds. Tallwind is not,

mond re sere as a broker-dealer under the aie and Exch Act of 1934, as amended (the
"Exch

Lense is not subject to Th
Exchange Act or the rules of FINRA,

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Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024,
Form ADV, see Ex. 7, attached hereto, incorporated by reference herein,
and made a part hereof: Tailwind admitted under oath that Zailwind’s
senior_ management approved (“pre-clearance”) Frank V. Sica’s and
Colleen McMahon’s (employees and/or agents of Tailwind) $100 million

investments in criminal usury convertible promissory notes, the same
null and void ab initio, uncollectable, and unenforceable subject matter

involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v.
Group Management Corp., et al., 02cv2219 (SDNY) (McMahon, J.) and
in In re Group Management Corp., 03-93031 (BC NDGA) (WLH)
Chapter 11. See Ex. 6- 3 infra, Dkt. 258 03-93031 (BC NDGA) (Hagenau,
C.J.).

Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms, McMahon according to Tailwind’s internal

protocols had prior "preclearance” (approval) from Tailwind's senior management to
haye underwritten or participated in the th erwriting of the RICO loan sharking
| convertible promissory notes, i

run contrary) to the best interest of the Funds, Tailwind will prov is a copy of Tailwind’s Code of
Ethics to clients, prospective clients, investors and prospective investors upon request.

afore transact s. Tal wind may aisepprove aly proposed
rensacton, Desay if the transaction appears to pose a conflict of interest or otherwise appears
improper. Tailwind also endeavors to maintain current and accurate records of all personal securities
accounts of its Access Persons in an effort to monitor all such activity,

Tailwind, its employees or a related entity will have an investment in each Fund. For example, the
general partner for cach Fund is owned in part by Tailwind’s partners, In addition, Tailwind and its
general partners will participate in the Funds’ investment programs by agreeing to commit a certain
percentage of the Funds’ total capital commitments or a certain amount as defined in the Funds’
governing documents, Therefore, Tailwind, its employees or a related entity will indirectly
participate in transactions effected for the Funds,

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Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2,
157, 371, 1341, 1343, 1503, 1951(a), 1961(6)(B) and 1962(d) Overt and
Predicate Acts). Collusion, conspiracy, and coordination of Jim Crow
racially-motivated retaliatory, vindictive, and punitive moot void ab initio
leave to file sanctions initiated in concert and by judicial collusion of
Wendy L. Hagenau and Colleen McMahon—see 02cv2219 (SDNY), Dkt.
139, 139-1, and 139-2, McMahon and her husband, Frank V. Sica, are
both_unregistered broker-dealers, personally owned more than $22
million in criminal usury convertible promissory notes similar to GX 1,
GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt
acts in furtherance of the conspiracy to commit bankruptcy fraud, Hobbs
Act attempted armed robbery, armed aggravated assault and battery,
conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951,
1956-57, 1958-59, 1961(6)(B), and 1962(a-d). See In re Colleen
McMahon, 02-24-90036jm (2d Cir.) re: Complaint of criminal judicial
misconduct (Pending). .

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)
and
Alpha Capital, AG et al., v- GPMIT, et al., (02cv2219)(SDNY) (McMahon, J.)

Actual innocent petition filed on 10.20.22.
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Hin ekeial i teet eae issue (ke PL e7: 4) iflpe Werth ott ee] Pars \e pad Or] Pee me) No et = aes
fetes hs)

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Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re
Group Management Corp., 03-93031 (BC NDGA) Chapter 11,
Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
commit bankruptcy fraud.

Case 03-93031-wih Doc 258 Filed 10/26/22 Entered 10/27/22 00:47:40 Desc
imaged Certificate of Notice Page 3 of 54
There is no such thing as Boo Ee refusal to engage in the collection of a
criminal usury debt in violati6frof 18 USC 1961(6)(B)--the order is not a “lawful” order.
District of New York in case no, 02-cv-2219 (S.D.N.Y.) (“SDNY Case”). The U.S, Trustee

ee See 18 USC
‘affached to ihe motion a copy of the Contempt Order issued in the SDNY Case which recited that 407 (3), criminal
ce eer
contempt only
in November 2002, the Court had ordered the Debtor and Mc. Ware to honor the Subscribers’ applies to “awful”
orders--
conversion requests and that the conversion requests had not been honored. The court in the SDNY accordingly, the
U.S. v. Ware,
‘ase 6fdered GMC and Mr, Ware to honor the conversion requests within three days or to pay the = O4cr'1224 (SDNY)
Hobbs Act, 18 USC, 1951 (a) extortion purported criminal

Subscribers $1,000/day tintil the requests were honored, The court also stated it would issue a = contempt
a = ee eee indictment is null
Warrant for Mr, Ware’s arrest (6 be conimitted to the U.S, Marshals” custody until the contempt and void ab initio

Hobbs Act a8 bee 20d PZ NAP eG ikmuptey filing was made for the “improper purpose

of obstructing and delaying creditors in the enforcement of their rights and remedies . . . and

without any bona fide reorganizational purpose{.)”
KTS' conspiracy to commit bankruptcy fraud and conspiracy to steal Chapter 11 estate assets: Dkt. 15 and Dit. 16
y On April 11, 2003, the Subscribers responded to the Motion to Reject Executory Contract,
through their counsel, Demis Meir at Kilpatrick Stack(on) contending the Subscription Agreement ee phanin 9
. and dire legal, penal,

was not executory because the court in the SDNY Case had issued a judgment on it. The and pecuniary

a / oe _ consequences on
Subscribers filed their own Motion to Dismiss or, alternatively, a Motion for Relief from Stay, and Hagenau, KTS, and its

tele ve : ere “clients.

brief The Subscribers also alleged the bankruptcy filing by GMC was in bad faith and for the

purpose of evading the orders in the SDNY Case and sought the dismissal of the case oF relief:
from the stay to enforce the order in the SONY Case. Attached to the Motion was a form 8-K,
purportedly signed by Mr. Ware as Chief Executive, indicating that he had resigned from the board
of GMC effective March 17, 2003, and that Mr, Sinkfield was appointed to the board and was
acting CEO. ‘The Subscribers asked that their Motion to Dismiss be heard at the same time as the
Debtor's Motion to Reject,

The Court moved forward with the hearing on the Motion to Reject on April 15, 2003, Mr.

Ware and GMC’s counsel were present, and Mr. Ware testified extensively as to the Subscription

Note that Hagenau is being deceptive identifying KTS’ unregistered broker-dealer clients as
"Subscribers" rather than as unregisteyed broker-dealers to deceive the public.

Hagenau's judicial factfinding, judicial and collateral estoppel on KTS, Meir, Mill, Walker, and
Kadaba--a judicial ruling of 18 USC 1961(6)(B) criminal usury unlawful debt collection activity
during the 03-93031 Chapter 11--binding on KTS and Wab Kadaba regarding the Sept. 14, 2024,
Bar grievance, ipso facto Bar Rule 4-202 "credible evidence."

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Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV,
March 30, 2024—that is, actual innocent Brady exculpatory evidence
concealed and suppressed by Atlanta, GA law firm Kilpatrick, Townsend,
& Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, UI, J.
Henry Walker, IV, Colleen McMahon, Daniel Gitner, Edgardo Ramos,
and Wendy L. Hagenau in violation of the Aug. 10, 2007, Dkt. 32, U.S. v.
Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371,
and 401(2) and 401(3) civil and criminal contempt of a lawful Brady
disclosure court order, cf., Ex. 6.2, supra (McMahon, Hagenau, and
Gitner’s conspiracy to. obstruct justice overt and predicate acts.

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Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH
Financial Services, and Tailwind’s illegal underwriting of criminal usury
convertible promissory notes in violation of federal laws, 15 USC §77e,
77x, and 78ff.

Exhibit 8.1--Colleen McMahon and Frank v.
Sica’s Massive +$22,000,000 Personal
Ownership in Hobbs Act RICO Criminal
Usury Convertible Promissory Notes
Underwritten in violation of 15 USC §§ 77e,
77x, 780(a)(1), and 78ff; and NYS Penal
Law, section 190.40, the criminal usury law,
a class E felony.

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Exhibit 8.2: Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering
that involved unregistered broker-dealer and RICO unlawful debt creator and collector
Alpha Capital, AG. What are Judge McMahon and her spouse, Frank V. Sica’s relationship
to Alpha Capital, AG, Kenneth A. Zitter (Harvard Law), Dennis S. Meir (Harvard Law),
Thomas W. Thrash, Jr. (Harvard Law), LH Financial Services, Inc., and Ari Rabinowitz?

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Of Lay a1 the State of New York by the Second
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Exhibit 8.3: Money laundering by Edward M. Grushko, Alpha Capital, AG, and Judge
Colleen McMahon in the Silver Dragon Resources, Inc. litigation.

MW Pee tor ee Pkt ke) a re WILATRA WI As «J WwW S74 i he Sener eere re
Response due by 1/4/2008. Show Cause Hearing

set for 1/9/2008 at 10:00 AM in Courtroom 21B,

500 Pearl Street, New York, NY 10007 before Judge
Colleen Memanon. ASlgned By oooce Colleen

is
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RULE 7.1 CORPORATE DISCLOSURE STATEMENT.

No Corporate Parent. Document filed by Alpha
Capital Ansalt.(laq)

ws
i Filed: 12/20/2007, Entered: 12/28/2007 Comptsine
COMPLAINT against Silver Dragon Resources, Inc.

(Filing Fee $ 350.00, Receipt Number 3s
636599)Document filed by Alpha Capital Ansalt. |
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SUMMONS ISSUED as to Silver Dragon Resources,
Inc. (laq)

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Exhibit 8.4: Reported 2020 income of Frank V. Sica.

Pere ee TPH een cera Le §

B. Spouse's Non-Investment Income + ifyou were worried during any portion of the reporting years complete this section,

f ‘GmOuAT Hol required excep! for hestararia,
[| NONE (No. reportable non-invesiment iacome,)
DATE SOURCE AND TYPE

1/2020 CSG Systems Inc-Directar Fee

2, 2020 Koht's Deparinient Sees Inc-Director Fee

3, 2020 Safe Bulkers Ine -Diregtor Fee:

4,2020 Jot Blue Airways Corp-Consultant

5.2020 Morgan Stanloy-Pension Income

6, 2020 Tallwind Management LP-Partner-Guaranteed Payaient iW

“| Al LW I N D STRATEGY FPEOFLE COMPANIES RESPONSIBILITY

Accelerate Change.

Frank Sica
Partner X

Frank's active portfolio vompany involvement includes Acertus, ASC,
Banner, DermaRite, invafresh, Loenbro, Stratiy. and Vently.

Prior Experience

Soros Private Fund Management
Morgan Stanley

USS. Air Force

‘Education’
BA, Wesleyan University
MBA, The Tuck School of Business at Dartiouth

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8.5: #103 2020 convertible promissory note valued between $500,000 and
$1,000,000.

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105. Lins-Grammer Co LLC. © |Disvibution| 5 uo | gold = [ouiga0) 3 See Note # |
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Exhibit 8.6: #113 2020 convertible promissory note valued between $100,001 -
$250,000.

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139, -Kindethiook Capital Fund VILP ‘None L U Boy {ms} K
{add'l)
140, Alliance Bemstein Holdings LP MEP E | Distribution} N U Sold | 1280220] K | See Note #1
(part)
141, Aces Capital Corp B | Dividend | N T Sold 06/2420] 0
(ant) |

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Exhibit 8.7: #142 2020 convertible promissory note valued between $100,001 -
$250,000.

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198, --Martin Pharmaceuticals, Inc(Convertible None ¥

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(edd)

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Exhibit 8.8: #204 2020 convertible promissory note valued between $500,001 -
$1,000,000.
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202. Safebulkers Ser D 8% Preferred 6 | Dividend Mi T
23. ChaniQ Lic Note N U
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[| NONE (No reportable income, assets, or transactions.)

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Exhibit 8.9: #219 2020 convertible promissory note valued between $100,001 -

$250,000.

219. Sensai Corp (Converitible Note) J None QQ T
220, Cycle Pharmaceuticals LTD (Ser A Shares) None PL tT | Sold 10/1520} N | G
(part)
221, Free ATM Ine (Ser A Proterted) None K Ke?
1. Income Gaia Codes: “A=$1,000 oF loss B=$1,001 - $2,500 82,501 -'$5,000 D=$5,001 - $15,000 E=$15,001-$50)000
{See Columns BI ind D4) F =350,001-- $100,000. J =$100,001 - $1,000,000 HE =§$1,000,001 - $5,000, J2 More than $5,000,000
2. Value Codes 4=$15,000 oF fess $15,001 «$50,000. L=350,901 - $100,000 M=$100,001 - $250
(S¢e Colvunns Ct aud D3) N=$250,001 - $500,000 0 $500,001 - $1,000,000 Pt $1,000,001 - $5,000,000 P2 =$5,000.001 - $25,000,000.
. 3 #825,000,001 - $50,000,000 ‘Pé=More dhan $50,000,000
3. Value Method Codes (Q=Appraisal R=Cost (Real Estate Only) 5 =Assessment “T=Cash Market
(See. Colum €2) U=Book: Value Ve(ther WeeEsimited

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Exhibit 8.10: #220 2020 convertible promissory note valued between $15,001 - $50,000.

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225, Build and Imagine LLC C | Distribution} J u Sold iyo] 3 _| See Note #1
(part)
224. < Ling. ranspro Co-lnvest LLC A | Distribution] = M u Sold orto] Seo Noto # 1
(pari)
228, Linx-Guilett Co-Invest LLC None M u
226, $0 Mast LLC None M u

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Exhibit 8.11: #244 2020 convertible promissory note valued between $500,001 -

$1,000,000.

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239, Buy sso} L
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24). Link-CPT Co Invest LLC B Interest L U Sold = 0113720] J
(part)
242, ‘Sold od7201 4
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243, | Sold = fomin2o} J
: tt eas : (part)
244, Oxy Dogs, Inc (Conv Promissory Note) None ( 0 Tt Boy ovlv20) L
{add'l)
245, Olympus Capital Asia Fd V LP None Oo U Buy 12120) K
a. a fad) Na

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Exhibit 8.12: #254 2020 convertible promissory note valued between $500,001 -

$1,000,000.
254, Terafina Inc (Conv Promissory Note) None: 0) rf
255, Highland Resort Atthe Peaks LLC None | L U Sold | 01/28/20} J
(part)
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(See Columns OV ad D3} N=$250,001'- $500,000 () $500,001 - $1,000, PI $1,000,001 «$5,000,000 P2.-»§5,000,008 - $24,000,000
3 825,000,001 + $80,000,000 D4 Mave than $80,000,000 iashenelt Xd
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Exhibit 8.13: #259 2020 convertible promissory note valued between $500,001 -
$1,000,000.

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256. Edward Jones Retiremant MM(IRA). A | Dividend | J T
257, Fidelity (Cash) A Interest: L T
258, Figue Holdings LLC. None: Sold iain} J
pana oan
259, Gain Fitness Ine(Cony Note) j None (u ) Tv
260, Aisling Capital 1V LP E | Distibution| = PE U Buy = | 01/03/20) K See Note # |
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261. Buy 03/23/20) -K
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Exhibit 8.14: #276, 277, and 279 2020 convertible promissory notes valued between
$500,001 - $1,000,000.

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273. Pulling Mille LLG ! None o U
274, Ram Realty 1V LP None oO u
275. Alpine-Gleenwood LP None. Closed 12/31/20 Seo Note # 11
ainasninisnnr lptetains
U 276. BigiD ine(Conv Note): None M ) T
C 277. Lending Front Ine (Conv Note) d none [€ Mm J} ot
278. Mine Onc GMBH (Ser A sh) (IRA) None ™M -
esemerememeeensiniteny acca
79, Relationship Capital P Ino (Conv None oO T
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280. PHRP LLC Seq Note #9

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Exhibit 8.15: ##297, 300, 302, and 304 2020 convertible promissory notes valued between

$50,001 - $1,000,000.
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297, Relationship Capital Partners (IRA) | Nene. ¢ L 5! oF
{Convenibte. Promissory Nate} :
298. ERA Investor Fund ¢ te None M u
299. Groupize Inc (Ser A-2 pfd) Nene | a “T Buy on320| Mm
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300, Mednmive Hentth Ine (Cony Prom). ) None Cy T Buy a7/30720| K
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301, Shiftsnintt Ine (Ser AA Preferred) None | oM oT Buys: | 01/24/20) Lb -
et (add'l)
302, RondCng Ine (Conv Promissory Note) Nané M ~
303. Noxtrettity Solutions Inc (Ser H Preferred) None oO T
34, TO& L Holdings LLC(Convertibie Note) None: ¢ oO j ~
305, Entreprencurs Expansion, Fund ULEP None M we Buy 02/28/20; OK
{add'l
306, Kinddthoak V LP’ None Pi u . Buy o1a720, M
(add'l)
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2 Valne Cados T=815,000 or les” K.*$15,001.- $50,000 1 =$10,001 - $100,900 $1 $190,001 ~ $250,000
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Exhibit 8.16: #323 2020 convertible promissory note valued between 100,001 -

$250,000.
320. Sold 123201 ~M
(part)
321. Parkstone Capital Partners II LP E | Distribution} oN. u Gold = 1123/20 K See Note #1
(part)
322. 1101 Grundy Property Owner LLC None: oO U
323, Adaptive Management Ine (Convertible None’ { M ) T
Promissory Note) ,
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Exhibit 8.17: ##327, 334, 336, 337, and 339 2020 convertible promissory notes valued
between 50,001 - $500,000.

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Gabriel Networks . (add'l)
325, B Hospitality Corp (Series Seed Preferred) ‘None mM | oF Buy fownyao| ok
{add'l
326, Felix Gray Inc (Ser A-LPreferred) | None | oM | oT
327. findSisterhood inc (Convertible Promissory None. | ON Tt
328. LA Aloe LLC None | | Closed [12/3180 ‘See Nowe #11
329. Link-CTAM Co-Invest, LLC TT | Nowe | Mw | ow
440, Plum Alley Syndicate XITLLC =|] None, | OM OL
331. VilaisLLC None M u
332. Ladder Capital Corp (Com) (RA) BR | Dividend | oN * Buy | 03/09/20) -M
Aut (add)
333. AG Team Partners If LP None M U Buy fowinol K
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334. Martin Pharmaceuticals Ino (Convertible None T Ee
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340. SPC Vereco LP. : None @ u

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Exhibit 8.18: #376 2020 convertible promissory note valued between $250,001 -
$500,000.

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Petes
VIL INV. ESTMEN TS and TRUSTS oh value, fr. lois (Inteliades Mose of spouse and dependent children; see pp. 34-60 of fillug tnstructions)
[| NONE (No reportable income, assets, or transactions.)
A B. c. D.
‘Description of Assets Inconte during, Gross value at end ‘Transactions during reporting period
(ineluding trust assets) teperting period of reporting periad
instal we w (2) {bh @ (1) (2) 3) @) (3)
Placa "{(X)" after each asset Amount. Type(eg, Value Vatue Type ten. Date = Value Gait Identity. of
‘gxeinpt from prior disclosure Code t — div., rent, Code2 Method buy, sell, mm/dd/yy ‘Code 2 Code t ‘buyer/sefler
(HW) orint) GP) Code} redemption) (P) (A-H) (if private:
(QW) (ranstetion)
375, adTheorent lie(X) C | Distribution Sold | 02/06/20| J ‘See Note'# 1 & Note #
PST Fate / o. 13
( 376, Presia (Convertible Promissory Notes) None 4 N } 1 oo
377, Airbud Technologies Ina( Seed Series None M T Buy. O8/14R0) LL
Proferred)(N/C)Hydra Al —— (add'l)
378, Aising V LP None PI u | Buy =‘ 02/0620] -M
{add'l
379, Buy |o921720| M |
(add'l)
380. Buy 19/23/20] M
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Exhibit 8.19: #387 2020 convertible promissory note valued between $15,001 - $50,000.

ny (part)
387, EVZDRP Inc (Convertible Note) J None K T
388. Flank GP Fund None PL] Buy 06/0320| N
hee, (adel)
389, Linx-TGS Co-Invest LLC C | Interest M U Sold | 01/13/20) J
(part)
390, Sold 04/08/20] J
_, fpart)
394. . Sold 07/07/20 J
{part} ‘
1} Income Gaia Codes:; A 951,000 of less B $1,001 « $2,500 C=$2,501 ~ $5,000, D=$3,001 - $15,000 E=$15,001 - $50,000
(Sé¢ Columns B1 and D3) F=$30,001 - $100,000 G=$100,001' $1,000,000 HE =$1,000;001 ~ $3,000,000 #12 =Movre than $5,000,000
2. Valu Codes: 4#$13.000 oy less K =315.00t - $50,000 L=$50,001 - $100,000 ‘AL $100,001 - $250,900
(See Columns C1 and D3) N=$250,001 + $500,000. 0 =$500,001 « $1,000,000 Pt $1,000,001 « $5,000,000 P2=$5,000,001 - $25,000,000
ee P4 $25,000,001 - $50,000,000 P4 “More than $30,000,000
3.Valog Melhed Codes. ~ Qe Apprateal: RsCoit (Real Estate Only) Budgie “F=Cash Market
(See Colemn C2) USBook Vahic Vetiher W=Estimated

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Exhibit 8.20: #425 2020 convertible promissory note valued between $100,001 -

$250,000.
422, Biosymettics Inc (Com) Nene L T Buy [o70100)
423. ChurgingLedger Inc (Series Seed) None K T Buy | 04/14/20) -K
424, Eluceda Ltd (Ordinary shares) None M ' Buy [1027720] M
pene eteilccaiesicseneniemessi
425, Enalare Therropeutics Ine (Conv Promissory None 12/23720| -M
Note) .
i, Ineome Gain Codas: WS$1;000 or lest B=$1,001 + $2,300 0.=52,501 - $5,000 D=$5,001- $1
me Gain Code NSI,N00 ss BHSI,001 $2,500, $5,001 - $15,000 BSS15,001 $50,000
(SeeCohunis BL and Ds) —_F=450.00 $100,000 $109,001 -1,¢00,000 HL =S1,000,001 -$5,090,00Q 2 ore tan $5,000,000 Oe
2. Value Codes 1$15,000 or less K=$15,001 « $50,000 L=$50,001 - $100,000 M=$100,001 - $250,000
(See Columns Cl and 03) N=S250001 $500,000 $500,001 - $1,000,000 P1=$1,000,001 - $5,000,000 85,000,001 « $25,000,000
3 =$25,000,001 - $50,000,000 P4 = More than $50,000,000 OS
3; Value Method Codes Q=Appraisat R=Cost (Real Estate Only) SHAsiessment T=Cash Market

(See Colvana C2) U-Book Value V Other W-Estinted

FINANCIAL DISCLOSURE REPORT —_[Namsotterao Reporting DatcafReport

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Exhibit 8.21: #427 2020 convertible promissory note valued between $250,001 -
$500,000.

FINANCIAL DISCLOSURE REPORT _ [ame of Person Reporting “FT tagaliaont

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Vit 4 INVESTMENTS and TRUSTS ~-fntonme, value, roasacions (insiudes those of spouse and dépendent childreii; sea pp. 34-60 Of filing instructions.)

[| NONE (No reportable income, assets, or transactions.)

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i hee prt . : ¥:
Description of Asscts Income during ‘Grdgs value at end Transacii ing teporting perio
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a (x) anes cern ett Amount Type (e.gs Value Value Type (e.2., Daté Vane Gain Identity of
exowipt from prior disclosure — div, teal,  Code2 Method == buy, sell, rudy Cole 2 Code 1 bayeriseller
(AH) orinty. GP) Code3-—— redemption) G-F) (4-H) (if private
ey) transaction)
426. Hello Hazel (Series Seed) | Noe | EL | t Buy i220] Lb
427. Acredo Cloud Corp (Conv Proinissory Note) A. Interest ( N T Buy 120820] oN
428. Melitas Ventures Fund LP None | ob U Buy 1223720]
429, Nayya Health Ine (Ser ‘A Preferred) None 1. T Buy HA3A0} L
| 430. Qvale Technology Inc (Proferred Stock) None M T Buy }03/26720) M

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Exhibit 8.22: #520 2020 convertible promissory note valued between (not valued).

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vil. INVESTMENTS ana TRUSTS ~ income, vetie, transoetions crieind those of spoure ond depend chitdreny 300 pos 84-60 of fll tisiruaiiis
[] NONE (Wo reportable income, assets, or transactions.)

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Description {rose value at end ibys pati
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ee Sous Type leg, Value Value Type (e.g. Date ‘Value aa tine
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or int) GP) Code 3-——_-retetnpiion) OP) (aa (if private
(0-1N). wansaction)
SIL Synopsys inc. : None i T Buy 12/03/20) J
$12. Taiwan Semiconductor Mty Co “Er Moe dk tT ‘Buy {ia03001 Kk
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514, -<Themnto Fisher Scientific Inc Com None 3 Tr Buy izo3no| 43
315. +Verisk Analytics Inc Com a Dividend . i Buy (ai03m J
$16, —Visa In¢ Com None | J T Buy 12/03/20 j
517. ~-Weat Pharmaceuticals Sves Ine Coni “Te tess : te Buy 12/03/20) J
$18. Nike Ine CIB None ta Buy 12/03/20] J
$19. Alpine Grove SV Partners LLC Nona N U Buy 1anarao N
$20, Knoemd Corp (Conv Promissory Note). None Buy ono] K
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Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged
by LH Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq,.,
Alexandria Kane, Esq., Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D.
Sack, Amalya L. Kearse, Damian Williams, Frank V. Sica, Tailwind Capital Management LLP,
and other unindicted coconspirators to launder the profits and proceeds derived from
Hobbs Act extortion, loan sharking, kidnapping, murder for hire, bribery, bank fraud,

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C. 20549

FORM S-1
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation I

{Exact naive of registrant as specified in its charter)

Delaware 6770 XX-XXXXXXX

(State or other jurisdiction of {Primasy Standard Industrial {LR.8. Employer
ineni poration or organizaling) Cinssification Code Number} Identification Number}

(Address, lacluding Zip Code, and of Registrant's Principal Exceutive Offices)

Arie Rabinowitz
Chief Exccutive Officer
510 Muadixon Avenue
Suite 1401
New York, N¥ 10022
Telephone: 212-586-9224
(Name, Address, tne! Nine Zp Code, and Telephone Number, Inchiding Arca Cate, of Agent for Seevies)
Copies to:
Miteholl $, Nussbaum, Esq. Rick A, Werner, Esq.
Alexandria Kane, Esg. Haynes and Boone LLP
Loeb & Loeb LLP 30 Rockefeller Plaza,
M5 Park Avenue 26th Floor
‘New York, New Vork 10105 New York, NY 10112
‘Tels (212) 407-4000 Vebs (212) 689-7300
Approximate date af eo t of proposed sale to the publics As soon as practicable after the effective date of this registration

statement.

Tf any of the securities being registered on this Form are to be offered ona del basis p fo Rule 415 under the
Securities Act of 1933 check the following box. 0

or conti
Af this Form is fi i io! curiae for eppiicting Masuantes Rule ip2f) a ket, please check the
following box and fist cuties Act re; on umber er effe is tem@et for the same offering. O
Tf this Porn is sqost-ci-clye 2 i Rule, the icurities BM, cfijek the Bbllowing box and list the
Securities Act registra tem! oft ice eRive rafistratigh ¢ nl same o ft

if this Form is 4 post-effective amendment filed pursuant to Rule 462(d) under the Sceurities Act, check the following box and list the
Securities Act registration stat Luumber of the earlier effective registration statement for the sume offering. 0

indicate by check mark whither the registrant is a large accel d filer, an lcrated filer, a non-accelerated filer, a smaller reporting
company, or att emerging growth company. See the definitions of “large accelerated filer," “accelerated filer,” “simalicr reporting company”
and “emerging growth company” in Rule 12b-2 of the Exchange Act.

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Large accelerated filer Oo Accelerated filer o
Non-accelersted filer Smaller reporting company @
Emerging growth company &

if an emerging growth company, indicate by check mark if the registrant has elected uot to use the extended transition period for
complying with any ucw of revised financial accounting standards provided pursuant ta Section 7(a)(2)(B) of the Svearities Act O

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RESPECTFULLY SUBMITTED,

For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

/s! Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com

For Appellants-Movants Ulysses T. Ware and Group Management

cc: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, III) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs

Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services Corp.,
Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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Certificate of Service

I Ulysses T. Ware certify that I have this 13" day of February 2025 served each of the below
persons or entities with a copy of this pleading via their public email accounts and submitted the
same to the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for
immediate filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)'° and

5005(b)(1) with the U.S. Trustee.”°

ce: Office of the U.S. Trustee, Region 21 (Ida Mae Townsend)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IID)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)?!

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, I[]--statutory agents in fact); and

'° With a Judge of the Court, A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

20 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

21 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson, Esq. and Jeneane Treace,
Esq.)

/s/ Ulysses T. Ware

February 13, 2025

TY App 0. Ww

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